Exhibit A
Exhibit A
Exhibit A
Exhibit A
Exhibit A
Exhibit A
Exhibit No. A-1
       Page 1
From: Bonin, Theresa <Theresa.Bonin@marsh.com>
Sent: Thursday, September 19, 2019 11:44 AM
To: Mark Mahfouz <MMahfouz@dynamicind.com>
Cc: Laborde, James F <James.F.Laborde@marsh.com>; Wulff, Angela B <Angela.B.Wulff@marsh.com>
Subject: FW: Aramco/Dynamic Industries Project - Confirmation of subscription

Mark,

Per attached and below, the insurance policy for the Berri Oil field project was actually underwritten by MetLife-AIG-
    ANB Cooperative Insurance Company and then reinsured out to Chubb and others. I could not locate a copy of that
    policy. Note that Vivek advised “In terms of claims , the local insurer will follow lead reinsurer’s decision so the
    Chubb wording we both have should dictate coverage terms.

Also attached is a copy of the invoice for that policy, dated 4/7/2017 in the amount of $476,531.00. I cannot locate
confirmation that payment was made or received.

Should I request those items from Vivek?

My recommendation is to go ahead and report the incident involving damage to Aramco’s sub-sea cable through Vivek.

Best regards,
Theresa

Theresa K. Bonin, CPCU, Managing Director
Marsh| Wortham
701 Poydras Street, Suite 4125, New Orleans, LA 70139
Phone: 504-571-2211 | Cell: 504-616-8248 | Fax: 504-571-2219
theresa.bonin@marsh.com


From: Parkash, Vivek <Vivek.Parkash@marsh.com>
Sent: Thursday, February 2, 2017 8:47 AM
To: Roberto Rodriguez <RRodriguez@dynesi.com>; Bonin, Theresa <Theresa.Bonin@marsh.com>
Cc: Mark Mahfouz <MMahfouz@dynesi.com>; Vince Rapp <vrapp@dynamicind.com>; Donnie Sinitiere
<dsinitiere@dynamicind.com>; Laborde, James F <James.F.Laborde@marsh.com>
Subject: RE: Aramco/Dynamic Industries Project - Confirmation of subscription

                                                               1

                                                                                                  Exhibit No. A-2
                                                                                                         Page 1
Correction , the inception date is 01/12/2017 as required and correctly mentioned in the COI. (not as 2016 , typo in my
email below)


From: Parkash, Vivek
Sent: Thursday, February 02, 2017 5:42 PM
To: 'Roberto Rodriguez'; Bonin, Theresa
Cc: Mark Mahfouz; Vince Rapp; Donnie Sinitiere; Laborde, James F
Subject: RE: Aramco/Dynamic Industries Project - Confirmation of subscription

Hi Roberto,

COI for CGL insurance attached. It is as per the format acceptable to Aramco, based on what we have got issued for their
various contract works.

The inception date is 01/12/2016 as required. If original is required, we can get it delivered at the address you advise to
us.

Please let us know if they have any query on this.

Best Regards,
Vivek

Vivek Parkash | Vice President | ACII | Chartered Insurance Broker |
Marsh Specialty Practice (Saudi Arabia & Bahrain) – Energy & Power, Construction & Infrastructure |
Mobile: +966 53 946 0654 ; +973 3991 5541 Phone: +966 13 896 9655 ; +973 1720 4288
Email : vivek.parkash@marsh.com




From: Roberto Rodriguez [mailto:RRodriguez@dynesi.com]
Sent: Wednesday, February 01, 2017 8:02 PM
To: Parkash, Vivek; Bonin, Theresa
Cc: Mark Mahfouz; Vince Rapp; Donnie Sinitiere; Laborde, James F
Subject: RE: Aramco/Dynamic Industries Project - Confirmation of subscription

Vivek
Any update on the COI for Aramco?
Thanks Roberto

Roberto Rodriguez
EVP & Chief Financial Officer
Dynamic Energy Services International LLC
504.680.6734 office
504.231.6923 cell




                                                                          2

                                                                                                      Exhibit No. A-2
                                                                                                             Page 2
From: Parkash, Vivek [mailto:Vivek.Parkash@marsh.com]
Sent: Thursday, January 26, 2017 8:50 AM
To: Bonin, Theresa <Theresa.Bonin@marsh.com>; Roberto Rodriguez <RRodriguez@dynesi.com>
Cc: Mark Mahfouz <MMahfouz@dynesi.com>; Vince Rapp <vrapp@dynamicind.com>; Donnie Sinitiere
<dsinitiere@dynamicind.com>; Laborde, James F <James.F.Laborde@marsh.com>
Subject: RE: Aramco/Dynamic Industries Project - Confirmation of subscription

Dear Roberto,

Apologies for delay in coming back to you.

We confirm that 100% cover placed and bound from the inception date 01/12/2017 as advised earlier.
Getting the COI issued from ANB-AIG Insurance.

So WC-EL and TPL covered bound. We expect policy wordings document to be signed/stamped and COI for Aramco to be
issued next KSA week. Invoices will be issued after that.

Pending : marine cargo cover for which we are waiting for information.

Trust you will find in order.

Best Regards,
Vivek

Vivek Parkash | Vice President | ACII | Chartered Insurance Broker |
Marsh Specialty Practice (Saudi Arabia & Bahrain) – Energy & Power, Construction & Infrastructure |
Mobile: +973 3991 5541 Phone: +973 1720 4288
Email : vivek.parkash@marsh.com




From: Bonin, Theresa
Sent: Friday, January 20, 2017 11:51 PM
To: Roberto Rodriguez; Parkash, Vivek
Cc: Mark Mahfouz; Vince Rapp; Donnie Sinitiere; Laborde, James F
Subject: RE: Aramco/Dynamic Industries Project - Confirmation of subscription

Roberto,

Thanks very much and I believe this takes care of the outstanding items but defer to Vivek.

Best regards,
Theresa

Theresa K. Bonin, CPCU, Managing Director
Marsh USA Inc.| 701 Poydras Street, Suite 4125, New Orleans, LA 70139
Phone: 504-571-2211 | Cell: 504-616-8248 | Fax: 504-571-2219
theresa.bonin@marsh.com

                                                                          3

                                                                                                      Exhibit No. A-2
                                                                                                             Page 3
From: Roberto Rodriguez [mailto:RRodriguez@dynesi.com]
Sent: Friday, January 20, 2017 2:45 PM
To: Bonin, Theresa; Parkash, Vivek
Cc: Mark Mahfouz; Vince Rapp; Donnie Sinitiere; Laborde, James F
Subject: RE: Aramco/Dynamic Industries Project - Confirmation of subscription

I’m trying to address the open items that have come through emails since last week. Attached is the KNORL letter along
with our acceptance of the subscription. Our national address is P.O. Box 4296, Al Khobar 31952, Saudi Arabia. As for
billing, the contract is to be paid in USD into our Saudi accounts, so we can pay your invoice in USD from Saudi.

We will need certificates stating our coverages effective 01/12/2017 to be completed so we may provide them to
Aramco.

Please let me know what items/responses you are still waiting on.
Thanks Roberto

Roberto Rodriguez
EVP & Chief Financial Officer
Dynamic Energy Services International LLC
504.680.6734 office
504.231.6923 cell




From: Bonin, Theresa [mailto:Theresa.Bonin@marsh.com]
Sent: Tuesday, January 17, 2017 3:53 PM
To: Roberto Rodriguez <RRodriguez@dynesi.com>
Cc: Mark Mahfouz <MMahfouz@dynesi.com>; Vince Rapp <vrapp@dynamicind.com>; Donnie Sinitiere
<dsinitiere@dynamicind.com>; Laborde, James F <James.F.Laborde@marsh.com>; Parkash, Vivek
<Vivek.Parkash@marsh.com>
Subject: Aramco/Dynamic Industries Project - Confirmation of subscription

Roberto,

Please see below confirmation. We need a letter on your letterhead confirming that there are no known or reported
losses arising out of this project, as of today. Vivek is also asking for confirmation that the insurance / reinsurance
carriers are acceptable.

Note that they were able to include Auto excess of the statutory local limit.

Best regards,
Theresa

Theresa K. Bonin, CPCU, Managing Director
Marsh USA Inc.| 701 Poydras Street, Suite 4125, New Orleans, LA 70139
Phone: 504-571-2211 | Cell: 504-616-8248 | Fax: 504-571-2219
theresa.bonin@marsh.com

                                                               4

                                                                                                   Exhibit No. A-2
                                                                                                          Page 4
From: Parkash, Vivek
Sent: Tuesday, January 17, 2017 10:20 PM
To: Bonin, Theresa; Laborde, James F
Cc: Bhatnagar, Gaurav; Wakeley, Adam; Beach, William
Subject: RE: Aramco/Dynamic Industries Project - Pipeline Crossing


Dear Theresa,

Despite a competitive price and $ 100M offshore limit , our broking team have secured 102.5% subscription on the TPL
as per the table below. All reinsurers approached were S&P A-/better rated , except the local insurer in Saudi which is an
AIG Joint venture.
    - The local policy in Saudi Arabia will be issued by AIG JV company in Saudi Arabia.
    - Though it is unrated but being AIG JV, their P&C treaties are claimed to be backed by AIG.
         http://www.anbinsurance.com.sa/en/company-profile
    - (MetLife AIG JV as it writes both life/ health and P&C lines)
    - In terms of claims , the local insurer will follow lead reinsurer’s decision.

Marsh Energy has been having these reinsurers on our most of the slips for last few years and we have an existing
business book with them. This is to give you a comfort that we are not using these reinsurers for the first time.

Please could you arrange confirmation that the reinsurance / insurance markets are acceptable and we can sign them to
100%.

NKORL ( No known or reported loss) as of today be also confirmed for us to satisfy some of the markets although their
inception date will still be 12th Jan 2017.

                                  S&P
           Market                              Domicile          Written Lines
                                 Rating
 Limit
 $100M OFFSHORE
                                                                     2017
 $10M ONSHORE
 incl. DTEP
   MetLife AIG ANB
 Cooperative Insurance          Not rated     Saudi Arabia         15.0000%
 Company


   CHUBB (DIFC) - Lead              A            Dubai             35.0000%

   AIG                             A+            Dubai            25.00000%
   IGI                              A            Dubai            10.00000%
   TRUST RE                        A+           Bahrain            10.0000%
   ADNIC                            A            Dubai             7.50000%
                                                                  102.5000%


 DECLINATURES                                                    COMMENT
                                                                 NO STAND
 OMAN Re                                                         ALONE
                                                                 NO STAND
 QBE                                                             ALONE
 ALLIANZ                                                         NO OFFSHORE
                                                             5

                                                                                                     Exhibit No. A-2
                                                                                                            Page 5
 LIBERTY
 XLCATLIN

Further we have been able to get the following clauses/extensions added in the final slip agreed by Chubb.

The statutory liability in Saudi Arabia , as of today, in case of motor vehicles is SAR 10 million (USD 2.67 million) per
occurrence– the Chubb’s insertion of minimum USD 1 million is to be read in context with this.




Best Regards,

                                                               6

                                                                                                  Exhibit No. A-2
                                                                                                         Page 6
Vivek

Vivek Parkash | Vice President | ACII | Chartered Insurance Broker |
Marsh Specialty Practice (Saudi Arabia & Bahrain) – Energy & Power, Construction & Infrastructure |
Mobile: +966 53 946 0654 ; +973 3991 5541 Phone: +966 13 896 9655 ; +973 1720 4288
Email : vivek.parkash@marsh.com




**********************************************************************
This e-mail transmission and any attachments that accompany it may
contain information that is privileged, confidential or otherwise
exempt from disclosure under applicable law and is intended solely for
the use of the individual(s) to whom it was intended to be addressed.
If you have received this e-mail by mistake, or you are not the
intended recipient, any disclosure, dissemination, distribution,
copying or other use or retention of this communication or its
substance is prohibited. If you have received this communication in
error, please immediately reply to the author via e-mail that you
received this message by mistake and also permanently delete the
original and all copies of this e-mail and any attachments from your
computer. Thank you.
**********************************************************************



Encoding: utf-8
Encoding: utf-8
Unitag House - 6th Floor, 150 Government Avenue,Manama, Kingdom of Bahrain

This message and any attachments are confidential. If you have received this
message in error please delete it from your system. If you require any
assistance please notify the sender. Thank You.




**********************************************************************
This e-mail, including any attachments that accompany it, may contain
information that is confidential or privileged. This e-mail is
intended solely for the use of the individual(s) to whom it was intended to be
addressed. If you have received this e-mail and are not an intended recipient,
any disclosure, distribution, copying or other use or
retention of this email or information contained within it are prohibited.
If you have received this email in error, please immediately
reply to the sender via e-mail and also permanently
delete all copies of the original message together with any of its attachments
from your computer or device.
**********************************************************************




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                                                                                                      Exhibit No. A-2
                                                                                                             Page 7
Exhibit No. A-2
       Page 8
Exhibit No. A-2
       Page 9
                                                                                                    Marsh Saudi Arabia Insurance &
                                                                                                    Reinsurance Brokers
                                                                                                    Tanami Tower, 3rd Floor
                                                                                                    Prince Turki Bin Abdul Aziz Road
                                                                                                    PO. Box : 30554 Al Khobar 31952
                                                                                                    Kingdom of Saudi Arabia
                                                                                                    Ph : +966 13 896 9655
                                                                                                    Fax : Fax +966 13 896 8699
                                                                                                    www.me.marsh.com



   Invoice
   DYNAMIC INDUSTRIES SAUDI ARABIA
   PO BOX 4296
   Al Khobar, 319252
   Kingdom of Saudi Arabia.
   Date                          :    04/07/2017
   Invoice #                     :    DII/82499
   Insurer(s)                    :    Metlife AIG ANB Cooperative Insurance Company
   Insured                       :    DYNAMIC INDUSTRIES SAUDI ARABIA
   Policy Type                   :    Offshore Construction Liability
   Period                        :    12/01/2016 to 11/01/2021


   Details:
   Being Premium for Policy
                                                                                                  USD                                         476,531.00




   Total:                                                                                         USD                                         476,531.00

   USD Four Hundred Seventy Six Thousand Five Hundred Thirty One only
   NOTE: All premium payments in full to be paid to us via ‘Bank Transfers’ in the same currency as invoiced. Bank transfer details are provided
   below.



        Authorised Signatory

   Account Name                       :    Marsh Saudi Arabia Insurance & Reinsurance Brokers

   Bank Name                          :    Saudi British Bank (SABB)
   Swift Code                         :    SABBSARI
   Bank Address                       :    The Saudi British Bank, Head Office,P.O. Box 9084,Riyadh 11413,
                                           Kingdom of Saudi Arabia


   US $ A/C                           :    003-511177-083
   IBAN USD A/C                       :    SA3645000000003511177083




LEADERSHIP, KNOWLEDGE, SOLUTIONS…WORLDWIDE
Paid-up Capital S.R. 3,000,000 C.R. 1010247579                                                            ‫ﺔﻛﺮﺷ ﺵﺭﺎﻣ ﺔﻳﺩﻮﻌﺴﻟﺍ ﺔﻃﺎﺳﻮﻠﻟ ﻲﻓ ﻦﻴﻣﺄﺘﻟﺍ ﺓﺩﺎﻋﺇﻭ ﻦﻴﻣﺄﺘﻟﺍ‬



                                                                                                                           Exhibit No. A-2
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Exhibit No. A-3
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Exhibit No. A-3
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Exhibit No. A-3
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Exhibit No. A-3
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Exhibit No. A-3
       Page 5
Exhibit No. A-3
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Exhibit No. A-3
       Page 7
Exhibit No. A-3
       Page 8
Exhibit No. A-4
       Page 1
Exhibit No. A-4
       Page 2
From: Parkash, Vivek <Vivek.Parkash@marsh.com>
Sent: Tuesday, November 19, 2019 8:06 AM
To: Mark Mahfouz <MMahfouz@dynamicind.com>
Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Laborde, James F <James.F.Laborde@marsh.com>; Wulff, Angela B
<Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark <Mark.Sneesby@marsh.com>;
Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: RE: Dynamic Industries - Berri Oil field Incident

Dear Mark,

Please find attached the MetLife-AIG-ANB insurance company issued policy.
The policy seems to be in order based on the policy schedule checked by us. Kindly let us know if you find any
discrepancy or need any changes to be done.

Also advise at which address to send the original policy document.

Best Regards,
Vivek

Vivek Parkash ACII - Chartered Insurance Broker | Sr Client Manager – VP | RMP Practice |
Marsh KSA | Eastern Province | 3rd Floor, Tanami Tower | Prince Turki bin Abdulziz Rd. PO Box 30554, Al-Khobar
31952, Saudi Arabia
(t):+966 13 8969655 (m):+973 3991 5541 ; +966 53 946 0654 ; (e) : vivek.parkash@marsh.com
www.marsh.com | Follow Marsh on : Twitter | LinkedIn | Facebook | YouTube |




Marsh Saudi Arabia Insurance and Reinsurance Brokers LLC

Regulated and supervised by The Saudi Arabian Monetary Authority(SAMA)
SAMA License No. 18/20085 / ‫ ش‬/ ‫و س ط‬
                                                            1

                                                                                                   Exhibit No. A-5
                                                                                                          Page 1
Head Office: Riyadh, Commercial registration number (CR) : 1010247579
7th Floor Morouj Tower, Olaya Street (North), P.O.Box 53303 Riyadh 11583, KSA

From: Parkash, Vivek
Sent: Monday, November 18, 2019 5:32 PM
To: 'Mark Mahfouz' <MMahfouz@dynamicind.com>
Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Laborde, James F <James.F.Laborde@marsh.com>; Wulff, Angela B
<Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark <mark.sneesby@marsh.com>;
Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: RE: Dynamic Industries - Berri Oil field Incident

Hi Mark,

I have a few minor points which I think are not in line with the reinsurance slips. My target is to send to you tomorrow
during my working time to you after I can get clarifications.

Best Regards,
Vivek

Vivek Parkash ACII - Chartered Insurance Broker | Sr Client Manager – VP | RMP Practice |
Marsh KSA | Eastern Province | 3rd Floor, Tanami Tower | Prince Turki bin Abdulziz Rd. PO Box 30554, Al-Khobar
31952, Saudi Arabia
(t):+966 13 8969655 (m):+973 3991 5541 ; +966 53 946 0654 ; (e) : vivek.parkash@marsh.com
www.marsh.com | Follow Marsh on : Twitter | LinkedIn | Facebook | YouTube |




Marsh Saudi Arabia Insurance and Reinsurance Brokers LLC

Regulated and supervised by The Saudi Arabian Monetary Authority(SAMA)
SAMA License No. 18/20085 / ‫ ش‬/ ‫و س ط‬

Head Office: Riyadh, Commercial registration number (CR) : 1010247579
7th Floor Morouj Tower, Olaya Street (North), P.O.Box 53303 Riyadh 11583, KSA

From: Mark Mahfouz <MMahfouz@dynamicind.com>
Sent: Monday, November 18, 2019 5:22 PM
To: Parkash, Vivek <Vivek.Parkash@marsh.com>
Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Laborde, James F <James.F.Laborde@marsh.com>; Wulff, Angela B
<Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark <Mark.Sneesby@marsh.com>;
Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: RE: Dynamic Industries - Berri Oil field Incident

Vivek,

Thank you for yesterday’s update (below). When will you be done with your review so you can send me the policy?

Mark

From: Parkash, Vivek <Vivek.Parkash@marsh.com>
Sent: Sunday, November 17, 2019 9:03 AM
To: Mark Mahfouz <MMahfouz@dynamicind.com>
Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Laborde, James F <James.F.Laborde@marsh.com>; Wulff, Angela B
                                                            2

                                                                                                 Exhibit No. A-5
                                                                                                        Page 2
<Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark <Mark.Sneesby@marsh.com>;
Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: RE: Dynamic Industries - Berri Oil field Incident

Dear Mark,

I have received the direct policy copy with full wordings. Reviewing the same before sending to you.

Best Regards,
Vivek

Vivek Parkash ACII - Chartered Insurance Broker | Sr Client Manager – VP | RMP Practice |
Marsh KSA | Eastern Province | 3rd Floor, Tanami Tower | Prince Turki bin Abdulziz Rd. PO Box 30554, Al-Khobar
31952, Saudi Arabia
(t):+966 13 8969655 (m):+973 3991 5541 ; +966 53 946 0654 ; (e) : vivek.parkash@marsh.com
www.marsh.com | Follow Marsh on : Twitter | LinkedIn | Facebook | YouTube |




Marsh Saudi Arabia Insurance and Reinsurance Brokers LLC

Regulated and supervised by The Saudi Arabian Monetary Authority(SAMA)
SAMA License No. 18/20085 / ‫ ش‬/ ‫و س ط‬

Head Office: Riyadh, Commercial registration number (CR) : 1010247579
7th Floor Morouj Tower, Olaya Street (North), P.O.Box 53303 Riyadh 11583, KSA

From: Parkash, Vivek <Vivek.Parkash@marsh.com>
Sent: Friday, November 15, 2019 6:32 PM
To: Mark Mahfouz <MMahfouz@dynamicind.com>
Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Laborde, James F <James.F.Laborde@marsh.com>; Wulff, Angela B
<Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark <Mark.Sneesby@marsh.com>;
Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: Re: Dynamic Industries - Berri Oil field Incident

Mark,

Here is the date for following -
-Proposal form sent - Sunday Nov 10
-Reply to issue in a week - Monday Nov 11

Best Regards,
Vivek

m: +97339915541 ; +966539460654
email: vivek.parkash@marsh.com
Sent from my iPhone


On Nov 15, 2019, at 6:22 PM, Mark Mahfouz <MMahfouz@dynamicind.com> wrote:


Vivek,

                                                           3

                                                                                                Exhibit No. A-5
                                                                                                       Page 3
Below you referred to an email from the insurer’s side that “states they will issue in a week”. What is the date of that
email from the insurer’s side?

Mark

From: Parkash, Vivek <Vivek.Parkash@marsh.com>
Sent: Friday, November 15, 2019 9:18 AM
To: Mark Mahfouz <MMahfouz@dynamicind.com>
Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Laborde, James F <James.F.Laborde@marsh.com>; Wulff, Angela B
<Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark <Mark.Sneesby@marsh.com>;
Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: Re: Dynamic Industries - Berri Oil field Incident

Mark,
I meant to reply on this by the email just sent to you.
I will raise it with my colleagues who had meeting with the underwriters based on which that was
communicated to you.

Best Regards,
Vivek

m: +97339915541 ; +966539460654
email: vivek.parkash@marsh.com
Sent from my iPhone


On Nov 15, 2019, at 6:06 PM, Mark Mahfouz <MMahfouz@dynamicind.com> wrote:


Vivek,

This timeline is markedly different than the stated 2-3 days from submission of the documents you required of
me. Which documents were submitted seven (7) days ago (on November 8, 2019).

“Within a week” from what date? November 8? November 10?

Please advise.
Mark

From: Parkash, Vivek <Vivek.Parkash@marsh.com>
Sent: Friday, November 15, 2019 9:01 AM
To: Mark Mahfouz <MMahfouz@dynamicind.com>
Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Laborde, James F <James.F.Laborde@marsh.com>; Wulff, Angela B
<Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark <Mark.Sneesby@marsh.com>;
Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: Re: Dynamic Industries - Berri Oil field Incident

Hi Mark,

No firm date is committed by the insurer - the email response from their side states they will issue in a week. It
can be within a week or in a week , that is the timeline we can convey at the moment.
                                                             4

                                                                                                  Exhibit No. A-5
                                                                                                         Page 4
No doubt from our side the follow up is consistent to close this matter since we have submitted the documents
required by them.

Best Regards,
Vivek

m: +97339915541 ; +966539460654
email: vivek.parkash@marsh.com
Sent from my iPhone


On Nov 15, 2019, at 5:52 PM, Mark Mahfouz <MMahfouz@dynamicind.com> wrote:


Vivek,

Following-up with you - please provide the promised update.

Mark

From: Mark Mahfouz
Sent: Wednesday, November 13, 2019 3:14 PM
To: Parkash, Vivek <Vivek.Parkash@marsh.com>
Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Laborde, James F <James.F.Laborde@marsh.com>; Wulff, Angela B
<Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark <Mark.Sneesby@marsh.com>;
Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: RE: Dynamic Industries - Berri Oil field Incident

Vivek,

I hope you are feeling better. I do not understand what you mean when you state “But will update you on this
positively”…

I understood form your earlier email (on Monday) you would advise me of a date (no later than yesterday) when I would
be in possession of the ANB policy. Please advise today when I will have the policy.

Mark

From: Parkash, Vivek <Vivek.Parkash@marsh.com>
Sent: Wednesday, November 13, 2019 1:00 PM
To: Mark Mahfouz <MMahfouz@dynamicind.com>
Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Laborde, James F <James.F.Laborde@marsh.com>; Wulff, Angela B
<Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark <Mark.Sneesby@marsh.com>;
Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: Re: Dynamic Industries - Berri Oil field Incident

Hi Mark,

I have not been well since yesterday as you may have noticed from my auto-response message. But will update
you on this positively.

Best Regards,
                                                          5

                                                                                               Exhibit No. A-5
                                                                                                      Page 5
Vivek

m: +97339915541 ; +966539460654
email: vivek.parkash@marsh.com
Sent from my iPhone


On Nov 13, 2019, at 8:48 PM, Mark Mahfouz <MMahfouz@dynamicind.com> wrote:


Vivek,

Following-up with you - please provide the promised update.

Mark


From: Mark Mahfouz
Sent: Tuesday, November 12, 2019 3:14 PM
To: Parkash, Vivek <Vivek.Parkash@marsh.com>
Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Laborde, James F <James.F.Laborde@marsh.com>; Wulff, Angela B
<Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark <Mark.Sneesby@marsh.com>;
Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: RE: Dynamic Industries - Berri Oil field Incident

Vivek,

Please provide the promised update.

Mark

From: Parkash, Vivek <Vivek.Parkash@marsh.com>
Sent: Monday, November 11, 2019 2:17 PM
To: Mark Mahfouz <MMahfouz@dynamicind.com>
Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Laborde, James F <James.F.Laborde@marsh.com>; Wulff, Angela B
<Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark <Mark.Sneesby@marsh.com>;
Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: Re: Dynamic Industries - Berri Oil field Incident

Mark, I sent that to Mazahir yesterday. The documents are sent by Mazahir to the insurance company.
The date of policy receiving, I will get tomorrow.

Best Regards,
Vivek

m: +97339915541 ; +966539460654
email: vivek.parkash@marsh.com
Sent from my iPhone


On Nov 11, 2019, at 10:26 PM, Mark Mahfouz <MMahfouz@dynamicind.com> wrote:

                                                         6

                                                                                       Exhibit No. A-5
                                                                                              Page 6
Thanks, Vivek.

What date did you submit the signed letter and .zip file to the insurance company?

When will you advise me on when the policy will be received?

Mark

From: Parkash, Vivek <Vivek.Parkash@marsh.com>
Sent: Monday, November 11, 2019 11:46 AM
To: Mark Mahfouz <MMahfouz@dynamicind.com>
Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Laborde, James F <James.F.Laborde@marsh.com>; Wulff, Angela B
<Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark <Mark.Sneesby@marsh.com>;
Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: Re: Dynamic Industries - Berri Oil field Incident

Hi Mark,

The email was well received with the attachments. The same submitted to the insurance company. I will inform
you on when the policy will be received.

Best Regards,
Vivek

m: +97339915541 ; +966539460654
email: vivek.parkash@marsh.com
Sent from my iPhone


On Nov 11, 2019, at 8:43 PM, Mark Mahfouz <MMahfouz@dynamicind.com> wrote:


Vivek,

Please acknowledge receipt of my email (of Friday) and its attachments. Also, can you provide an update on when I will
receive the insurance policy and policy wordings from ANB.

Mark


From: Mark Mahfouz <MMahfouz@dynamicind.com>
Sent: Friday, November 8, 2019 3:27 PM
To: Parkash, Vivek <Vivek.Parkash@marsh.com>
Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Laborde, James F <James.F.Laborde@marsh.com>; Wulff, Angela B
<Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark <Mark.Sneesby@marsh.com>;
Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: RE: Dynamic Industries - Berri Oil field Incident

Vivek,



                                                           7

                                                                                                Exhibit No. A-5
                                                                                                       Page 7
Per your instructions I now attach a signed letter “back-dated with a date of December 2016”. Also attached is a .zip file
with the documents provided to Marsh in December 2016.

Please confirm your receipt of both the signed letter and /zip file. And please obtain the policy number and policy
wording I have been requesting from you/Marsh for many weeks.

Mark

From: Parkash, Vivek <Vivek.Parkash@marsh.com>
Sent: Friday, November 8, 2019 3:13 PM
To: Mark Mahfouz <MMahfouz@dynamicind.com>
Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Laborde, James F <James.F.Laborde@marsh.com>; Wulff, Angela B
<Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark <Mark.Sneesby@marsh.com>;
Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: Re: Dynamic Industries - Berri Oil field Incident

Hi Mark,

Marsh recommend that proposal form be signed back-dated with a date of December 2016 or a date in Jan 2017
but prior to 12 Jan 2017. This will factually align with the information submitted by Dynamic to Marsh and by
Marsh to the insurer at that time.

If due to unavoidable reasons , a date cannot be put on the proposal form then it can be signed undated. This is
an SOS option but not the preferred one.

Best Regards,
Vivek

m: +97339915541 ; +966539460654
email: vivek.parkash@marsh.com
Sent from my iPhone


On Nov 8, 2019, at 5:19 PM, Mark Mahfouz <MMahfouz@dynamicind.com> wrote:


Vivek,

Should the signed form be “back-dated” to December 2016 (when the application was made by Dynamic and all of the
attachments were provided to you or should the proposal form contain no date? Please provide explicit instructions on
this point from Marsh.

Mark


From: Parkash, Vivek <Vivek.Parkash@marsh.com>
Sent: Thursday, November 7, 2019 5:13 PM
To: Mark Mahfouz <MMahfouz@dynamicind.com>
Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Laborde, James F <James.F.Laborde@marsh.com>; Wulff, Angela B
<Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark <Mark.Sneesby@marsh.com>;
Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: RE: Dynamic Industries - Berri Oil field Incident
                                                            8

                                                                                                   Exhibit No. A-5
                                                                                                          Page 8
Hi Mark,

The insurer can accept undated proposal form but it has to be signed by Dynamic.

Only assurance we can give you is it does not impact insurance coverage as terms and conditions have already been
agreed and the proposal form is mere statement of facts (names , address, dates…) with most items stating ‘details as
per attached files’.

Best Regards,
Vivek

Vivek Parkash | ACII - Chartered Insurance Broker | Sr Client Manager – VP | RMP Practice |
Marsh KSA | Eastern Province | 3rd Floor, Tanami Tower | Prince Turki bin Abdulziz Rd. PO Box 30554, Al-Khobar
31952, Saudi Arabia
(t):+966 13 8969655 (m):+973 3991 5541 ; +966 53 946 0654 ; (e) : vivek.parkash@marsh.com
www.marsh.com | Follow Marsh on : Twitter | LinkedIn | Facebook | YouTube |




Marsh Saudi Arabia Insurance and Reinsurance Brokers LLC
<image001.png>

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SAMA License No. 18/20085 / ‫ ش‬/ ‫و س ط‬

Head Office: Riyadh, Commercial registration number (CR) : 1010247579
7th Floor Morouj Tower, Olaya Street (North), P.O.Box 53303 Riyadh 11583, KSA

From: Mark Mahfouz <MMahfouz@dynamicind.com>
Sent: Thursday, November 07, 2019 11:38 PM
To: Parkash, Vivek <Vivek.Parkash@marsh.com>
Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Laborde, James F <James.F.Laborde@marsh.com>; Wulff, Angela B
<Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark <Mark.Sneesby@marsh.com>;
Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: RE: Dynamic Industries - Berri Oil field Incident

Hi Vivek,

Please provide an update re: confirmation of approval for you to submit the Form filled out by you / Marsh.

Mark

From: Parkash, Vivek <Vivek.Parkash@marsh.com>
Sent: Wednesday, November 6, 2019 3:20 PM
To: Mark Mahfouz <MMahfouz@dynamicind.com>
Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Laborde, James F <James.F.Laborde@marsh.com>; Wulff, Angela B
<Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark <Mark.Sneesby@marsh.com>;
Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: RE: Dynamic Industries - Berri Oil field Incident

Sure Mark, word file attached of the same which can be edited.

Best Regards,
                                                           9

                                                                                               Exhibit No. A-5
                                                                                                      Page 9
Vivek

Vivek Parkash | ACII - Chartered Insurance Broker | Sr Client Manager – VP | RMP Practice |
Marsh KSA | Eastern Province | 3rd Floor, Tanami Tower | Prince Turki bin Abdulziz Rd. PO Box 30554, Al-Khobar
31952, Saudi Arabia
(t):+966 13 8969655 (m):+973 3991 5541 ; +966 53 946 0654 ; (e) : vivek.parkash@marsh.com
www.marsh.com | Follow Marsh on : Twitter | LinkedIn | Facebook | YouTube |




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Head Office: Riyadh, Commercial registration number (CR) : 1010247579
7th Floor Morouj Tower, Olaya Street (North), P.O.Box 53303 Riyadh 11583, KSA

From: Mark Mahfouz <MMahfouz@dynamicind.com>
Sent: Thursday, November 07, 2019 12:14 AM
To: Parkash, Vivek <Vivek.Parkash@marsh.com>
Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Laborde, James F <James.F.Laborde@marsh.com>; Wulff, Angela B
<Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark <Mark.Sneesby@marsh.com>;
Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: Re: Dynamic Industries - Berri Oil field Incident

Vivek,

If you are not going to be the one executing the form you / Marsh KSA prepared (and given our current
predicament that we are almost 3 years passed when this coverage was placed), then please kindly send me the
form you prepared in a format that can be further modified by the individual you believe should be signing it at
this stage as I believe Theresa advised you that individual is no longer employed w Dynamic.

Than you again.
Mark

Get Outlook for iOS

From: Parkash, Vivek <Vivek.Parkash@marsh.com>
Sent: Wednesday, November 6, 2019 3:03:18 PM
To: Mark Mahfouz <MMahfouz@dynamicind.com>
Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Laborde, James F <James.F.Laborde@marsh.com>; Wulff, Angela B
<Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark <Mark.Sneesby@marsh.com>;
Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: RE: Dynamic Industries - Berri Oil field Incident

Mark,

The proposal form specifically asks to be signed by the proposer/insured with name and designation in the company.
Though insurance company can accept the broker to assist the insured in filling in the proposal form but they never
accept it be signed by an insurance broker here. Will get this also confirmed in the morning.


                                                          10

                                                                                               Exhibit No. A-5
                                                                                                    Page 10
Best Regards,
Vivek

Vivek Parkash | ACII - Chartered Insurance Broker | Sr Client Manager – VP | RMP Practice |
Marsh KSA | Eastern Province | 3rd Floor, Tanami Tower | Prince Turki bin Abdulziz Rd. PO Box 30554, Al-Khobar
31952, Saudi Arabia
(t):+966 13 8969655 (m):+973 3991 5541 ; +966 53 946 0654 ; (e) : vivek.parkash@marsh.com
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<image003.png>

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Head Office: Riyadh, Commercial registration number (CR) : 1010247579
7th Floor Morouj Tower, Olaya Street (North), P.O.Box 53303 Riyadh 11583, KSA

From: Mark Mahfouz <MMahfouz@dynamicind.com>
Sent: Wednesday, November 06, 2019 11:57 PM
To: Parkash, Vivek <Vivek.Parkash@marsh.com>
Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Laborde, James F <James.F.Laborde@marsh.com>; Wulff, Angela B
<Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark <Mark.Sneesby@marsh.com>;
Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: Re: Dynamic Industries - Berri Oil field Incident

Vivek,

I look forward to your response in the morning. Since you / Marsh Saudi prepared the proposal form, can it be
signed by you?

Get Outlook for iOS

From: Parkash, Vivek <Vivek.Parkash@marsh.com>
Sent: Wednesday, November 6, 2019 2:52:05 PM
To: Mark Mahfouz <MMahfouz@dynamicind.com>
Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Laborde, James F <James.F.Laborde@marsh.com>; Wulff, Angela B
<Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark <Mark.Sneesby@marsh.com>;
Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: RE: Dynamic Industries - Berri Oil field Incident

Mark,

As I mentioned yesterday that according to Mazahir who had the lengthy meeting with ANB-Metlife-AIG , he needed to
give a signed proposal form & the BOR. I will be able to give you final confirmation in the morning ( KSA time) if unsigned
form can be accepted or not.

Best Regards,
Vivek

Vivek Parkash | ACII - Chartered Insurance Broker | Sr Client Manager – VP | RMP Practice |
Marsh KSA | Eastern Province | 3rd Floor, Tanami Tower | Prince Turki bin Abdulziz Rd. PO Box 30554, Al-Khobar
31952, Saudi Arabia
(t):+966 13 8969655 (m):+973 3991 5541 ; +966 53 946 0654 ; (e) : vivek.parkash@marsh.com

                                                            11

                                                                                                  Exhibit No. A-5
                                                                                                       Page 11
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Head Office: Riyadh, Commercial registration number (CR) : 1010247579
7th Floor Morouj Tower, Olaya Street (North), P.O.Box 53303 Riyadh 11583, KSA

From: Mark Mahfouz <MMahfouz@dynamicind.com>
Sent: Wednesday, November 06, 2019 11:43 PM
To: Parkash, Vivek <Vivek.Parkash@marsh.com>
Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Laborde, James F <James.F.Laborde@marsh.com>; Wulff, Angela B
<Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark <Mark.Sneesby@marsh.com>;
Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: Re: Dynamic Industries - Berri Oil field Incident

Vivek,

Thank you for providing the completed form so quickly. It is greatly appreciated on my end. Have you already
submitted it to ANB? If not, when do you intend to do so? And if you already have, can we expect to receive
the policy number and policy language in the next 2-3 days from today’s date?
Please confirm. I am traveling but await your urgent response.

Thank you again —
Mark

Get Outlook for iOS

From: Parkash, Vivek <Vivek.Parkash@marsh.com>
Sent: Wednesday, November 6, 2019 2:37:55 PM
To: Mark Mahfouz <MMahfouz@dynamicind.com>
Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Laborde, James F <James.F.Laborde@marsh.com>; Wulff, Angela B
<Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark <Mark.Sneesby@marsh.com>;
Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: RE: Dynamic Industries - Berri Oil field Incident

Mark,

I think our emails crossed. Please check the 5 emails sent in last 10 minutes which contain thecompleted Proposal Form
with copies ofall of the information and documentation previously submitted by Dynamic to Marsh (in 2016 and
January 2017) and submitted by Marsh to ANB & reinsurers (pre January 2017).


Best Regards,
Vivek

Vivek Parkash|ACII -Chartered Insurance Broker| Sr Client Manager – VP | RMP Practice |
Marsh KSA | Eastern Province | 3rd Floor, Tanami Tower | Prince Turki bin Abdulziz Rd. PO Box 30554, Al-Khobar
31952, Saudi Arabia
(t):+966 13 8969655 (m):+973 3991 5541 ; +966 53 946 0654 ; (e) : vivek.parkash@marsh.com
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                                                          12

                                                                                                Exhibit No. A-5
                                                                                                     Page 12
                                                               The link ed image cannot be
                                                               display ed. The file may hav e been
                                                               mov ed, renamed, or deleted. Verify
                                                               that the link points to the correct
                                                               file and location.




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Head Office: Riyadh, Commercial registration number (CR) :1010247579
7th Floor Morouj Tower, Olaya Street (North), P.O.Box 53303 Riyadh 11583, KSA

From: Mark Mahfouz <MMahfouz@dynamicind.com>
Sent: Wednesday, November 06, 2019 10:23 PM
To: Parkash, Vivek <Vivek.Parkash@marsh.com>
Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Laborde, James F <James.F.Laborde@marsh.com>; Wulff, Angela B
<Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark <Mark.Sneesby@marsh.com>;
Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: RE: Dynamic Industries - Berri Oil field Incident

Vivek,

To confirm, I have not received anything from you. More importantly:

Will you / Marsh be providing a completed Proposal Form (as requested) with copies ofall of the information and
documentation previously submitted by Dynamic to Marsh (in 2016 and January 2017) and submitted by you/Marsh
to ANB (pre January 2017)?

Mark

From: Parkash, Vivek <Vivek.Parkash@marsh.com>
Sent: Wednesday, November 6, 2019 12:46 PM
To: Mark Mahfouz <MMahfouz@dynamicind.com>
Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Laborde, James F <James.F.Laborde@marsh.com>; Wulff, Angela B
<Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark <Mark.Sneesby@marsh.com>;
Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: Re: Dynamic Industries - Berri Oil field Incident

Thanks Mark,

Will send you the full information in multiple emails shortly. All files added were of the size of 10MB plus due
to which I did not send all files yesterday.

Best Regards,
Vivek

m: +97339915541 ; +966539460654
email: vivek.parkash@marsh.com
Sent from my iPhone


On Nov 6, 2019, at 9:00 PM, Mark Mahfouz <MMahfouz@dynamicind.com> wrote:


Vivek,
                                                         13

                                                                                                     Exhibit No. A-5
                                                                                                          Page 13
Attached is the signed broker letter of authorization you demanded (below).

Will you be providing a completed Proposal Form (as requested) with copies ofall of the information and documentation
previously submitted by Dynamic to Marsh (in 2016 and January 2017) and submitted by you/Marsh to ANB (pre January
2017)? In other words, not just the limited information entitled “new info zip” you attached to your email to Theresa
and I?

Please advise urgently.

Mark

From: Parkash, Vivek <Vivek.Parkash@marsh.com>
Sent: Wednesday, November 6, 2019 12:18 AM
To: Bonin, Theresa <Theresa.Bonin@marsh.com>
Cc: Laborde, James F <James.F.Laborde@marsh.com>; Wulff, Angela B <Angela.B.Wulff@marsh.com>; Davies, Tim
<Tim.Davies@marsh.com>; Sneesby, Mark <Mark.Sneesby@marsh.com>; Dutia, Harsh <Harsh.S.Dutia@marsh.com>;
Mark Mahfouz <MMahfouz@dynamicind.com>
Subject: RE: Dynamic Industries - Berri Oil field Incident

Hi Theresa,

The ANB-Metlife-AIG position on proposal form is inflexible though they did accept to be on cover In Jan 2017 when the
cover was bound and incepted. This, according to them, is the regulatory requirement to have on file to issue any policy
by their company. I can do as you suggested and let you know the response but it was already rejected once by them.

Best Regards,
Vivek

Vivek Parkash|ACII -Chartered Insurance Broker| Sr Client Manager – VP | RMP Practice |
Marsh KSA | Eastern Province | 3rd Floor, Tanami Tower | Prince Turki bin Abdulziz Rd. PO Box 30554, Al-Khobar
31952, Saudi Arabia
(t):+966 13 8969655 (m):+973 3991 5541 ; +966 53 946 0654 ; (e) : vivek.parkash@marsh.com
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Head Office: Riyadh, Commercial registration number (CR) :1010247579
7th Floor Morouj Tower, Olaya Street (North), P.O.Box 53303 Riyadh 11583, KSA

From: Bonin, Theresa <Theresa.Bonin@marsh.com>
Sent: Wednesday, November 06, 2019 1:14 AM
To: Parkash, Vivek <Vivek.Parkash@marsh.com>
Cc: Laborde, James F <James.F.Laborde@marsh.com>; Wulff, Angela B <Angela.B.Wulff@marsh.com>; Davies, Tim
<Tim.Davies@marsh.com>; Sneesby, Mark <Mark.Sneesby@marsh.com>; Dutia, Harsh <Harsh.S.Dutia@marsh.com>;
Mark Mahfouz <MMahfouz@dynamicind.com>
Subject: RE: Dynamic Industries - Berri Oil field Incident

Vivek,

                                                           14

                                                                                                 Exhibit No. A-5
                                                                                                      Page 14
   Mark is issuing the BOR and we will forward upon receipt.

   With respect to the Proposal Form, ANB issued the attached COI confirming that they were on risk as of 12 January 2017
   and your email of 26 January 2017, copy attached, also confirmed 100% cover placed. The client should not need to
   submit any additional information at this time.

   Alternatively, we request that ANB issue the policy upon submission of an unsigned application or one signed by you
   instead of Dynamic. In that case, we would request that you complete the application and we note that the zip file is
   incomplete as it does not include all information submitted including the contract. The placement was not handled by
   Mark, but Roberto Rodriguez who is no longer with Dynamic so Mark is not able to attest to the Declaration required in
   the Proposal Form.

   We await your prompt response and the policy.

   Best regards,
   Theresa

   Theresa K. Bonin, CPCU, Managing Director
   Marsh| Wortham
   701 Poydras Street, Suite 4125, New Orleans, LA 70139
   Phone: 504-571-2211 | Cell: 504-616-8248 | Fax: 504-571-2219
   theresa.bonin@marsh.com

   From: Parkash, Vivek <Vivek.Parkash@marsh.com>
   Sent: Tuesday, November 5, 2019 9:46 AM
   To: Bonin, Theresa <Theresa.Bonin@marsh.com>; Mark Mahfouz <MMahfouz@dynamicind.com>
   Cc: Laborde, James F <James.F.Laborde@marsh.com>; Wulff, Angela B <Angela.B.Wulff@marsh.com>; Davies, Tim
   <Tim.Davies@marsh.com>; Sneesby, Mark <Mark.Sneesby@marsh.com>; Dutia, Harsh <Harsh.S.Dutia@marsh.com>
   Subject: RE: Dynamic Industries - Berri Oil field Incident

   Hi Mark, Theresa

   Today there was a contentious meeting in Riyadh with the ANB as they initially rejected to proceed to issue the policy
   wordings citing non-submission of regulatory documents. After a lengthy meeting , the following points agreed based on
   which ANB will issue the policy :

1. BOR to be provided on client’s (Dynamic Industries Saudi Arabia Ltd ) letterhead
2. Filled in Proposal Form to be provided
3. VAT of 5% will be payable on the premium

   While Marsh Saudi Arabia is taking care of the VAT point, we request your help on #1 and #2. My deep apologies to
   request these two documents at this stage as this should have been obtained at the initial stage and irrespective of any
   insurer is stringent about it or not.

   The BOR format is attached and you may use the English version. It has to be dated prior to policy inception date. I have
   suggested a date in the draft accordingly.

   Proposal form is for basic information and you may mention = “detailed info attached”- it can be signed undated and we
   have discussed it will be accepted. I have attached a zip folder which contains the underwriting information we had
   received for this project.

   It is not ideal situation but we are at final stage of resolution of this matter if the above two documents can be provided,
   we can get the policy wordings from ANB in two or three days.
                                                                  15

                                                                                                      Exhibit No. A-5
                                                                                                           Page 15
Best Regards,
Vivek

Vivek Parkash|ACII -Chartered Insurance Broker| Sr Client Manager – VP | RMP Practice |
Marsh KSA | Eastern Province | 3rd Floor, Tanami Tower | Prince Turki bin Abdulziz Rd. PO Box 30554, Al-Khobar
31952, Saudi Arabia
(t):+966 13 8969655 (m):+973 3991 5541 ; +966 53 946 0654 ; (e) : vivek.parkash@marsh.com
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Marsh Saudi Arabia Insurance and Reinsurance Brokers LLC
<image001.png>

Regulated and supervised by The Saudi Arabian Monetary Authority(SAMA)
SAMA License No.18/20085 / ‫ ش‬/ ‫و س ط‬

Head Office: Riyadh, Commercial registration number (CR) :1010247579
7th Floor Morouj Tower, Olaya Street (North), P.O.Box 53303 Riyadh 11583, KSA

From: Bonin, Theresa <Theresa.Bonin@marsh.com>
Sent: Monday, November 04, 2019 4:34 PM
To: Parkash, Vivek <Vivek.Parkash@marsh.com>
Cc: Mark Mahfouz <MMahfouz@dynamicind.com>; Laborde, James F <James.F.Laborde@marsh.com>; Wulff, Angela B
<Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark <Mark.Sneesby@marsh.com>;
Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: Re: Dynamic Industries - Berri Oil field Incident

Thanks you for the update. We look forward to receiving the policy.


Theresa K. Bonin, CPCU, Managing Director
Marsh USA Inc.| 701 Poydras Street, Suite 4125, New Orleans, LA 70139
Phone: 504-571-2211 | Cell: 504-616-8248| Fax: 504-571-2219
theresa.bonin@marsh.com<mailto:theresa.bonin@marsh.com>
Sent from my iPhone


On Nov 4, 2019, at 4:51 AM, Parkash, Vivek <Vivek.Parkash@marsh.com> wrote:


Hi Theresa and Mark,

The update is overdue from my side and apologies for that as I did not want to simply write that it is under process.

Key executives involved :
Along with Mazahir , the matter has been shared with Talal, Chief Marketing Officer who manages relation with the
insurance companies.

Meeting/discussions :
There have been discussions with the ANB Metlife on the policy document issuance. The file has been reviewed by their
reinsurance manager and as of this week the main direct insurance underwriter has been asked to list out his
requirements that will enable him to issue the policy wordings.

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Timeline:
Though it is not yet committed by the insurance company but based on the requirements ( to be listed if any) , we are
pushing it to be given to us this week and if the requirements are already available with us then we will provide the
documents to the underwriter same day or next day to get the policy wordings issued

Best Regards,
Vivek

Mobile : +973 3991 5541 ; +966 53 946 0654 ;
vivek.parkash@marsh.com

From: Bonin, Theresa <Theresa.Bonin@marsh.com>
Sent: Monday, November 04, 2019 1:40 PM
To: Mark Mahfouz <MMahfouz@dynamicind.com>
Cc: Parkash, Vivek <Vivek.Parkash@marsh.com>; Laborde, James F <James.F.Laborde@marsh.com>; Wulff, Angela B
<Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark <Mark.Sneesby@marsh.com>;
Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: Re: Dynamic Industries - Berri Oil field Incident

Vivek

Can you please provide an update on the status of this repeated request?

Thank you.
Theresa


Theresa K. Bonin, CPCU, Managing Director
Marsh USA Inc.| 701 Poydras Street, Suite 4125, New Orleans, LA 70139
Phone: 504-571-2211 | Cell: 504-616-8248| Fax: 504-571-2219
theresa.bonin@marsh.com<mailto:theresa.bonin@marsh.com>
Sent from my iPhone


On Oct 30, 2019, at 10:42 AM, Mark Mahfouz <MMahfouz@dynamicind.com> wrote:

<MetLife-AIG.pdf>




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Exhibit No. A-5
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Exhibit No. A-5
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From:                              Mark Mahfouz <MMahfouz@dynamicind.com>
Sent:                              Wednesday, October 30, 2019 10:42 AM
To:                                Parkash, Vivek
Cc:                                Bonin, Theresa; Laborde, James F; Wulff, Angela B; Davies, Tim; Sneesby, Mark; Dutia,
                                   Harsh
Subject:                           RE: Dynamic Industries - Berri Oil field Incident


Vivek,

Please provide an update on when I can expect to receive the insurance policy no. and a copy of the policy.

A response would be appreciated.

Thank you,
Mark

From: Mark Mahfouz
Sent: Thursday, October 24, 2019 10:18 AM
To: Parkash, Vivek <Vivek.Parkash@marsh.com>
Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Laborde, James F <James.F.Laborde@marsh.com>; Wulff, Angela B
<Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark <Mark.Sneesby@marsh.com>;
Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: RE: Dynamic Industries - Berri Oil field Incident

Vivek,

Any update you can provide? We have been requesting the relevant policy no., a copy of the policy, etc. for about five
(5) weeks now …

Thank you,
Mark



From: Parkash, Vivek <Vivek.Parkash@marsh.com>
Sent: Monday, October 21, 2019 9:51 AM
To: Mark Mahfouz <MMahfouz@dynamicind.com>
Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Laborde, James F <James.F.Laborde@marsh.com>; Wulff, Angela B
<Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark <Mark.Sneesby@marsh.com>;
Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: Re: Dynamic Industries - Berri Oil field Incident

Hi Mark,

I regret the delay and will discuss internally to whom to escalate because the things are not moving at satisfactory speed
at current level.

Best Regards,
Vivek
                                                             1

                                                                                                    Exhibit No. A-6
                                                                                                           Page 1
m: +97339915541 ; +966539460654
email: vivek.parkash@marsh.com
Sent from my iPhone


     On Oct 21, 2019, at 5:48 PM, Mark Mahfouz <MMahfouz@dynamicind.com> wrote:


     Hello Vivek,

     Would you please provide an update to your email of six (6) days ago (below). We have now been
     requesting the relevant policy no., a copy of the policy, etc. for over one (1) month.

     Thank you,
     Mark

     From: Parkash, Vivek <Vivek.Parkash@marsh.com>
     Sent: Tuesday, October 15, 2019 7:29 PM
     To: Mark Mahfouz <MMahfouz@dynamicind.com>; Bonin, Theresa <Theresa.Bonin@marsh.com>
     Cc: Laborde, James F <James.F.Laborde@marsh.com>; Wulff, Angela B <Angela.B.Wulff@marsh.com>;
     Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark <Mark.Sneesby@marsh.com>; Dutia, Harsh
     <Harsh.S.Dutia@marsh.com>
     Subject: RE: Dynamic Industries - Berri Oil field Incident

     Mark,

     I am embarrassed to state that no confirmation on dates are provided yet though I have been following
     up on it to seek a timeframe if it will be received in how many days. I will chase again and convey to you
     during the day.

     Best Regards,
     Vivek

     Mobile : +973 3991 5541 ; +966 53 946 0654 ;
     vivek.parkash@marsh.com


     From: Mark Mahfouz <MMahfouz@dynamicind.com>
     Sent: Tuesday, October 15, 2019 10:37 PM
     To: Bonin, Theresa <Theresa.Bonin@marsh.com>; Parkash, Vivek <Vivek.Parkash@marsh.com>
     Cc: Laborde, James F <James.F.Laborde@marsh.com>; Wulff, Angela B <Angela.B.Wulff@marsh.com>;
     Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark <Mark.Sneesby@marsh.com>; Dutia, Harsh
     <Harsh.S.Dutia@marsh.com>
     Subject: RE: Dynamic Industries - Berri Oil field Incident

     Vivek,

     Would you please provide an update to your email of a week ago.

     Mark


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                                                                                          Exhibit No. A-6
                                                                                                 Page 2
From: Mark Mahfouz
Sent: Friday, October 11, 2019 8:07 AM
To: Bonin, Theresa <Theresa.Bonin@marsh.com>; Parkash, Vivek <Vivek.Parkash@marsh.com>
Cc: Laborde, James F <James.F.Laborde@marsh.com>; Wulff, Angela B <Angela.B.Wulff@marsh.com>;
Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark <Mark.Sneesby@marsh.com>; Dutia, Harsh
<Harsh.S.Dutia@marsh.com>
Subject: RE: Dynamic Industries - Berri Oil field Incident

Hello Vivek,

Will you please provide an update as to when we will have the policy no., a copy of the policy in hand,
etc.?

Thank you,
Mark



From: Bonin, Theresa <Theresa.Bonin@marsh.com>
Sent: Tuesday, October 8, 2019 5:05 PM
To: Parkash, Vivek <Vivek.Parkash@marsh.com>
Cc: Laborde, James F <James.F.Laborde@marsh.com>; Wulff, Angela B <Angela.B.Wulff@marsh.com>;
Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark <Mark.Sneesby@marsh.com>; Mark Mahfouz
<MMahfouz@dynamicind.com>; Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: RE: Dynamic Industries - Berri Oil field Incident

Thank you for the update Vivek. Please understand it’s not a matter of mistrust but we strive for
contract certainty upon binding, which we cannot have without a detailed, written document.

Best regards,
Theresa

Theresa K. Bonin, CPCU, Managing Director
Marsh| Wortham
701 Poydras Street, Suite 4125, New Orleans, LA 70139
Phone: 504-571-2211 | Cell: 504-616-8248 | Fax: 504-571-2219
theresa.bonin@marsh.com


From: Parkash, Vivek <Vivek.Parkash@marsh.com>
Sent: Tuesday, October 8, 2019 10:14 AM
To: Bonin, Theresa <Theresa.Bonin@marsh.com>
Cc: Laborde, James F <James.F.Laborde@marsh.com>; Wulff, Angela B <Angela.B.Wulff@marsh.com>;
Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark <Mark.Sneesby@marsh.com>; Mark Mahfouz
<MMahfouz@dynamicind.com>; Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: RE: Dynamic Industries - Berri Oil field Incident

Theresa ,

Though I don’t have update from him but I trust him to get it done soon as he is the country placement
leader and will ask him to get a date from the underwriter by when they can provide us the policy.

Best Regards,
Vivek
                                                    3

                                                                                      Exhibit No. A-6
                                                                                             Page 3
Mobile : +973 3991 5541 ; +966 53 946 0654 ;
vivek.parkash@marsh.com

From: Bonin, Theresa <Theresa.Bonin@marsh.com>
Sent: Monday, October 07, 2019 7:53 PM
To: Parkash, Vivek <Vivek.Parkash@marsh.com>
Cc: Laborde, James F <James.F.Laborde@marsh.com>; Wulff, Angela B <Angela.B.Wulff@marsh.com>;
Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark <Mark.Sneesby@marsh.com>; Mark Mahfouz
<MMahfouz@dynamicind.com>; Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: RE: Dynamic Industries - Berri Oil field Incident

Vivek, please provide the promised update.

Thanks.
Theresa

Theresa K. Bonin, CPCU, Managing Director
Marsh| Wortham
701 Poydras Street, Suite 4125, New Orleans, LA 70139
Phone: 504-571-2211 | Cell: 504-616-8248 | Fax: 504-571-2219
theresa.bonin@marsh.com



From: Mark Mahfouz <MMahfouz@dynamicind.com>
Sent: Friday, October 4, 2019 3:05 PM
To: Parkash, Vivek <Vivek.Parkash@marsh.com>
Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Laborde, James F <James.F.Laborde@marsh.com>;
Wulff, Angela B <Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark
<Mark.Sneesby@marsh.com>
Subject: RE: Dynamic Industries - Berri Oil field Incident

Thanks, Vivek. Please provide an update on Sunday or Monday (after you have communicated with
Mazahir Ali).

Best,
Mark

From: Parkash, Vivek <Vivek.Parkash@marsh.com>
Sent: Friday, October 4, 2019 3:02 PM
To: Mark Mahfouz <MMahfouz@dynamicind.com>
Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Laborde, James F <James.F.Laborde@marsh.com>;
Wulff, Angela B <Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark
<Mark.Sneesby@marsh.com>
Subject: RE: Dynamic Industries - Berri Oil field Incident

Hi Mark,

I am depending on my colleague Mazahir Ali who heads placement for Marsh Saudi Arabia. He had
discussions with Metlife-ANB-AIG underwriter and I will seek update from him on Sunday on the timing
for the policy and if they have sent any draft to him.


                                                    4

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                                                                                         Page 4
Best Regards,
Vivek

Mobile : +973 3991 5541 ; +966 53 946 0654 ;
vivek.parkash@marsh.com


From: Mark Mahfouz <MMahfouz@dynamicind.com>
Sent: Friday, October 04, 2019 4:11 PM
To: Parkash, Vivek <Vivek.Parkash@marsh.com>
Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Laborde, James F <James.F.Laborde@marsh.com>;
Wulff, Angela B <Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark
<Mark.Sneesby@marsh.com>
Subject: RE: Dynamic Industries - Berri Oil field Incident

Vivek,

Please provide an update on policy status (per my request below).

Have a nice weekend,
Mark

From: Mark Mahfouz
Sent: Tuesday, October 1, 2019 2:11 PM
To: Parkash, Vivek <Vivek.Parkash@marsh.com>
Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Laborde, James F <James.F.Laborde@marsh.com>;
Wulff, Angela B <Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark
<Mark.Sneesby@marsh.com>
Subject: RE: Dynamic Industries - Berri Oil field Incident

Hello Vivek –

Can you provide an update on the status of the requested local policy (with policy #) issued with DIC/DIL
clauses to follow the Chubb reinsurance policy wordings from MetLife – AIG – ANB Cooperative
Insurance Company.

Thank you,
Mark

From: Mark Mahfouz
Sent: Wednesday, September 25, 2019 2:00 PM
To: Parkash, Vivek <Vivek.Parkash@marsh.com>
Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Laborde, James F <James.F.Laborde@marsh.com>;
Wulff, Angela B <Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark
<Mark.Sneesby@marsh.com>
Subject: RE: Dynamic Industries - Berri Oil field Incident

Hello Vivek,

Thank you for your email. I look forward to receiving the local policy issued with DIC/DIL clauses to
follow the Chubb reinsurance policy wordings from MetLife – AIG – ANB Cooperative Insurance
Company from you as soon as possible.

                                                    5

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                                                                                               Page 5
Regarding your question below, I have no additional information at this time to report. As soon as I
have additional information regarding the alleged damage to the Saudi Aramco cable, I will advise
you/Marsh of same.

Mark

From: Parkash, Vivek <Vivek.Parkash@marsh.com>
Sent: Wednesday, September 25, 2019 9:18 AM
To: Mark Mahfouz <MMahfouz@dynamicind.com>
Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Laborde, James F <James.F.Laborde@marsh.com>;
Wulff, Angela B <Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark
<Mark.Sneesby@marsh.com>
Subject: RE: Dynamic Industries - Berri Oil field Incident

Hi Mark,

After our last week’s emails , I had internal review to get the local policy issued with DIC/DIL clauses to
follow the Chubb reinsurance policy wordings. Our placement team leader whose team placed the
policy with Metlife-ANB-AIG is coordinating for this policy wording which I will share with you with their
policy no.. Currently they have not assigned any policy no.

Meanwhile have you analyzed further in respect of the loss and whether we should get a loss adjuster
appointed from Chubb. Await your advices.

Best Regards,
Vivek

Mobile : +973 3991 5541 ; +966 53 946 0654 ;
vivek.parkash@marsh.com


From: Mark Mahfouz <MMahfouz@dynamicind.com>
Sent: Tuesday, September 24, 2019 4:25 PM
To: Parkash, Vivek <Vivek.Parkash@marsh.com>; Bonin, Theresa <Theresa.Bonin@marsh.com>
Cc: Laborde, James F <James.F.Laborde@marsh.com>; Wulff, Angela B <Angela.B.Wulff@marsh.com>
Subject: RE: Dynamic Industries - Berri Oil field Incident

Hello Vivek,

Were you able to obtain the MetLife – AIG – ANB Cooperative Insurance Company policy number
today?

Please advise.

Thanks,
Mark

From: Parkash, Vivek <Vivek.Parkash@marsh.com>
Sent: Friday, September 20, 2019 10:50 AM
To: Bonin, Theresa <Theresa.Bonin@marsh.com>
Cc: Mark Mahfouz <MMahfouz@dynamicind.com>; Laborde, James F <James.F.Laborde@marsh.com>;
Wulff, Angela B <Angela.B.Wulff@marsh.com>
Subject: Re: Dynamic Industries - Berri Oil field Incident
                                                     6

                                                                                        Exhibit No. A-6
                                                                                               Page 6
Theresa,

The standard policy wording with MetLife-ANB-AIG is normal third party liability wording for onshore
risks which is not the exact form as issued by Chubb here.

The certificate of insurance issuance represents for 100%. It is acceptable by Saudi Aramco as evidence
of local insurance.

The policy no. can be obtained next week. There is national holiday on Sunday and Monday, I will check
it from insurer on Tue.


Best Regards,
Vivek

m: +97339915541 ; +966539460654
email: vivek.parkash@marsh.com
Sent from my iPhone

On Sep 20, 2019, at 6:39 PM, Bonin, Theresa <Theresa.Bonin@marsh.com> wrote:

        Why was the MetLife AIG ANB Cooperative Insurance Company policy not
        issued? The reinsurance policies do not provide 100% - only 87.5%. The certificate
        shows policy number “TBA”. It seems important to us to have the actual policy and a
        policy number.

        From: Parkash, Vivek <Vivek.Parkash@marsh.com>
        Sent: Friday, September 20, 2019 10:19 AM
        To: Bonin, Theresa <Theresa.Bonin@marsh.com>
        Cc: Mark Mahfouz <MMahfouz@dynamicind.com>; Laborde, James F
        <James.F.Laborde@marsh.com>; Wulff, Angela B <Angela.B.Wulff@marsh.com>
        Subject: RE: Dynamic Industries - Berri Oil field Incident

        Theresa,

        The policy wordings is from page 36 to 60 of the Chubb signed slip cum wordings
        documents attached. Regarding the local policy wording, it was not issued but we had
        arranged a certificate of insurance as per second attachment.

        For interpretation of the policy wording , please refer to the Chubb document as Chubb
        is the leader to decide about any claim under the policy.

        Please let us know if there is anything further we can do to assist on this claim.

        Best Regards,
        Vivek

        Mobile : +973 3991 5541 ; +966 53 946 0654 ;
        vivek.parkash@marsh.com



                                                     7

                                                                                        Exhibit No. A-6
                                                                                               Page 7
From: Bonin, Theresa <Theresa.Bonin@marsh.com>
Sent: Friday, September 20, 2019 2:45 PM
To: Parkash, Vivek <Vivek.Parkash@marsh.com>
Cc: Mark Mahfouz <MMahfouz@dynamicind.com>; Laborde, James F
<James.F.Laborde@marsh.com>; Wulff, Angela B <Angela.B.Wulff@marsh.com>
Subject: Re: Dynamic Industries - Berri Oil field Incident

Vivek

Thank you for your reply. Please send us the local policy today! The client wants to
review the policy before making claim.

T

Theresa K. Bonin, CPCU, Managing Director
Marsh USA Inc.| 701 Poydras Street, Suite 4125, New Orleans, LA 70139
Phone: 504-571-2211 | Cell: 504-616-8248| Fax: 504-571-2219
theresa.bonin@marsh.com<mailto:theresa.bonin@marsh.com>
Sent from my iPhone

On Sep 19, 2019, at 7:59 PM, Parkash, Vivek <Vivek.Parkash@marsh.com> wrote:

        Hi Mark,

        We will notify lead reinsurer Chubb Dubai for a potential insurance
        claim.

        1) At the same time we request you to issue a letter to COOEC to hold
        them responsible for the potential claim and ask them to notify their
        insurers / subcontractors insurers- and preserve your rights of recovery
        should DISA
        be held responsible for this.

        2) Please do not accept / admit any liability without approval from lead
        reinsurer i.e. Chubb Dubai.

        3) Please forward to us (for sending to Chubb) any letter , email etc you
        receive from Saudi Aramco holding DISA responsible for this incident.

        The above is what we can do as of now.
        When you get more details please share with us.

        Best Regards,
        Vivek

        m: +97339915541 ; +966539460654
        email: vivek.parkash@marsh.com
        Sent from my iPhone

        On Sep 19, 2019, at 10:48 PM, Mark Mahfouz
        <MMahfouz@dynamicind.com> wrote:

                                            8

                                                                           Exhibit No. A-6
                                                                                  Page 8
Hello Vivek,

Per Theresa’s email below, below is all we know at this
time:

Dynamic Industries Saudi Arabia Limited (“DISA”) was
notified by Saudi Aramco that physical damage was
caused to a Saudi Aramco underwater “power cable”
between BRRI TP-1 and BRRI TP-2 in the Saudi Aramco
owned Berri offshore field (in the Kingdom of Saudi
Arabia). At this time, I do not have any further details
regarding the cable type/location/identification/extent
of damage which has already resulted/may result,
etc. While I understand that Saudi Aramco is still
investigating the cause of the incident and has not issued
its final determination, a DISA representative was
verbally told that the damage may have been caused by
the BE 806 (a vessel owned by China Ocean Engineering
Shanghai Co. (“COOES”) perming demolition work in the
area of the cable). COOES (and the BE 806) was at all
relevant times working as a direct Sub-Subcontractor of
DISA’s main Subcontractor - Offshore Oil Engineering Co.,
Ltd. Saudi Arabia Branch (“COOEC”).

I am attempting to gather additional information on the
damaged cable and will advise you of same as I know
more. In the interim, please let me know if you require
anything else at this time.

Regards,
Mark


Mark Mahfouz | General Counsel
Dynamic Energy Services International LLC
400 Poydras Street, Suite 1800
New Orleans, LA 70130
Direct: +1-504-684-2247 |Fax: +1-504-595-1044
Mobile: +1-504-451-7292
|Email: mmahfouz@dynesi.com

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notify the sender via return e-mail and delete this e-mail from
your system. Thank You.



                                 9

                                                              Exhibit No. A-6
                                                                     Page 9
From: Bonin, Theresa <Theresa.Bonin@marsh.com>
Sent: Thursday, September 19, 2019 2:18 PM
To: Parkash, Vivek <Vivek.Parkash@marsh.com>
Cc: Laborde, James F <James.F.Laborde@marsh.com>;
Wulff, Angela B <Angela.B.Wulff@marsh.com>; Mark
Mahfouz <MMahfouz@dynamicind.com>
Subject: Dynamic Industries - Berri Oil field Incident
Importance: High

Vivek,

Dynamic has an incident to report under the Third Party
Liability policy covering the Berri Oil field, involving
damage to an ARAMCO underwater cable. Mark does
not have complete details at this time but is gathering
them and will send shortly.

In reviewing our files and emails we cannot locate a
copy of the MetLife AIG ANB Cooperative Insurance
Company policy, although we do have copies of the
reinsurance totaling 87.5%. Please send us a copy of
that policy urgently and advise procedure for reporting
this incident. We note that your email of January 17,
2017 advised that “In terms of claims, the local insurer
will follow lead reinsurer’s decision.”

Best regards,
Theresa

Theresa K. Bonin, CPCU, Managing Director
Marsh| Wortham
701 Poydras Street, Suite 4125, New Orleans, LA 70139
Phone: 504-571-2211 | Cell: 504-616-8248 | Fax: 504-571-
2219
theresa.bonin@marsh.com




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                               10

                                                           Exhibit No. A-6
                                                                Page 10
                        immediately
                        reply to the sender via e-mail and also permanently
                        delete all copies of the original message together with
                        any of its attachments
                        from your computer or device.
                        ****************************************************************
                        ******




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This e-mail, including any attachments that accompany it, may contain
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If you have received this email in error, please immediately
reply to the sender via e-mail and also permanently
delete all copies of the original message together with any of its attachments
from your computer or device.
**********************************************************************




                                                       11

                                                                                           Exhibit No. A-6
                                                                                                Page 11
From:                             Parkash, Vivek <Vivek.Parkash@marsh.com>
Sent:                             Wednesday, November 6, 2019 12:18 AM
To:                               Bonin, Theresa
Cc:                               Laborde, James F; Wulff, Angela B; Davies, Tim; Sneesby, Mark; Dutia, Harsh; Mark
                                  Mahfouz
Subject:                          RE: Dynamic Industries - Berri Oil field Incident


Hi Theresa,

The ANB-Metlife-AIG position on proposal form is inflexible though they did accept to be on cover In Jan 2017 when the
cover was bound and incepted. This, according to them, is the regulatory requirement to have on file to issue any policy
by their company. I can do as you suggested and let you know the response but it was already rejected once by them.

Best Regards,
Vivek

Vivek Parkash | ACII - Chartered Insurance Broker | Sr Client Manager – VP | RMP Practice |
Marsh KSA | Eastern Province | 3rd Floor, Tanami Tower | Prince Turki bin Abdulziz Rd. PO Box 30554, Al-Khobar
31952, Saudi Arabia
(t):+966 13 8969655 (m):+973 3991 5541 ; +966 53 946 0654 ; (e) : vivek.parkash@marsh.com
www.marsh.com | Follow Marsh on : Twitter | LinkedIn | Facebook | YouTube |




Marsh Saudi Arabia Insurance and Reinsurance Brokers LLC

Regulated and supervised by The Saudi Arabian Monetary Authority(SAMA)
SAMA License No. 18/20085 / ‫ ش‬/ ‫و س ط‬

Head Office: Riyadh, Commercial registration number (CR) : 1010247579
7th Floor Morouj Tower, Olaya Street (North), P.O.Box 53303 Riyadh 11583, KSA


From: Bonin, Theresa <Theresa.Bonin@marsh.com>
Sent: Wednesday, November 06, 2019 1:14 AM
To: Parkash, Vivek <Vivek.Parkash@marsh.com>
Cc: Laborde, James F <James.F.Laborde@marsh.com>; Wulff, Angela B <Angela.B.Wulff@marsh.com>; Davies, Tim
<Tim.Davies@marsh.com>; Sneesby, Mark <Mark.Sneesby@marsh.com>; Dutia, Harsh <Harsh.S.Dutia@marsh.com>;
Mark Mahfouz <MMahfouz@dynamicind.com>
Subject: RE: Dynamic Industries - Berri Oil field Incident

Vivek,

Mark is issuing the BOR and we will forward upon receipt.

With respect to the Proposal Form, ANB issued the attached COI confirming that they were on risk as of 12 January 2017
and your email of 26 January 2017, copy attached, also confirmed 100% cover placed. The client should not need to
submit any additional information at this time.



                                                            1

                                                                                                   Exhibit No. A-7
                                                                                                          Page 1
Alternatively, we request that ANB issue the policy upon submission of an unsigned application or one signed by you
instead of Dynamic. In that case, we would request that you complete the application and we note that the zip file is
incomplete as it does not include all information submitted including the contract. The placement was not handled by
Mark, but Roberto Rodriguez who is no longer with Dynamic so Mark is not able to attest to the Declaration required in
the Proposal Form.

We await your prompt response and the policy.

Best regards,
Theresa

Theresa K. Bonin, CPCU, Managing Director
Marsh| Wortham
701 Poydras Street, Suite 4125, New Orleans, LA 70139
Phone: 504-571-2211 | Cell: 504-616-8248 | Fax: 504-571-2219
theresa.bonin@marsh.com


From: Parkash, Vivek <Vivek.Parkash@marsh.com>
Sent: Tuesday, November 5, 2019 9:46 AM
To: Bonin, Theresa <Theresa.Bonin@marsh.com>; Mark Mahfouz <MMahfouz@dynamicind.com>
Cc: Laborde, James F <James.F.Laborde@marsh.com>; Wulff, Angela B <Angela.B.Wulff@marsh.com>; Davies, Tim
<Tim.Davies@marsh.com>; Sneesby, Mark <Mark.Sneesby@marsh.com>; Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: RE: Dynamic Industries - Berri Oil field Incident

Hi Mark, Theresa

Today there was a contentious meeting in Riyadh with the ANB as they initially rejected to proceed to issue the policy
wordings citing non-submission of regulatory documents. After a lengthy meeting , the following points agreed based on
which ANB will issue the policy :

    1. BOR to be provided on client’s (Dynamic Industries Saudi Arabia Ltd ) letterhead
    2. Filled in Proposal Form to be provided
    3. VAT of 5% will be payable on the premium

While Marsh Saudi Arabia is taking care of the VAT point, we request your help on #1 and #2. My deep apologies to
request these two documents at this stage as this should have been obtained at the initial stage and irrespective of any
insurer is stringent about it or not.

The BOR format is attached and you may use the English version. It has to be dated prior to policy inception date. I have
suggested a date in the draft accordingly.

Proposal form is for basic information and you may mention = “detailed info attached”- it can be signed undated and we
have discussed it will be accepted. I have attached a zip folder which contains the underwriting information we had
received for this project.

It is not ideal situation but we are at final stage of resolution of this matter if the above two documents can be provided,
we can get the policy wordings from ANB in two or three days.


Best Regards,
Vivek

Vivek Parkash | ACII - Chartered Insurance Broker | Sr Client Manager – VP | RMP Practice |
                                                               2

                                                                                                    Exhibit No. A-7
                                                                                                           Page 2
Marsh KSA | Eastern Province | 3rd Floor, Tanami Tower | Prince Turki bin Abdulziz Rd. PO Box 30554, Al-Khobar
31952, Saudi Arabia
(t):+966 13 8969655 (m):+973 3991 5541 ; +966 53 946 0654 ; (e) : vivek.parkash@marsh.com
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Marsh Saudi Arabia Insurance and Reinsurance Brokers LLC

Regulated and supervised by The Saudi Arabian Monetary Authority(SAMA)
SAMA License No. 18/20085 / ‫ ش‬/ ‫و س ط‬

Head Office: Riyadh, Commercial registration number (CR) : 1010247579
7th Floor Morouj Tower, Olaya Street (North), P.O.Box 53303 Riyadh 11583, KSA


From: Bonin, Theresa <Theresa.Bonin@marsh.com>
Sent: Monday, November 04, 2019 4:34 PM
To: Parkash, Vivek <Vivek.Parkash@marsh.com>
Cc: Mark Mahfouz <MMahfouz@dynamicind.com>; Laborde, James F <James.F.Laborde@marsh.com>; Wulff, Angela B
<Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark <Mark.Sneesby@marsh.com>;
Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: Re: Dynamic Industries - Berri Oil field Incident

Thanks you for the update. We look forward to receiving the policy.


Theresa K. Bonin, CPCU, Managing Director
Marsh USA Inc.| 701 Poydras Street, Suite 4125, New Orleans, LA 70139
Phone: 504-571-2211 | Cell: 504-616-8248| Fax: 504-571-2219
theresa.bonin@marsh.com<mailto:theresa.bonin@marsh.com>
Sent from my iPhone


       On Nov 4, 2019, at 4:51 AM, Parkash, Vivek <Vivek.Parkash@marsh.com> wrote:


       Hi Theresa and Mark,

       The update is overdue from my side and apologies for that as I did not want to simply write that it is
       under process.

       Key executives involved :
       Along with Mazahir , the matter has been shared with Talal, Chief Marketing Officer who manages
       relation with the insurance companies.

       Meeting/discussions :
       There have been discussions with the ANB Metlife on the policy document issuance. The file has been
       reviewed by their reinsurance manager and as of this week the main direct insurance underwriter has
       been asked to list out his requirements that will enable him to issue the policy wordings.

       Timeline:
       Though it is not yet committed by the insurance company but based on the requirements ( to be listed if
       any) , we are pushing it to be given to us this week and if the requirements are already available with us

                                                           3

                                                                                                 Exhibit No. A-7
                                                                                                        Page 3
then we will provide the documents to the underwriter same day or next day to get the policy wordings
issued

Best Regards,
Vivek

Mobile : +973 3991 5541 ; +966 53 946 0654 ;
vivek.parkash@marsh.com


From: Bonin, Theresa <Theresa.Bonin@marsh.com>
Sent: Monday, November 04, 2019 1:40 PM
To: Mark Mahfouz <MMahfouz@dynamicind.com>
Cc: Parkash, Vivek <Vivek.Parkash@marsh.com>; Laborde, James F <James.F.Laborde@marsh.com>;
Wulff, Angela B <Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark
<Mark.Sneesby@marsh.com>; Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: Re: Dynamic Industries - Berri Oil field Incident

Vivek

Can you please provide an update on the status of this repeated request?

Thank you.
Theresa


Theresa K. Bonin, CPCU, Managing Director
Marsh USA Inc.| 701 Poydras Street, Suite 4125, New Orleans, LA 70139
Phone: 504-571-2211 | Cell: 504-616-8248| Fax: 504-571-2219
theresa.bonin@marsh.com<mailto:theresa.bonin@marsh.com>
Sent from my iPhone


        On Oct 30, 2019, at 10:42 AM, Mark Mahfouz <MMahfouz@dynamicind.com>
        wrote:




                                                  4

                                                                                   Exhibit No. A-7
                                                                                          Page 4
Balart, Etienne

From:                              Parkash, Vivek <Vivek.Parkash@marsh.com>
Sent:                              Tuesday, November 5, 2019 9:46 AM
To:                                Bonin, Theresa; Mark Mahfouz
Cc:                                Laborde, James F; Wulff, Angela B; Davies, Tim; Sneesby, Mark; Dutia, Harsh
Subject:                           RE: Dynamic Industries - Berri Oil field Incident
Attachments:                       Proposal Form - COMPREHENSIVE GENERAL LIABILITY (Construction).pdf; BOR
                                   format.doc; new info.zip; Client acceptance of placement.pdf


Hi Mark, Theresa

Today there was a contentious meeting in Riyadh with the ANB as they initially rejected to proceed to issue the policy
wordings citing non-submission of regulatory documents. After a lengthy meeting , the following points agreed based on
which ANB will issue the policy :

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31952, Saudi Arabia
(t):+966 13 8969655 (m):+973 3991 5541 ; +966 53 946 0654 ; (e) : vivek.parkash@marsh.com
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Marsh Saudi Arabia Insurance and Reinsurance Brokers LLC

Regulated and supervised by The Saudi Arabian Monetary Authority(SAMA)
SAMA License No. 18/20085 / ‫ ش‬/ ‫و س ط‬

Head Office: Riyadh, Commercial registration number (CR) : 1010247579
                                                             1

                                                                                                     Exhibit No. A-8
                                                                                                            Page 1
7th Floor Morouj Tower, Olaya Street (North), P.O.Box 53303 Riyadh 11583, KSA


From: Bonin, Theresa <Theresa.Bonin@marsh.com>
Sent: Monday, November 04, 2019 4:34 PM
To: Parkash, Vivek <Vivek.Parkash@marsh.com>
Cc: Mark Mahfouz <MMahfouz@dynamicind.com>; Laborde, James F <James.F.Laborde@marsh.com>; Wulff, Angela B
<Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark <Mark.Sneesby@marsh.com>;
Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: Re: Dynamic Industries - Berri Oil field Incident

Thanks you for the update. We look forward to receiving the policy.


Theresa K. Bonin, CPCU, Managing Director
Marsh USA Inc.| 701 Poydras Street, Suite 4125, New Orleans, LA 70139
Phone: 504-571-2211 | Cell: 504-616-8248| Fax: 504-571-2219
theresa.bonin@marsh.com<mailto:theresa.bonin@marsh.com>
Sent from my iPhone


       On Nov 4, 2019, at 4:51 AM, Parkash, Vivek <Vivek.Parkash@marsh.com> wrote:


       Hi Theresa and Mark,

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       then we will provide the documents to the underwriter same day or next day to get the policy wordings
       issued

       Best Regards,
       Vivek

       Mobile : +973 3991 5541 ; +966 53 946 0654 ;
       vivek.parkash@marsh.com


       From: Bonin, Theresa <Theresa.Bonin@marsh.com>
       Sent: Monday, November 04, 2019 1:40 PM
       To: Mark Mahfouz <MMahfouz@dynamicind.com>
                                                           2

                                                                                                 Exhibit No. A-8
                                                                                                        Page 2
Cc: Parkash, Vivek <Vivek.Parkash@marsh.com>; Laborde, James F <James.F.Laborde@marsh.com>;
Wulff, Angela B <Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark
<Mark.Sneesby@marsh.com>; Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: Re: Dynamic Industries - Berri Oil field Incident

Vivek

Can you please provide an update on the status of this repeated request?

Thank you.
Theresa


Theresa K. Bonin, CPCU, Managing Director
Marsh USA Inc.| 701 Poydras Street, Suite 4125, New Orleans, LA 70139
Phone: 504-571-2211 | Cell: 504-616-8248| Fax: 504-571-2219
theresa.bonin@marsh.com<mailto:theresa.bonin@marsh.com>
Sent from my iPhone



        On Oct 30, 2019, at 10:42 AM, Mark Mahfouz <MMahfouz@dynamicind.com>
        wrote:




                                                3

                                                                             Exhibit No. A-8
                                                                                    Page 3
                                                                                          “CGL”
            PROPOSAL FORM – COMPREHENSIVE GENERAL LIABILITY
                                        (For Construction/Erection/Builders Risks)


    MetLife – AIG – ANB Cooperative Insurance Company
    Al-Ebdaa Tower - King Fahed Road - Olaya District
    Riyadh 11554
    Kingdom of Saudi Arabia
    Tel.: +966 (11) 5109300 Fax: +966 (11) 5109396
    Website: www.metlifeaiganb.com
    For more information, please contact us at: info@metlifeaiganb.com



Insured Name
Commercial Registration ( CR ) #
Full Address with P.O. Box and Pin Code
Main Contractor / Sub-contractor
Principal
Status of the Contract                               In Tender Stage / Already Awarded
Contract Title
DETAILED SCOPE OF THE CONTRACT (Attach
Contract copy if required)
Details of Tie-in-Works
Year Established
Location(s) of the Site
Details of Principal’s Existing Properties           East:
                                                     West:
                                                     North:
                                                     South:
Details and Proximity to Surrounding                 East:
Properties                                           West:
                                                     North:
                                                     South:
Risk Details (Provide information on whichever Total Area of Construction
is applicable)
                                               No. of Storey/Floors
                                                     Height of the Building
                                                     Depth of Excavation
                                                     No. of Plants and Equipment
                                                     Geo-seismic Survey Report      To be attached
                                                     Risk Survey Report             To be attached
                                                     Details of Underground           To be provided
                                                     Facilities / Usage of Explosives
                                                     Detailed Bar Chart             To be provided
                                                     Offshore works if any          To be provided

                                                                                                       Exhibit No. A-8
                                                                                                              Page 4
Testing & Commissioning details (period &
supervision, method: Hot or Cold)
Estimated Contract Value
Contract Period                                 From:                            To:
Cover                                           Public Liability.
Wording / Form                                  Occurrence Form
Trigger                                         Occurrence
Territory
Jurisdiction
Limit of Liability
Excess / Deductible
Claims Experience                               Since Established:
                                                Since Last 5 years:
Current/Previous Insurance Details Including
whether the insured has been declined for
insurance in the past
Attachments , Please attach copy of:
     Contractors’ All Risks (CAR) and/or
       Erections All Risks (EAR) Application
       Form & Section I coverage details
     Contractual requirements
Other Information, Comments



  DECLARATION (In respect of all above sections)

             I/ We declare that to the best of my knowledge and belief, the above statements are true and complete and will form
             part of the contract between me/ us and the Insurance Company.


  Signature: _________________        Position in your company: ______________


  Date: _____________________

  Section to be filled by Broker/Agent/BDM:


Broker/Agent/BDM
Conditions/Extensions                       To be specified.
Exclusions                                  To be specified.
Suggested Premium
Commission




                                                                                                          Exhibit No. A-8
                                                                                                                 Page 5
              To whom it may concern                                      ‫إﻟﻰ ﻣن ﯾﮭﻣﮫ اﻷﻣـر‬

Subject: Broker’s Letter Authorization                     ‫ ﺧطﺎب ﺑﺗﻔوﯾض وﺳﺎطﺔ ﺗﺄﻣﯾن و إﻋﺎدة ﺗﺄﻣﯾن‬:‫اﻟﻣوﺿوع‬

This is to confirm that, as of 01-01-2017, Dynamic       ‫ أن‬،_________ ‫ﺑﮭذا ﻧؤﻛد أﻧﮫ اﻋﺗﺑﺎرا ﻣن ﺗﺎرﯾﺦ‬
Industries Saudi Arabia Ltd has exclusively              ‫___________ ﻗد اﻋﺗﻣدت ﺷرﻛﺔ ﻣﺎرش اﻟﺳﻌودﯾﺔ‬
nominated, MARSH Saudi Arabia Insurance &
                                                         ‫ﻟﻠوﺳﺎطﺔ ﻓﻲ اﻟﺗﺄﻣﯾن وإﻋﺎدة اﻟﺗﺄﻣﯾن اﻟﻣﺣدودة اﻟﺗﻲ ﯾﻘﻊ‬
Reinsurance Brokers Saudi Arabia Riyadh, CR.
No. 1010247579 as our Insurance Broker, to               ‫ﻣﻘرھﺎ ﻓﻲ ﻣدﯾﻧﺔ اﻟرﯾﺎض واﻟﻣﺳﺟﻠﺔ ﺑﺎﻟﺳﺟل اﻟﺗﺟﺎري رﻗم‬
negotiate on our behalf with any Insurance               ‫ ﻹﺟراءات‬،‫ ﻟﺗﻛون وﺳﯾط اﻟﺗﺄﻣﯾن ﻟﻧﺎ‬1010247579
Company, Reinsurance Company and/or their                ‫اﻟﻣﻔﺎوﺿﺎت ﺑﺎﺳﻣﻧﺎ وﻧﯾﺎﺑﺔ ﻋﻧﺎ ﻣﻊ أي ﺷرﻛﺔ ﺗﺄﻣﯾن أو‬
Agent concerning our insurance policy for the            ‫ﺷرﻛﺔ إﻋﺎدة ﺗﺄﻣﯾن أو وﻛﯾﻠﮭم ﺑﺧﺻوص ﺑرﻧﺎﻣﺞ إدارة‬
Aramco/Dynamic Industries Project – Pipeline                                      .‫اﻟﺗﺄﻣﯾن واﻟﻣﺧﺎطر اﻟﺧﺎص ﺑﻧﺎ‬
crossing in the BRRI field

This letter authorized you to furnish MARSH with         ‫ﺑﻣوﺟب ھذا اﻟﺧطﺎب ﻧﻔوﺿﻛم ﺑﺗزوﯾد "ﻣﺎرش " ﺑﻛﺎﻓﺔ ﻣﺎ‬
all information they may request at it pertains to       ‫ﯾطﻠﺑوﻧﮫ ﻣن ﻣﻌﻠوﻣﺎت ﺗﺗﻌﻠﻖ ﺑﻌﻘودﻧﺎ ﻟﻠﺗﺄﻣﯾن واﻷﺳﻌﺎر‬
our Insurance contracts, rates, rating schedules,
                                                         ‫وﺟدول اﻟﺗﺳﻌﯾر واﻟﻣﻌﺎﯾﻧﺎت وﻛل اﻟﻣﺗطﻠﺑﺎت اﻟﺗﻲ ﺗﺗﻌﻠﻖ‬
surveys, and all requirements in connection with
Insurance and Risk Management Programs to                ‫ﺑﺑراﻣﺞ إدارة اﻟﺗﺄﻣﯾن واﻟﻣﺧﺎطر اﻟﺗﻲ ﯾﺳري ﻋﻠﯾﮭﺎ ھذا‬
which the letter applies.                                                                           .‫اﻟﺧطﺎب‬

This appointment of MARSH rescinds all previous          ‫ وﺗﺳري‬،‫ﯾﻠﻐﻲ ھذا اﻟﺗﻔوﯾض ﻛﺎﻓﺔ اﻟﺗﻔﺎوﯾض اﻟﺳﺎﺑﻘﺔ‬
appointments and the authority contained herein             .‫اﻟﺻﻼﺣﯾﺎت اﻟﻣﻣﻧوﺣﺔ ﺑﻣوﺟﺑﮫ إﻟﻰ أن ﯾﺗم إﻟﻐﺎﺋﮫ ﻛﺗﺎﺑﺔ‬
shall remain in full force until cancelled in writing.


Date           : 01-01-2017                                                              :            ‫اﻟﺗﺎرﯾﺦ‬


Name           :                                                                         :             ‫اﻻﺳـم‬
Position       :                                                                         :            ‫اﻟوظﯾﻔﺔ‬

Signature      :                                                                         :             ‫اﻟﺗوﻗﯾﻊ‬




                                                                                              Exhibit No. A-8
                                                                                                     Page 6
Exhibit No. A-8
       Page 7
Saudi Aramco 2616-ENG (03/99)

                                                                            SAUDI ARABIAN OIL COMPANY

                                           9.5          Pipeline Crossings and Unsupported Span Correction

                                                        9.5.1           Pipeline crossing clearances shall be as defined in the Contract
                                                                        Drawings. In the event of unanticipated settlement of pipeline crossing
                                                                        supports, a minimum clearance of 6 inches shall be achieved. The
                                                                        bridging of existing pipelines or cables shall be accomplished as per the
                                                                        Scope of Work and Contract Drawings. The bridging will normally be
                                                                        accomplished using precast reinforced concrete blocks or grout bags, or
                                                                        a combination of both as approved by SAUDI ARAMCO.

                                (*)                     9.5.2           Use of temporary sleepers by CONTRACTOR to support the new
                                                                        pipeline during lay over an existing pipeline or cable is generally
                                                                        acceptable to SAUDI ARAMCO.             CONTRACTOR shall supply
                                                                        procedures and calculations detailing the following to SAUDI ARAMCO
                                                                        for review and approval:

                                                                        ·      Height, length, width, and cross-sectional shape of proposed
                                                                               sleepers.

                                                                        ·      Quantity and locations (with respect to the new pipeline) of sleepers
                                                                               proposed for each crossing.

                                                                        ·      Sleeper removal procedures including any required pipe lifting.

                                                                        ·      Pipe stress calculations (for any required pipe lifting).
     DISCIPLINE
     ENGINEER                                                           Upon installation of permanent pipeline crossing supports and prior to
                                                                        flooding for tie-in and hydrotesting, temporary sleepers shall be
DATE:
    PROJECT
                                                                        removed by CONTRACTOR.
    ENGINEER

                                                        9.5.3           The installation of both pipeline crossing supports and the pipeline itself
DATE:                                                                   shall be monitored by divers. The divers shall take comprehensive
    CERTIFIED
                                                                        video of the overall operation.
DATE:
  CONSTRUCTION
                                                        9.5.4           Any height discrepancy between the pipeline and the crossing supports
    AGENCY                                                              shall be rectified by inserting grout bags. Permanent pipeline crossing
                                                                        supports shall be installed at all locations along the pipeline (except for
DATE:
                                                                        spool pieces) prior to pipeline flooding for tie-in purposes. All permanent
  OPERATIONS
                                                                        pipeline crossing supports shall be installed (including spool pieces)
                                                                        prior to hydrotesting.
DATE:




                     PROCEDURE FOR                                                                DWG.TYPE   PLANT NO.   INDEX    DRAWING NO.       SHT.NO.   REV.NO.

                     FABRICATION AND INSTALLATION OF                                               DOC
                     SUBMARINE PIPELINES                                                                         *        A      DE-119954
                                                                                                                                                      26        13
                      ARABIAN GULF                                                         SAUDI ARABIA       JOB #: *

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                                                                                                                                         Exhibit No. A-8
                                                                                                                                                Page 8
Saudi Aramco 2616-ENG (03/99)

                                                                           SAUDI ARABIAN OIL COMPANY

                                                        9.5.5           Maximum allowable spans for the pipeline shall be as defined in the
                                                                        Contract Drawings. Pipeline supports to correct unsupported span
                                                                        lengths to within allowable dimensions shall be installed by
                                                                        CONTRACTOR at SAUDI ARAMCO's direction based on the results of
                                                                        CONTRACTOR's post pipelay survey. Span correction support bridging
                                                                        will normally be accomplished using precast reinforced concrete blocks
                                                                        or grout bags, or a combination of both as approved by SAUDI
                                                                        ARAMCO for use as pipeline crossing supports.

                                                        9.5.6           Grout shall consist of Type V sulfate-resistant portland cement in
                                                                        accordance with the Contract Drawings and SAES-Q-001. Neat or neat
                                                                        dry cement may be used at CONTRACTOR's discretion.

                                                        9.5.7           Grout bags shall be ULO pillow bags with a double flap inlet, or
                                                                        equivalent. A sample of CONTRACTOR's proposed bags shall be
                                                                        submitted to SAUDI ARAMCO for review and approval.

                                           9.6          Abandonment and Recovery

                                                        9.6.1           When, in the opinion of SAUDI ARAMCO, the sea state is such that
                                                                        there is a risk of damage to the pipeline being laid, then pipelay
                                                                        operations shall be suspended and the pipeline placed on the seabed
                                                                        until conditions improve.

                                                        9.6.2           When it becomes necessary to place the pipeline on the seabed, an
                                                                        abandonment head shall be welded to the open end of the pipeline and
     DISCIPLINE
     ENGINEER                                                           a holdback cable attached to the head in order to maintain tension
                                                                        during the abandonment operation. The end of the buckle detector
DATE:                                                                   cable shall be secured to the inside of the head. A spar buoy or three
    PROJECT
    ENGINEER                                                            marker buoys of a different color than that used for pipelines in that
                                                                        particular vicinity shall be attached by a suitable line to the head so that
DATE:                                                                   its location can be easily identified during recovery. The maximum
    CERTIFIED                                                           stress in the pipeline shall not exceed 80 percent of SMYS during the
                                                                        abandonment and subsequent recovery operation.
DATE:
  CONSTRUCTION
    AGENCY                                 9.7          Anchor Patterns

DATE:                                                   9.7.1           CONTRACTOR shall provide precise anchor patterns when the pipelay
  OPERATIONS
                                                                        barge is within 1,200 meters of an existing structure, and for any anchor
                                                                        position falling within 150 meters of an existing cable or pipeline.
DATE:




                     PROCEDURE FOR                                                             DWG.TYPE   PLANT NO.   INDEX    DRAWING NO.       SHT.NO.   REV.NO.

                     FABRICATION AND INSTALLATION OF                                            DOC
                     SUBMARINE PIPELINES                                                                      *        A      DE-119954
                                                                                                                                                   27        13
                      ARABIAN GULF                                                      SAUDI ARABIA       JOB #: *

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Brickman, Jennifer

From:                          Laborde, James F
Sent:                          Thursday, December 22, 2016 11:23 PM
To:                            Beach, William; Parkash, Vivek; Bonin, Theresa; Bhatnagar, Gaurav; Wakeley, Adam
Subject:                       Fwd: Aramco / Dynamic Industries Project - Pipeline Crossing
Attachments:                   DE-119954_Rev 13 - Section 9.5 Pipeline Crossings and Unsupported Span
                               Correction.pdf; ATT00001.htm; R150229002V0F1 - BRRI 95_100 to BRRI TP3.pdf;
                               ATT00002.htm; R114516001V0F2 - Crossing BRRI 52_57 to BRRI TP-3.pdf;
                               ATT00003.htm; R114517001V0F1 - BRRI 52_57 to BRRI TP-3.pdf; ATT00004.htm;
                               R161420001V0F2 - BRRI TP2 to BRRI TP1.pdf; ATT00005.htm; R167065001V1AF1 - BRRI
                               TP-1 to BRRI GOSP-5.pdf; ATT00006.htm; R123269001V0F2 - BRRI 58_63 to BRRI
                               TP-1.pdf; ATT00007.htm; R150229001V0F2 - BRRI 95_100 to BRRITP3.pdf;
                               ATT00008.htm



Team, see below. Thanks

Bo


James F. Laborde
Managing Director & Head of Office
Marsh USA Inc.
701 Poydras Street, Suite 4125
(504) 571-2221 (o); (504) 813-7651 (c)
James.F.Laborde@marsh.com

Begin forwarded message:

       From: "Roberto Rodriguez" <RRodriguez@dynesi.com>
       To: "Laborde, James F" <James.F.Laborde@marsh.com>
       Cc: "Mark Mahfouz" <MMahfouz@dynesi.com>, "Vince Rapp" <vrapp@dynamicind.com>,
       "Donnie Sinitiere" <dsinitiere@dynamicind.com>
       Subject: Fwd: Aramco / Dynamic Industries Project - Pipeline Crossing

       Bo
       Here are the responses to the technical questions asked. Please forward to Vivek.
       Thanks Roberto.


       Begin forwarded message:

               From: "Donnie Sinitiere" <dsinitiere@dynamicind.com>
               To: "Roberto Rodriguez" <RRodriguez@dynesi.com>
               Cc: "Mark Mahfouz" <MMahfouz@dynesi.com>, "Vince Rapp"
               <vrapp@dynamicind.com>
               Subject: FW: Aramco / Dynamic Industries Project - Pipeline Crossing

               Roberto,

                                                       1

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Please find the attached installation drawings and the Aramco procedure we will be
following for this work. Please note prior to beginning the work Aramco must approve
the installation work plan and all final installation routes and methodology for
installation. Job Safety Analysis (JSA) for each step of the installation is developed
reviewed and approved by all parties involved in the work including Saudi Aramco and
their proponents.

I can confirm no physical work has occurred.
I can confirm NKORL

Should you require additional information please let us know.

Thanks

From: Ben Walcher
Sent: Thursday, December 22, 2016 2:27 PM
To: Donnie Sinitiere <dsinitiere@dynamicind.com>
Subject: RE: Aramco / Dynamic Industries Project

Donnie,

Please see attached and below regards to the pipeline crossing. The crossings will be
reviewed and finalized based on the pre-lay survey.

Aramco Documentation:

Reference Section 9.5 of DE-119954_Rev 13 Procedure for Fabrication and
Installation of Submarine Pipelines Attached.

7.4.2.3 Mark the location of existing pipelines and other structures
in critical areas and identify any pipeline crossings with double marker buoys.
CONTRACTOR shall ensure that pipeline crossing supports, subsea headers, and
the like are installed within the tolerance stated in the Scope of Work and/or
Contract Drawings – From DE-119954_Rev 13 Procedure for Fabrication and
Installation of Submarine Pipelines

From Dynamics Detailed work plan :

8.16. Subsea Crossing Supports / Sleeper Installation
The crossing supports will be pre-installed by the pipelay vessel before commencing
pipelay activities.
The pipelines will be laid later on over the pre-installed crossing supports respectively
during pipelaying
operation.
Existing pipelines will be crossed by constructing a ramp over the existing Facilities such
as existing
pipelines and cables. The crossing can be constructed by either grout bags or concrete
mattresses or a
combination of both. The crossings will be constructed as per the CRPO and Project
specifications and
requirements. Pipeline sleepers at subsea pipeline crossings will be identified during the
Detail Design
                                             2

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and reflect in the IFC drawings. Where the Pipelines cross the existing cables, the cables
will be
physically identified before the cables are crossed and the crossings are constructed.
Before installing the supports, CONTRACTOR will execute a Pre-Installation survey to
identify the
expected as-laid position of the crossed pipeline. The relevant supports location need to
be revised
accordingly if observation is different from the Design.


Benjamin Walcher
Subsea Engineer
Dynamic Industries, Inc.
Houston Office: 281-779-8066

    The link ed image cannot be display ed. The file may have been mov ed, renamed, or deleted. Verify that the link points to the correct file
    and location.




From: Donnie Sinitiere
Sent: Thursday, December 22, 2016 9:37 AM
To: Ben Walcher <BWalcher@dynamicind.com>
Subject: FW: Aramco / Dynamic Industries Project

Ben,
This is what Albert sent me. The question is - Details of all crossings – this is
particularly relevant for the 36inch pipe which will be trenched subsea

Is there only one crossing? Please add any text that would support the drawings for an
underwriter to understand. And also any verbiage and/or reference to Aramco
procedures or our own procedures or COOEC procedures.
Thanks



From: Alberto Micaller
Sent: Thursday, December 22, 2016 6:47 AM
To: Donnie Sinitiere <dsinitiere@dynamicind.com>
Cc: Ben Walcher <BWalcher@dynamicind.com>; Ian Jack <IJack@dynamicind.com>
Subject: RE: Aramco / Dynamic Industries Project

Donnie,

Attached is the relevant drawing showing the details of the crossing associated with the
36-inch pipe to be trenched subsea.

I hope this satisfies the requirement.

Regards,

Albert


                                                                                                                                                  3

                                                                                                                                                      Exhibit No. A-8
                                                                                                                                                           Page 12
From: Donnie Sinitiere
Sent: Thursday, December 22, 2016 2:35 PM
To: Ben Walcher <BWalcher@dynamicind.com>; Alberto Micaller
<AMicaller@dynamicind.com>; Ian Jack <IJack@dynamicind.com>
Subject: FW: Aramco / Dynamic Industries Project

Gents,
I need to answer the below questions for our insurance underwriters. I would like you to
provide the details for bullets #1 and #2. I can handle the other two.
Thanks

From: Roberto Rodriguez
Sent: Thursday, December 22, 2016 3:28 AM
To: Donnie Sinitiere <dsinitiere@dynamicind.com>
Cc: Vince Rapp <vrapp@dynamicind.com>; Mark Mahfouz <MMahfouz@dynesi.com>
Subject: Re: Aramco / Dynamic Industries Project

Donnie
I need answers to the following questions:

On the liabilities side, the underwriters raised the following queries:
      -        Details of all crossings – this is particularly relevant for the
      36inch pipe which will be trenched subsea
      -        Details of safety measures and precautions which will be taken
      by the Insured to prevent loss or damage
      -        Confirmation no physical work has started
      -        Confirmation of NKORL. (No Known or Reported Losses)

I'm reading this on my iPad so the thread was not clear if you included a
response.
Thanks. Roberto.

Sent from my iPad

On Dec 22, 2016, at 12:49 AM, Donnie Sinitiere <dsinitiere@dynamicind.com>
wrote:

        On the liabilities side, the underwriters raised the following queries:

    -    Details of all crossings – this is particularly relevant for the 36inch
        pipe which will be trenched subsea

    -    Details of safety measures and precautions which will be taken by the
        Insured to prevent loss or damage

    -   Confirmation no physical work has started

    -   Confirmation of NKORL. (No Known or Reported Losses)



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                                                                            SAUDI ARABIAN OIL COMPANY

                                           9.5          Pipeline Crossings and Unsupported Span Correction

                                                        9.5.1           Pipeline crossing clearances shall be as defined in the Contract
                                                                        Drawings. In the event of unanticipated settlement of pipeline crossing
                                                                        supports, a minimum clearance of 6 inches shall be achieved. The
                                                                        bridging of existing pipelines or cables shall be accomplished as per the
                                                                        Scope of Work and Contract Drawings. The bridging will normally be
                                                                        accomplished using precast reinforced concrete blocks or grout bags, or
                                                                        a combination of both as approved by SAUDI ARAMCO.

                                (*)                     9.5.2           Use of temporary sleepers by CONTRACTOR to support the new
                                                                        pipeline during lay over an existing pipeline or cable is generally
                                                                        acceptable to SAUDI ARAMCO.             CONTRACTOR shall supply
                                                                        procedures and calculations detailing the following to SAUDI ARAMCO
                                                                        for review and approval:

                                                                        ·      Height, length, width, and cross-sectional shape of proposed
                                                                               sleepers.

                                                                        ·      Quantity and locations (with respect to the new pipeline) of sleepers
                                                                               proposed for each crossing.

                                                                        ·      Sleeper removal procedures including any required pipe lifting.

                                                                        ·      Pipe stress calculations (for any required pipe lifting).
     DISCIPLINE
     ENGINEER                                                           Upon installation of permanent pipeline crossing supports and prior to
                                                                        flooding for tie-in and hydrotesting, temporary sleepers shall be
DATE:
    PROJECT
                                                                        removed by CONTRACTOR.
    ENGINEER

                                                        9.5.3           The installation of both pipeline crossing supports and the pipeline itself
DATE:                                                                   shall be monitored by divers. The divers shall take comprehensive
    CERTIFIED
                                                                        video of the overall operation.
DATE:
  CONSTRUCTION
                                                        9.5.4           Any height discrepancy between the pipeline and the crossing supports
    AGENCY                                                              shall be rectified by inserting grout bags. Permanent pipeline crossing
                                                                        supports shall be installed at all locations along the pipeline (except for
DATE:
                                                                        spool pieces) prior to pipeline flooding for tie-in purposes. All permanent
  OPERATIONS
                                                                        pipeline crossing supports shall be installed (including spool pieces)
                                                                        prior to hydrotesting.
DATE:




                     PROCEDURE FOR                                                                DWG.TYPE   PLANT NO.   INDEX    DRAWING NO.       SHT.NO.   REV.NO.

                     FABRICATION AND INSTALLATION OF                                               DOC
                     SUBMARINE PIPELINES                                                                         *        A      DE-119954
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                      ARABIAN GULF                                                         SAUDI ARABIA       JOB #: *

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Saudi Aramco 2616-ENG (03/99)

                                                                           SAUDI ARABIAN OIL COMPANY

                                                        9.5.5           Maximum allowable spans for the pipeline shall be as defined in the
                                                                        Contract Drawings. Pipeline supports to correct unsupported span
                                                                        lengths to within allowable dimensions shall be installed by
                                                                        CONTRACTOR at SAUDI ARAMCO's direction based on the results of
                                                                        CONTRACTOR's post pipelay survey. Span correction support bridging
                                                                        will normally be accomplished using precast reinforced concrete blocks
                                                                        or grout bags, or a combination of both as approved by SAUDI
                                                                        ARAMCO for use as pipeline crossing supports.

                                                        9.5.6           Grout shall consist of Type V sulfate-resistant portland cement in
                                                                        accordance with the Contract Drawings and SAES-Q-001. Neat or neat
                                                                        dry cement may be used at CONTRACTOR's discretion.

                                                        9.5.7           Grout bags shall be ULO pillow bags with a double flap inlet, or
                                                                        equivalent. A sample of CONTRACTOR's proposed bags shall be
                                                                        submitted to SAUDI ARAMCO for review and approval.

                                           9.6          Abandonment and Recovery

                                                        9.6.1           When, in the opinion of SAUDI ARAMCO, the sea state is such that
                                                                        there is a risk of damage to the pipeline being laid, then pipelay
                                                                        operations shall be suspended and the pipeline placed on the seabed
                                                                        until conditions improve.

                                                        9.6.2           When it becomes necessary to place the pipeline on the seabed, an
                                                                        abandonment head shall be welded to the open end of the pipeline and
     DISCIPLINE
     ENGINEER                                                           a holdback cable attached to the head in order to maintain tension
                                                                        during the abandonment operation. The end of the buckle detector
DATE:                                                                   cable shall be secured to the inside of the head. A spar buoy or three
    PROJECT
    ENGINEER                                                            marker buoys of a different color than that used for pipelines in that
                                                                        particular vicinity shall be attached by a suitable line to the head so that
DATE:                                                                   its location can be easily identified during recovery. The maximum
    CERTIFIED                                                           stress in the pipeline shall not exceed 80 percent of SMYS during the
                                                                        abandonment and subsequent recovery operation.
DATE:
  CONSTRUCTION
    AGENCY                                 9.7          Anchor Patterns

DATE:                                                   9.7.1           CONTRACTOR shall provide precise anchor patterns when the pipelay
  OPERATIONS
                                                                        barge is within 1,200 meters of an existing structure, and for any anchor
                                                                        position falling within 150 meters of an existing cable or pipeline.
DATE:




                     PROCEDURE FOR                                                             DWG.TYPE   PLANT NO.   INDEX    DRAWING NO.       SHT.NO.   REV.NO.

                     FABRICATION AND INSTALLATION OF                                            DOC
                     SUBMARINE PIPELINES                                                                      *        A      DE-119954
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                      ARABIAN GULF                                                      SAUDI ARABIA       JOB #: *

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Exhibit No. A-8
     Page 29
Brickman, Jennifer

From:                              Roberto Rodriguez <RRodriguez@dynesi.com>
Sent:                              Wednesday, December 21, 2016 9:57 AM
To:                                Neely Saunier; Jeananne Frazier
Cc:                                Mark Mahfouz; Frankie Harris; Lynette Clement
Subject:                           RE: Saudi Aramco LTA (IK and OOK) - Insurance Requirements


Neely
The project for Aramco is called CRPO 3648. It’s for the replacement of 5 offshore pipelines in the BRRI field in Saudi.
The fabrication will occur in the UAE and will then be transported and installed in Saudi. Our PMT team will be a
combination of Expats and TCN’s. Some of these will be provided through employment contractors like we have used in
the past. We will need to cover workers comp on all direct hires. The class code for our PMT personnel should be listed
as onshore supervisory. Our payroll is estimated at $2.5 million spread over the 18 month project duration. We expect
the payroll to be evenly spread between In Kingdom and Out of Kingdom work. The allocation may change but the total
estimate of payroll should be appropriate. Please let me know if you need any additional information. Thanks Roberto



Roberto Rodriguez
EVP & Chief Financial Officer
Dynamic Energy Services International LLC
504.680.6734 office
504.231.6923 cell




From: Neely Saunier [mailto:neely.saunier@lh-co.com]
Sent: Monday, December 19, 2016 4:22 PM
To: Jeananne Frazier
Cc: Mark Mahfouz ; Roberto Rodriguez ; Frankie Harris
Subject: RE: Saudi Aramco LTA (IK and OOK) - Insurance Requirements
Importance: High

Your current Zurich foreign WC policy covers US Nationals & Third Country Nationals on a guaranteed cost basis in Saudi
& UAE. Please provide the estimated payrolls broken down by class code so we can adjust the policy accordingly.

This policy also provides Excess employer’s liability for local nationals, excess of $1M or as statutorily required whichever
is greater.

Zurich has advised that WC/EL is not compulsory in Saudi and UAE, but can provide the local admitted coverage if
desired. They are normally two separate policies. Zurich would require location national’s estimated payrolls split
between land admin., land labor and offshore. If you wish for us to obtain pricing on the local admitted policies, please
provide me this information.


                                                             1

                                                                                                     Exhibit No. A-8
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Best Regards,

Neely H. Saunier, CPIA, CISR
Senior Account Executive | Insurance & Risk Advisors
AssuredPartners
Landry Harris & Co.

Direct 337-266-2336 |Main 337-266-2150 | Fax 337-266-2151
neely.saunier@lh-co.com | http://www.landryharris.com/

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deleting this copy from your system. Thank you for your cooperation.

From: Jeananne Frazier [mailto:JFrazier@dynesi.com]
Sent: Friday, December 16, 2016 1:05 PM
To: Neely Saunier <neely.saunier@lh-co.com>
Cc: Mark Mahfouz <MMahfouz@dynesi.com>; Roberto Rodriguez <RRodriguez@dynesi.com>
Subject: RE: Saudi Aramco LTA (IK and OOK) - Insurance Requirements

Neely:

Per Mark and Roberto’s request, please see below responses in red and attached.

Thank you,

Jeananne Frazier

From: Neely Saunier [mailto:neely.saunier@lh-co.com]
Sent: Monday, December 12, 2016 8:33 AM
To: Jeananne Frazier <JFrazier@dynesi.com>
Cc: Mark Mahfouz <MMahfouz@dynesi.com>
Subject: RE: Saudi Aramco LTA (IK and OOK) - Insurance Requirements
Importance: High

Good morning,
I received the following email this morning from our underwriter. Can you provide the information below?

         We would require the following basic initial information:

             - Detailed Scope of work on the project: See attached
             - Contract Value and its breakdown: See attached
             - Details of third party surroundings: Please provide further clarification on what information you are looking
                 for here.
             - Project period including any maintenance period. Does the inured require an annual policy or a one shot
                 period? What do you advise? We anticipate procuring a project policy of a 20 month duration.
             - Will your work include offshore operations? Any use of vessels (non-owned or owned)? We need the
                 details regarding the offshore part: See attached. T&I contractor is COOEC. They will provide their own
                 vessels. DYN is responsible for hook-up under the project and will hire vessel companies directly. All
                 marine operators will be responsible for the marine coverage spelled out in the contract.

                                                             2

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             - Is Employer’s Liability required? If yes, we will need the estimated annual wages and breakdown of
                  employees by nationality and class code: Worker’s comp is required under the policy, so we want to
                  make sure our offshore coverage does cover our employees working in SA and the UAE. Will it be
                  honored in that county. The individuals working on the project will include a Project Management Team
                  of 34 ex-pats/third party nationals. We want to confirm those that are our employees will be covered by
                  our worker’s comp program.

         Awaiting your feedback to proceed immediately.


Best Regards,

Neely H. Saunier, CPIA, CISR
Senior Account Executive | Insurance & Risk Advisors
AssuredPartners
Landry Harris & Co.

Direct 337-266-2336 |Main 337-266-2150 | Fax 337-266-2151
neely.saunier@lh-co.com | http://www.landryharris.com/

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deleting this copy from your system. Thank you for your cooperation.

From: Jeananne Frazier [mailto:JFrazier@dynesi.com]
Sent: Thursday, December 08, 2016 12:14 PM
To: Neely Saunier <neely.saunier@lh-co.com>
Cc: Mark Mahfouz <MMahfouz@dynesi.com>
Subject: FW: Saudi Aramco LTA (IK and OOK) - Insurance Requirements

Neely:

Per Mark’s request below, please find both OOK and IK insurance sections attached. These are the executed versions
(but the initials got cut off).

Thank you,

Jeananne

From: Mark Mahfouz
Sent: Thursday, December 08, 2016 9:35 AM
To: Jeananne Frazier <JFrazier@dynesi.com>
Cc: Neely Saunier <neely.saunier@lh-co.com>
Subject: Saudi Aramco LTA (IK and OOK) - Insurance Requirements

Jeananne,

      Please send to Neely (copied on here) the entire insurance section from both Saudi Aramco LTAs (both the IK
and OOK) – executed versions – just the insurance sections.

Neely,
                                                            3

                                                                                                   Exhibit No. A-8
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           Will call you later today or tomorrow to discuss the need for purchasing the required insurances contained
therein.

Thanks,
Mark




                                                              4

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Exhibit No. A-8
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From:                             Mark Mahfouz <MMahfouz@dynamicind.com>
Sent:                             Wednesday, November 6, 2019 11:59 AM
To:                               Parkash, Vivek; Bonin, Theresa
Cc:                               Laborde, James F; Wulff, Angela B; Davies, Tim; Sneesby, Mark; Dutia, Harsh
Subject:                          RE: Dynamic Industries - Berri Oil field Incident
Attachments:                      MetLife-AIG.pdf


Vivek,

Attached is the signed broker letter of authorization you demanded (below).

Will you be providing a completed Proposal Form (as requested) with copies of all of the information and
documentation previously submitted by Dynamic to Marsh (in 2016 and January 2017) and submitted by you/Marsh to
ANB (pre January 2017)? In other words, not just the limited information entitled “new info zip” you attached to your
email to Theresa and I?

Please advise urgently.

Mark

From: Parkash, Vivek <Vivek.Parkash@marsh.com>
Sent: Wednesday, November 6, 2019 12:18 AM
To: Bonin, Theresa <Theresa.Bonin@marsh.com>
Cc: Laborde, James F <James.F.Laborde@marsh.com>; Wulff, Angela B <Angela.B.Wulff@marsh.com>; Davies, Tim
<Tim.Davies@marsh.com>; Sneesby, Mark <Mark.Sneesby@marsh.com>; Dutia, Harsh <Harsh.S.Dutia@marsh.com>;
Mark Mahfouz <MMahfouz@dynamicind.com>
Subject: RE: Dynamic Industries - Berri Oil field Incident

Hi Theresa,

The ANB-Metlife-AIG position on proposal form is inflexible though they did accept to be on cover In Jan 2017 when the
cover was bound and incepted. This, according to them, is the regulatory requirement to have on file to issue any policy
by their company. I can do as you suggested and let you know the response but it was already rejected once by them.

Best Regards,
Vivek

Vivek Parkash | ACII - Chartered Insurance Broker | Sr Client Manager – VP | RMP Practice |
Marsh KSA | Eastern Province | 3rd Floor, Tanami Tower | Prince Turki bin Abdulziz Rd. PO Box 30554, Al-Khobar
31952, Saudi Arabia
(t):+966 13 8969655 (m):+973 3991 5541 ; +966 53 946 0654 ; (e) : vivek.parkash@marsh.com
www.marsh.com | Follow Marsh on : Twitter | LinkedIn | Facebook | YouTube |




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                                                                                                   Exhibit No. A-9
                                                                                                          Page 1
Head Office: Riyadh, Commercial registration number (CR) : 1010247579
7th Floor Morouj Tower, Olaya Street (North), P.O.Box 53303 Riyadh 11583, KSA


From: Bonin, Theresa <Theresa.Bonin@marsh.com>
Sent: Wednesday, November 06, 2019 1:14 AM
To: Parkash, Vivek <Vivek.Parkash@marsh.com>
Cc: Laborde, James F <James.F.Laborde@marsh.com>; Wulff, Angela B <Angela.B.Wulff@marsh.com>; Davies, Tim
<Tim.Davies@marsh.com>; Sneesby, Mark <Mark.Sneesby@marsh.com>; Dutia, Harsh <Harsh.S.Dutia@marsh.com>;
Mark Mahfouz <MMahfouz@dynamicind.com>
Subject: RE: Dynamic Industries - Berri Oil field Incident

Vivek,

Mark is issuing the BOR and we will forward upon receipt.

With respect to the Proposal Form, ANB issued the attached COI confirming that they were on risk as of 12 January 2017
and your email of 26 January 2017, copy attached, also confirmed 100% cover placed. The client should not need to
submit any additional information at this time.

Alternatively, we request that ANB issue the policy upon submission of an unsigned application or one signed by you
instead of Dynamic. In that case, we would request that you complete the application and we note that the zip file is
incomplete as it does not include all information submitted including the contract. The placement was not handled by
Mark, but Roberto Rodriguez who is no longer with Dynamic so Mark is not able to attest to the Declaration required in
the Proposal Form.

We await your prompt response and the policy.

Best regards,
Theresa

Theresa K. Bonin, CPCU, Managing Director
Marsh| Wortham
701 Poydras Street, Suite 4125, New Orleans, LA 70139
Phone: 504-571-2211 | Cell: 504-616-8248 | Fax: 504-571-2219
theresa.bonin@marsh.com


From: Parkash, Vivek <Vivek.Parkash@marsh.com>
Sent: Tuesday, November 5, 2019 9:46 AM
To: Bonin, Theresa <Theresa.Bonin@marsh.com>; Mark Mahfouz <MMahfouz@dynamicind.com>
Cc: Laborde, James F <James.F.Laborde@marsh.com>; Wulff, Angela B <Angela.B.Wulff@marsh.com>; Davies, Tim
<Tim.Davies@marsh.com>; Sneesby, Mark <Mark.Sneesby@marsh.com>; Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: RE: Dynamic Industries - Berri Oil field Incident

Hi Mark, Theresa

Today there was a contentious meeting in Riyadh with the ANB as they initially rejected to proceed to issue the policy
wordings citing non-submission of regulatory documents. After a lengthy meeting , the following points agreed based on
which ANB will issue the policy :

    1. BOR to be provided on client’s (Dynamic Industries Saudi Arabia Ltd ) letterhead
    2. Filled in Proposal Form to be provided
    3. VAT of 5% will be payable on the premium
                                                               2

                                                                                               Exhibit No. A-9
                                                                                                      Page 2
While Marsh Saudi Arabia is taking care of the VAT point, we request your help on #1 and #2. My deep apologies to
request these two documents at this stage as this should have been obtained at the initial stage and irrespective of any
insurer is stringent about it or not.

The BOR format is attached and you may use the English version. It has to be dated prior to policy inception date. I have
suggested a date in the draft accordingly.

Proposal form is for basic information and you may mention = “detailed info attached”- it can be signed undated and we
have discussed it will be accepted. I have attached a zip folder which contains the underwriting information we had
received for this project.

It is not ideal situation but we are at final stage of resolution of this matter if the above two documents can be provided,
we can get the policy wordings from ANB in two or three days.


Best Regards,
Vivek

Vivek Parkash | ACII - Chartered Insurance Broker | Sr Client Manager – VP | RMP Practice |
Marsh KSA | Eastern Province | 3rd Floor, Tanami Tower | Prince Turki bin Abdulziz Rd. PO Box 30554, Al-Khobar
31952, Saudi Arabia
(t):+966 13 8969655 (m):+973 3991 5541 ; +966 53 946 0654 ; (e) : vivek.parkash@marsh.com
www.marsh.com | Follow Marsh on : Twitter | LinkedIn | Facebook | YouTube |




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Head Office: Riyadh, Commercial registration number (CR) : 1010247579
7th Floor Morouj Tower, Olaya Street (North), P.O.Box 53303 Riyadh 11583, KSA


From: Bonin, Theresa <Theresa.Bonin@marsh.com>
Sent: Monday, November 04, 2019 4:34 PM
To: Parkash, Vivek <Vivek.Parkash@marsh.com>
Cc: Mark Mahfouz <MMahfouz@dynamicind.com>; Laborde, James F <James.F.Laborde@marsh.com>; Wulff, Angela B
<Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark <Mark.Sneesby@marsh.com>;
Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: Re: Dynamic Industries - Berri Oil field Incident

Thanks you for the update. We look forward to receiving the policy.


Theresa K. Bonin, CPCU, Managing Director
Marsh USA Inc.| 701 Poydras Street, Suite 4125, New Orleans, LA 70139
Phone: 504-571-2211 | Cell: 504-616-8248| Fax: 504-571-2219
theresa.bonin@marsh.com<mailto:theresa.bonin@marsh.com>
Sent from my iPhone



                                                             3

                                                                                                    Exhibit No. A-9
                                                                                                           Page 3
On Nov 4, 2019, at 4:51 AM, Parkash, Vivek <Vivek.Parkash@marsh.com> wrote:


Hi Theresa and Mark,

The update is overdue from my side and apologies for that as I did not want to simply write that it is
under process.

Key executives involved :
Along with Mazahir , the matter has been shared with Talal, Chief Marketing Officer who manages
relation with the insurance companies.

Meeting/discussions :
There have been discussions with the ANB Metlife on the policy document issuance. The file has been
reviewed by their reinsurance manager and as of this week the main direct insurance underwriter has
been asked to list out his requirements that will enable him to issue the policy wordings.

Timeline:
Though it is not yet committed by the insurance company but based on the requirements ( to be listed if
any) , we are pushing it to be given to us this week and if the requirements are already available with us
then we will provide the documents to the underwriter same day or next day to get the policy wordings
issued

Best Regards,
Vivek

Mobile : +973 3991 5541 ; +966 53 946 0654 ;
vivek.parkash@marsh.com


From: Bonin, Theresa <Theresa.Bonin@marsh.com>
Sent: Monday, November 04, 2019 1:40 PM
To: Mark Mahfouz <MMahfouz@dynamicind.com>
Cc: Parkash, Vivek <Vivek.Parkash@marsh.com>; Laborde, James F <James.F.Laborde@marsh.com>;
Wulff, Angela B <Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark
<Mark.Sneesby@marsh.com>; Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: Re: Dynamic Industries - Berri Oil field Incident

Vivek

Can you please provide an update on the status of this repeated request?

Thank you.
Theresa


Theresa K. Bonin, CPCU, Managing Director
Marsh USA Inc.| 701 Poydras Street, Suite 4125, New Orleans, LA 70139
Phone: 504-571-2211 | Cell: 504-616-8248| Fax: 504-571-2219
theresa.bonin@marsh.com<mailto:theresa.bonin@marsh.com>
Sent from my iPhone


                                                    4

                                                                                        Exhibit No. A-9
                                                                                               Page 4
On Oct 30, 2019, at 10:42 AM, Mark Mahfouz <MMahfouz@dynamicind.com>
wrote:




                                  5

                                                          Exhibit No. A-9
                                                                 Page 5
Exhibit No. A-9
       Page 6
Exhibit No. A-9
       Page 7
From:                           Parkash, Vivek <Vivek.Parkash@marsh.com>
Sent:                           Friday, November 8, 2019 3:13 PM
To:                             Mark Mahfouz
Cc:                             Bonin, Theresa; Laborde, James F; Wulff, Angela B; Davies, Tim; Sneesby, Mark; Dutia,
                                Harsh
Subject:                        Re: Dynamic Industries - Berri Oil field Incident
Attachments:                    image001.png; image003.png



Hi Mark,

Marsh recommend that proposal form be signed back-dated with a date of December 2016 or a date in Jan 2017
but prior to 12 Jan 2017. This will factually align with the information submitted by Dynamic to Marsh and by
Marsh to the insurer at that time.

If due to unavoidable reasons , a date cannot be put on the proposal form then it can be signed undated. This is
an SOS option but not the preferred one.

Best Regards,
Vivek

m: +97339915541 ; +966539460654
email: vivek.parkash@marsh.com
Sent from my iPhone


        On Nov 8, 2019, at 5:19 PM, Mark Mahfouz <MMahfouz@dynamicind.com> wrote:


        Vivek,

        Should the signed form be “back-dated” to December 2016 (when the application was made by Dynamic
        and all of the attachments were provided to you or should the proposal form contain no date? Please
        provide explicit instructions on this point from Marsh.

        Mark



        From: Parkash, Vivek <Vivek.Parkash@marsh.com>
        Sent: Thursday, November 7, 2019 5:13 PM
        To: Mark Mahfouz <MMahfouz@dynamicind.com>
        Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Laborde, James F <James.F.Laborde@marsh.com>;
        Wulff, Angela B <Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark
        <Mark.Sneesby@marsh.com>; Dutia, Harsh <Harsh.S.Dutia@marsh.com>
        Subject: RE: Dynamic Industries - Berri Oil field Incident

        Hi Mark,


                                                          1

                                                                                                Exhibit No. A-10
                                                                                                        Page 1
The insurer can accept undated proposal form but it has to be signed by Dynamic.

Only assurance we can give you is it does not impact insurance coverage as terms and conditions have
already been agreed and the proposal form is mere statement of facts (names , address, dates…) with
most items stating ‘details as per attached files’.

Best Regards,
Vivek

Vivek Parkash | ACII - Chartered Insurance Broker | Sr Client Manager – VP | RMP Practice |
Marsh KSA | Eastern Province | 3rd Floor, Tanami Tower | Prince Turki bin Abdulziz Rd. PO Box 30554,
Al-Khobar 31952, Saudi Arabia
(t):+966 13 8969655 (m):+973 3991 5541 ; +966 53 946 0654 ; (e) : vivek.parkash@marsh.com
www.marsh.com | Follow Marsh on : Twitter | LinkedIn | Facebook | YouTube |




Marsh Saudi Arabia Insurance and Reinsurance Brokers LLC
<image001.png>
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Head Office: Riyadh, Commercial registration number (CR) : 1010247579
7th Floor Morouj Tower, Olaya Street (North), P.O.Box 53303 Riyadh 11583, KSA


From: Mark Mahfouz <MMahfouz@dynamicind.com>
Sent: Thursday, November 07, 2019 11:38 PM
To: Parkash, Vivek <Vivek.Parkash@marsh.com>
Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Laborde, James F <James.F.Laborde@marsh.com>;
Wulff, Angela B <Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark
<Mark.Sneesby@marsh.com>; Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: RE: Dynamic Industries - Berri Oil field Incident

Hi Vivek,

Please provide an update re: confirmation of approval for you to submit the Form filled out by you /
Marsh.

Mark

From: Parkash, Vivek <Vivek.Parkash@marsh.com>
Sent: Wednesday, November 6, 2019 3:20 PM
To: Mark Mahfouz <MMahfouz@dynamicind.com>
Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Laborde, James F <James.F.Laborde@marsh.com>;
Wulff, Angela B <Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark
<Mark.Sneesby@marsh.com>; Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: RE: Dynamic Industries - Berri Oil field Incident

Sure Mark, word file attached of the same which can be edited.

Best Regards,
Vivek
                                                   2

                                                                                   Exhibit No. A-10
                                                                                           Page 2
Vivek Parkash | ACII - Chartered Insurance Broker | Sr Client Manager – VP | RMP Practice |
Marsh KSA | Eastern Province | 3rd Floor, Tanami Tower | Prince Turki bin Abdulziz Rd. PO Box 30554,
Al-Khobar 31952, Saudi Arabia
(t):+966 13 8969655 (m):+973 3991 5541 ; +966 53 946 0654 ; (e) : vivek.parkash@marsh.com
www.marsh.com | Follow Marsh on : Twitter | LinkedIn | Facebook | YouTube |




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Head Office: Riyadh, Commercial registration number (CR) : 1010247579
7th Floor Morouj Tower, Olaya Street (North), P.O.Box 53303 Riyadh 11583, KSA


From: Mark Mahfouz <MMahfouz@dynamicind.com>
Sent: Thursday, November 07, 2019 12:14 AM
To: Parkash, Vivek <Vivek.Parkash@marsh.com>
Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Laborde, James F <James.F.Laborde@marsh.com>;
Wulff, Angela B <Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark
<Mark.Sneesby@marsh.com>; Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: Re: Dynamic Industries - Berri Oil field Incident

Vivek,

If you are not going to be the one executing the form you / Marsh KSA prepared (and given our
current predicament that we are almost 3 years passed when this coverage was placed), then
please kindly send me the form you prepared in a format that can be further modified by the
individual you believe should be signing it at this stage as I believe Theresa advised you that
individual is no longer employed w Dynamic.

Than you again.
Mark

Get Outlook for iOS

From: Parkash, Vivek <Vivek.Parkash@marsh.com>
Sent: Wednesday, November 6, 2019 3:03:18 PM
To: Mark Mahfouz <MMahfouz@dynamicind.com>
Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Laborde, James F <James.F.Laborde@marsh.com>;
Wulff, Angela B <Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark
<Mark.Sneesby@marsh.com>; Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: RE: Dynamic Industries - Berri Oil field Incident

Mark,

The proposal form specifically asks to be signed by the proposer/insured with name and designation in
the company. Though insurance company can accept the broker to assist the insured in filling in the
proposal form but they never accept it be signed by an insurance broker here. Will get this also
confirmed in the morning.
                                                   3

                                                                                  Exhibit No. A-10
                                                                                          Page 3
Best Regards,
Vivek

Vivek Parkash | ACII - Chartered Insurance Broker | Sr Client Manager – VP | RMP Practice |
Marsh KSA | Eastern Province | 3rd Floor, Tanami Tower | Prince Turki bin Abdulziz Rd. PO Box 30554,
Al-Khobar 31952, Saudi Arabia
(t):+966 13 8969655 (m):+973 3991 5541 ; +966 53 946 0654 ; (e) : vivek.parkash@marsh.com
www.marsh.com | Follow Marsh on : Twitter | LinkedIn | Facebook | YouTube |

Marsh Saudi Arabia Insurance and Reinsurance Brokers LLC
<image003.png>
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Head Office: Riyadh, Commercial registration number (CR) : 1010247579
7th Floor Morouj Tower, Olaya Street (North), P.O.Box 53303 Riyadh 11583, KSA


From: Mark Mahfouz <MMahfouz@dynamicind.com>
Sent: Wednesday, November 06, 2019 11:57 PM
To: Parkash, Vivek <Vivek.Parkash@marsh.com>
Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Laborde, James F <James.F.Laborde@marsh.com>;
Wulff, Angela B <Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark
<Mark.Sneesby@marsh.com>; Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: Re: Dynamic Industries - Berri Oil field Incident

Vivek,

I look forward to your response in the morning. Since you / Marsh Saudi prepared the proposal
form, can it be signed by you?

Get Outlook for iOS

From: Parkash, Vivek <Vivek.Parkash@marsh.com>
Sent: Wednesday, November 6, 2019 2:52:05 PM
To: Mark Mahfouz <MMahfouz@dynamicind.com>
Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Laborde, James F <James.F.Laborde@marsh.com>;
Wulff, Angela B <Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark
<Mark.Sneesby@marsh.com>; Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: RE: Dynamic Industries - Berri Oil field Incident

Mark,

As I mentioned yesterday that according to Mazahir who had the lengthy meeting with ANB-Metlife-AIG
, he needed to give a signed proposal form & the BOR. I will be able to give you final confirmation in the
morning ( KSA time) if unsigned form can be accepted or not.

Best Regards,
Vivek

Vivek Parkash | ACII - Chartered Insurance Broker | Sr Client Manager – VP | RMP Practice |
Marsh KSA | Eastern Province | 3rd Floor, Tanami Tower | Prince Turki bin Abdulziz Rd. PO Box 30554,
Al-Khobar 31952, Saudi Arabia
                                                    4

                                                                                     Exhibit No. A-10
                                                                                             Page 4
(t):+966 13 8969655 (m):+973 3991 5541 ; +966 53 946 0654 ; (e) : vivek.parkash@marsh.com
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Head Office: Riyadh, Commercial registration number (CR) : 1010247579
7th Floor Morouj Tower, Olaya Street (North), P.O.Box 53303 Riyadh 11583, KSA


From: Mark Mahfouz <MMahfouz@dynamicind.com>
Sent: Wednesday, November 06, 2019 11:43 PM
To: Parkash, Vivek <Vivek.Parkash@marsh.com>
Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Laborde, James F <James.F.Laborde@marsh.com>;
Wulff, Angela B <Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark
<Mark.Sneesby@marsh.com>; Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: Re: Dynamic Industries - Berri Oil field Incident

Vivek,

Thank you for providing the completed form so quickly. It is greatly appreciated on my end.
Have you already submitted it to ANB? If not, when do you intend to do so? And if you already
have, can we expect to receive the policy number and policy language in the next 2-3 days from
today’s date?
Please confirm. I am traveling but await your urgent response.

Thank you again —
Mark

Get Outlook for iOS

From: Parkash, Vivek <Vivek.Parkash@marsh.com>
Sent: Wednesday, November 6, 2019 2:37:55 PM
To: Mark Mahfouz <MMahfouz@dynamicind.com>
Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Laborde, James F <James.F.Laborde@marsh.com>;
Wulff, Angela B <Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark
<Mark.Sneesby@marsh.com>; Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: RE: Dynamic Industries - Berri Oil field Incident

Mark,

I think our emails crossed. Please check the 5 emails sent in last 10 minutes which
contain thecompleted Proposal Form with copies ofall of the information and
documentation previously submitted by Dynamic to Marsh (in 2016 and January 2017)
and submitted by Marsh to ANB & reinsurers (pre January 2017).


Best Regards,
Vivek

Vivek Parkash|ACII -Chartered Insurance Broker| Sr Client Manager – VP | RMP Practice |
                                                   5

                                                                                    Exhibit No. A-10
                                                                                            Page 5
Marsh KSA | Eastern Province | 3rd Floor, Tanami Tower | Prince Turki bin Abdulziz Rd. PO Box 30554,
Al-Khobar 31952, Saudi Arabia
(t):+966 13 8969655 (m):+973 3991 5541 ; +966 53 946 0654 ; (e) : vivek.parkash@marsh.com
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                                                                   hav e been
                                                                   mov ed,
                                                                   ren amed, or
                                                                   deleted.
                                                                   Verify that




Marsh Saudi Arabia Insurance and Reinsurance Brokers LLC           the link
                                                                   points to the
                                                                   correct file
                                                                   and location.




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Head Office: Riyadh, Commercial registration number (CR) :1010247579
7th Floor Morouj Tower, Olaya Street (North), P.O.Box 53303 Riyadh 11583, KSA


From: Mark Mahfouz <MMahfouz@dynamicind.com>
Sent: Wednesday, November 06, 2019 10:23 PM
To: Parkash, Vivek <Vivek.Parkash@marsh.com>
Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Laborde, James F <James.F.Laborde@marsh.com>;
Wulff, Angela B <Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark
<Mark.Sneesby@marsh.com>; Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: RE: Dynamic Industries - Berri Oil field Incident

Vivek,

To confirm, I have not received anything from you. More importantly:

         Will you / Marsh be providing a completed Proposal Form (as requested) with
         copies ofall of the information and documentation previously submitted by
         Dynamic to Marsh (in 2016 and January 2017) and submitted by you/Marsh to
         ANB (pre January 2017)?

Mark

From: Parkash, Vivek <Vivek.Parkash@marsh.com>
Sent: Wednesday, November 6, 2019 12:46 PM
To: Mark Mahfouz <MMahfouz@dynamicind.com>
Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Laborde, James F <James.F.Laborde@marsh.com>;
Wulff, Angela B <Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark
<Mark.Sneesby@marsh.com>; Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: Re: Dynamic Industries - Berri Oil field Incident

Thanks Mark,

Will send you the full information in multiple emails shortly. All files added were of the size of
10MB plus due to which I did not send all files yesterday.

Best Regards,
Vivek

m: +97339915541 ; +966539460654
email: vivek.parkash@marsh.com
Sent from my iPhone

                                                  6

                                                                                     Exhibit No. A-10
                                                                                             Page 6
On Nov 6, 2019, at 9:00 PM, Mark Mahfouz <MMahfouz@dynamicind.com>
wrote:


Vivek,

Attached is the signed broker letter of authorization you demanded (below).

Will you be providing a completed Proposal Form (as requested) with copies ofall of the
information and documentation previously submitted by Dynamic to Marsh (in 2016
and January 2017) and submitted by you/Marsh to ANB (pre January 2017)? In other
words, not just the limited information entitled “new info zip” you attached to your
email to Theresa and I?

Please advise urgently.

Mark

From: Parkash, Vivek <Vivek.Parkash@marsh.com>
Sent: Wednesday, November 6, 2019 12:18 AM
To: Bonin, Theresa <Theresa.Bonin@marsh.com>
Cc: Laborde, James F <James.F.Laborde@marsh.com>; Wulff, Angela B
<Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark
<Mark.Sneesby@marsh.com>; Dutia, Harsh <Harsh.S.Dutia@marsh.com>; Mark
Mahfouz <MMahfouz@dynamicind.com>
Subject: RE: Dynamic Industries - Berri Oil field Incident

Hi Theresa,

The ANB-Metlife-AIG position on proposal form is inflexible though they did accept to
be on cover In Jan 2017 when the cover was bound and incepted. This, according to
them, is the regulatory requirement to have on file to issue any policy by their company.
I can do as you suggested and let you know the response but it was already rejected
once by them.

Best Regards,
Vivek

Vivek Parkash|ACII -Chartered Insurance Broker| Sr Client Manager – VP | RMP Practice |
Marsh KSA | Eastern Province | 3rd Floor, Tanami Tower | Prince Turki bin Abdulziz Rd.
PO Box 30554, Al-Khobar 31952, Saudi Arabia
(t):+966 13 8969655 (m):+973 3991 5541 ; +966 53 946 0654 ; (e)
: vivek.parkash@marsh.com
www.marsh.com | Follow Marsh on : Twitter|LinkedIn|Facebook|YouTube|

Marsh Saudi Arabia Insurance and Reinsurance Brokers LLC
<image001.png>

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SAMA License No.18/20085 / ‫ ش‬/ ‫و س ط‬

Head Office: Riyadh, Commercial registration number (CR) :1010247579
7th Floor Morouj Tower, Olaya Street (North), P.O.Box 53303 Riyadh 11583, KSA

                                            7

                                                                         Exhibit No. A-10
                                                                                 Page 7
From: Bonin, Theresa <Theresa.Bonin@marsh.com>
Sent: Wednesday, November 06, 2019 1:14 AM
To: Parkash, Vivek <Vivek.Parkash@marsh.com>
Cc: Laborde, James F <James.F.Laborde@marsh.com>; Wulff, Angela B
<Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark
<Mark.Sneesby@marsh.com>; Dutia, Harsh <Harsh.S.Dutia@marsh.com>; Mark
Mahfouz <MMahfouz@dynamicind.com>
Subject: RE: Dynamic Industries - Berri Oil field Incident

Vivek,

Mark is issuing the BOR and we will forward upon receipt.

With respect to the Proposal Form, ANB issued the attached COI confirming that they
were on risk as of 12 January 2017 and your email of 26 January 2017, copy attached,
also confirmed 100% cover placed. The client should not need to submit any additional
information at this time.

Alternatively, we request that ANB issue the policy upon submission of an unsigned
application or one signed by you instead of Dynamic. In that case, we would request
that you complete the application and we note that the zip file is incomplete as it does
not include all information submitted including the contract. The placement was not
handled by Mark, but Roberto Rodriguez who is no longer with Dynamic so Mark is not
able to attest to the Declaration required in the Proposal Form.

We await your prompt response and the policy.

Best regards,
Theresa

Theresa K. Bonin, CPCU, Managing Director
Marsh| Wortham
701 Poydras Street, Suite 4125, New Orleans, LA 70139
Phone: 504-571-2211 | Cell: 504-616-8248 | Fax: 504-571-2219
theresa.bonin@marsh.com


From: Parkash, Vivek <Vivek.Parkash@marsh.com>
Sent: Tuesday, November 5, 2019 9:46 AM
To: Bonin, Theresa <Theresa.Bonin@marsh.com>; Mark Mahfouz
<MMahfouz@dynamicind.com>
Cc: Laborde, James F <James.F.Laborde@marsh.com>; Wulff, Angela B
<Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark
<Mark.Sneesby@marsh.com>; Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: RE: Dynamic Industries - Berri Oil field Incident

Hi Mark, Theresa

Today there was a contentious meeting in Riyadh with the ANB as they initially rejected
to proceed to issue the policy wordings citing non-submission of regulatory documents.
After a lengthy meeting , the following points agreed based on which ANB will issue the
policy :


                                            8

                                                                         Exhibit No. A-10
                                                                                 Page 8
    1. BOR to be provided on client’s (Dynamic Industries Saudi Arabia Ltd ) letterhead
    2. Filled in Proposal Form to be provided
    3. VAT of 5% will be payable on the premium

While Marsh Saudi Arabia is taking care of the VAT point, we request your help on #1
and #2. My deep apologies to request these two documents at this stage as this should
have been obtained at the initial stage and irrespective of any insurer is stringent about
it or not.

The BOR format is attached and you may use the English version. It has to be dated prior
to policy inception date. I have suggested a date in the draft accordingly.

Proposal form is for basic information and you may mention = “detailed info attached”-
it can be signed undated and we have discussed it will be accepted. I have attached a
zip folder which contains the underwriting information we had received for this project.

It is not ideal situation but we are at final stage of resolution of this matter if the above
two documents can be provided, we can get the policy wordings from ANB in two or
three days.


Best Regards,
Vivek

Vivek Parkash|ACII -Chartered Insurance Broker| Sr Client Manager – VP | RMP Practice |
Marsh KSA | Eastern Province | 3rd Floor, Tanami Tower | Prince Turki bin Abdulziz Rd.
PO Box 30554, Al-Khobar 31952, Saudi Arabia
(t):+966 13 8969655 (m):+973 3991 5541 ; +966 53 946 0654 ; (e)
: vivek.parkash@marsh.com
www.marsh.com | Follow Marsh on : Twitter|LinkedIn|Facebook|YouTube|

Marsh Saudi Arabia Insurance and Reinsurance Brokers LLC
<image001.png>

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Head Office: Riyadh, Commercial registration number (CR) :1010247579
7th Floor Morouj Tower, Olaya Street (North), P.O.Box 53303 Riyadh 11583, KSA


From: Bonin, Theresa <Theresa.Bonin@marsh.com>
Sent: Monday, November 04, 2019 4:34 PM
To: Parkash, Vivek <Vivek.Parkash@marsh.com>
Cc: Mark Mahfouz <MMahfouz@dynamicind.com>; Laborde, James F
<James.F.Laborde@marsh.com>; Wulff, Angela B <Angela.B.Wulff@marsh.com>;
Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark <Mark.Sneesby@marsh.com>;
Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: Re: Dynamic Industries - Berri Oil field Incident

Thanks you for the update. We look forward to receiving the policy.


Theresa K. Bonin, CPCU, Managing Director
Marsh USA Inc.| 701 Poydras Street, Suite 4125, New Orleans, LA 70139
                                              9

                                                                              Exhibit No. A-10
                                                                                      Page 9
Phone: 504-571-2211 | Cell: 504-616-8248| Fax: 504-571-2219
theresa.bonin@marsh.com<mailto:theresa.bonin@marsh.com>
Sent from my iPhone


      On Nov 4, 2019, at 4:51 AM, Parkash, Vivek
      <Vivek.Parkash@marsh.com> wrote:


      Hi Theresa and Mark,

      The update is overdue from my side and apologies for that as I did not
      want to simply write that it is under process.

      Key executives involved :
      Along with Mazahir , the matter has been shared with Talal, Chief
      Marketing Officer who manages relation with the insurance companies.

      Meeting/discussions :
      There have been discussions with the ANB Metlife on the policy
      document issuance. The file has been reviewed by their reinsurance
      manager and as of this week the main direct insurance underwriter has
      been asked to list out his requirements that will enable him to issue the
      policy wordings.

      Timeline:
      Though it is not yet committed by the insurance company but based on
      the requirements ( to be listed if any) , we are pushing it to be given to
      us this week and if the requirements are already available with us then
      we will provide the documents to the underwriter same day or next
      day to get the policy wordings issued

      Best Regards,
      Vivek

      Mobile : +973 3991 5541 ; +966 53 946 0654 ;
      vivek.parkash@marsh.com


      From: Bonin, Theresa <Theresa.Bonin@marsh.com>
      Sent: Monday, November 04, 2019 1:40 PM
      To: Mark Mahfouz <MMahfouz@dynamicind.com>
      Cc: Parkash, Vivek <Vivek.Parkash@marsh.com>; Laborde, James F
      <James.F.Laborde@marsh.com>; Wulff, Angela B
      <Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>;
      Sneesby, Mark <Mark.Sneesby@marsh.com>; Dutia, Harsh
      <Harsh.S.Dutia@marsh.com>
      Subject: Re: Dynamic Industries - Berri Oil field Incident

      Vivek

      Can you please provide an update on the status of this repeated
      request?
                                          10

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                                                                          Page 10
       Thank you.
       Theresa


       Theresa K. Bonin, CPCU, Managing Director
       Marsh USA Inc.| 701 Poydras Street, Suite 4125, New Orleans,
       LA 70139
       Phone: 504-571-2211 | Cell: 504-616-8248| Fax: 504-571-2219
       theresa.bonin@marsh.com<mailto:theresa.bonin@marsh.com>
       Sent from my iPhone


              On Oct 30, 2019, at 10:42 AM, Mark Mahfouz
              <MMahfouz@dynamicind.com> wrote:

<MetLife-AIG.pdf>




                                     11

                                                        Exhibit No. A-10
                                                               Page 11
From:                             Parkash, Vivek <Vivek.Parkash@marsh.com>
Sent:                             Monday, November 11, 2019 11:46 AM
To:                               Mark Mahfouz
Cc:                               Bonin, Theresa; Laborde, James F; Wulff, Angela B; Davies, Tim; Sneesby, Mark; Dutia,
                                  Harsh
Subject:                          Re: Dynamic Industries - Berri Oil field Incident



Hi Mark,

The email was well received with the attachments. The same submitted to the insurance company. I will inform
you on when the policy will be received.

Best Regards,
Vivek

m: +97339915541 ; +966539460654
email: vivek.parkash@marsh.com
Sent from my iPhone


        On Nov 11, 2019, at 8:43 PM, Mark Mahfouz <MMahfouz@dynamicind.com> wrote:


        Vivek,

        Please acknowledge receipt of my email (of Friday) and its attachments. Also, can you provide an
        update on when I will receive the insurance policy and policy wordings from ANB.

        Mark



        From: Mark Mahfouz <MMahfouz@dynamicind.com>
        Sent: Friday, November 8, 2019 3:27 PM
        To: Parkash, Vivek <Vivek.Parkash@marsh.com>
        Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Laborde, James F <James.F.Laborde@marsh.com>;
        Wulff, Angela B <Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark
        <Mark.Sneesby@marsh.com>; Dutia, Harsh <Harsh.S.Dutia@marsh.com>
        Subject: RE: Dynamic Industries - Berri Oil field Incident

        Vivek,

        Per your instructions I now attach a signed letter “back-dated with a date of December 2016”. Also
        attached is a .zip file with the documents provided to Marsh in December 2016.

        Please confirm your receipt of both the signed letter and /zip file. And please obtain the policy number
        and policy wording I have been requesting from you/Marsh for many weeks.


                                                            1

                                                                                                  Exhibit No. A-11
                                                                                                          Page 1
Mark

From: Parkash, Vivek <Vivek.Parkash@marsh.com>
Sent: Friday, November 8, 2019 3:13 PM
To: Mark Mahfouz <MMahfouz@dynamicind.com>
Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Laborde, James F <James.F.Laborde@marsh.com>;
Wulff, Angela B <Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark
<Mark.Sneesby@marsh.com>; Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: Re: Dynamic Industries - Berri Oil field Incident

Hi Mark,

Marsh recommend that proposal form be signed back-dated with a date of December 2016 or a
date in Jan 2017 but prior to 12 Jan 2017. This will factually align with the information
submitted by Dynamic to Marsh and by Marsh to the insurer at that time.

If due to unavoidable reasons , a date cannot be put on the proposal form then it can be signed
undated. This is an SOS option but not the preferred one.

Best Regards,
Vivek

m: +97339915541 ; +966539460654
email: vivek.parkash@marsh.com
Sent from my iPhone


       On Nov 8, 2019, at 5:19 PM, Mark Mahfouz <MMahfouz@dynamicind.com>
       wrote:


       Vivek,

       Should the signed form be “back-dated” to December 2016 (when the application was
       made by Dynamic and all of the attachments were provided to you or should the
       proposal form contain no date? Please provide explicit instructions on this point from
       Marsh.

       Mark



       From: Parkash, Vivek <Vivek.Parkash@marsh.com>
       Sent: Thursday, November 7, 2019 5:13 PM
       To: Mark Mahfouz <MMahfouz@dynamicind.com>
       Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Laborde, James F
       <James.F.Laborde@marsh.com>; Wulff, Angela B <Angela.B.Wulff@marsh.com>;
       Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark <Mark.Sneesby@marsh.com>;
       Dutia, Harsh <Harsh.S.Dutia@marsh.com>
       Subject: RE: Dynamic Industries - Berri Oil field Incident

       Hi Mark,

                                                  2

                                                                                  Exhibit No. A-11
                                                                                          Page 2
The insurer can accept undated proposal form but it has to be signed by Dynamic.

Only assurance we can give you is it does not impact insurance coverage as terms and
conditions have already been agreed and the proposal form is mere statement of facts
(names , address, dates…) with most items stating ‘details as per attached files’.

Best Regards,
Vivek

Vivek Parkash | ACII - Chartered Insurance Broker | Sr Client Manager – VP | RMP Practice
|
Marsh KSA | Eastern Province | 3rd Floor, Tanami Tower | Prince Turki bin Abdulziz Rd.
PO Box 30554, Al-Khobar 31952, Saudi Arabia
(t):+966 13 8969655 (m):+973 3991 5541 ; +966 53 946 0654 ; (e)
: vivek.parkash@marsh.com
www.marsh.com | Follow Marsh on : Twitter | LinkedIn | Facebook | YouTube |




Marsh Saudi Arabia Insurance and Reinsurance Brokers LLC
<image001.png>

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Head Office: Riyadh, Commercial registration number (CR) : 1010247579
7th Floor Morouj Tower, Olaya Street (North), P.O.Box 53303 Riyadh 11583, KSA


From: Mark Mahfouz <MMahfouz@dynamicind.com>
Sent: Thursday, November 07, 2019 11:38 PM
To: Parkash, Vivek <Vivek.Parkash@marsh.com>
Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Laborde, James F
<James.F.Laborde@marsh.com>; Wulff, Angela B <Angela.B.Wulff@marsh.com>;
Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark <Mark.Sneesby@marsh.com>;
Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: RE: Dynamic Industries - Berri Oil field Incident

Hi Vivek,

Please provide an update re: confirmation of approval for you to submit the Form filled
out by you / Marsh.

Mark

From: Parkash, Vivek <Vivek.Parkash@marsh.com>
Sent: Wednesday, November 6, 2019 3:20 PM
To: Mark Mahfouz <MMahfouz@dynamicind.com>
Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Laborde, James F
<James.F.Laborde@marsh.com>; Wulff, Angela B <Angela.B.Wulff@marsh.com>;
Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark <Mark.Sneesby@marsh.com>;
Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: RE: Dynamic Industries - Berri Oil field Incident

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                                                                                 Page 3
Sure Mark, word file attached of the same which can be edited.

Best Regards,
Vivek

Vivek Parkash | ACII - Chartered Insurance Broker | Sr Client Manager – VP | RMP Practice
|
Marsh KSA | Eastern Province | 3rd Floor, Tanami Tower | Prince Turki bin Abdulziz Rd.
PO Box 30554, Al-Khobar 31952, Saudi Arabia
(t):+966 13 8969655 (m):+973 3991 5541 ; +966 53 946 0654 ; (e)
: vivek.parkash@marsh.com
www.marsh.com | Follow Marsh on : Twitter | LinkedIn | Facebook | YouTube |




Marsh Saudi Arabia Insurance and Reinsurance Brokers LLC
<image001.png>

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Head Office: Riyadh, Commercial registration number (CR) : 1010247579
7th Floor Morouj Tower, Olaya Street (North), P.O.Box 53303 Riyadh 11583, KSA


From: Mark Mahfouz <MMahfouz@dynamicind.com>
Sent: Thursday, November 07, 2019 12:14 AM
To: Parkash, Vivek <Vivek.Parkash@marsh.com>
Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Laborde, James F
<James.F.Laborde@marsh.com>; Wulff, Angela B <Angela.B.Wulff@marsh.com>;
Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark <Mark.Sneesby@marsh.com>;
Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: Re: Dynamic Industries - Berri Oil field Incident

Vivek,

If you are not going to be the one executing the form you / Marsh KSA prepared
(and given our current predicament that we are almost 3 years passed when this
coverage was placed), then please kindly send me the form you prepared in a
format that can be further modified by the individual you believe should be
signing it at this stage as I believe Theresa advised you that individual is no
longer employed w Dynamic.

Than you again.
Mark

Get Outlook for iOS

From: Parkash, Vivek <Vivek.Parkash@marsh.com>
Sent: Wednesday, November 6, 2019 3:03:18 PM
To: Mark Mahfouz <MMahfouz@dynamicind.com>
Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Laborde, James F
<James.F.Laborde@marsh.com>; Wulff, Angela B <Angela.B.Wulff@marsh.com>;

                                            4

                                                                         Exhibit No. A-11
                                                                                 Page 4
Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark <Mark.Sneesby@marsh.com>;
Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: RE: Dynamic Industries - Berri Oil field Incident

Mark,

The proposal form specifically asks to be signed by the proposer/insured with name and
designation in the company. Though insurance company can accept the broker to assist
the insured in filling in the proposal form but they never accept it be signed by an
insurance broker here. Will get this also confirmed in the morning.

Best Regards,
Vivek

Vivek Parkash | ACII - Chartered Insurance Broker | Sr Client Manager – VP | RMP Practice
|
Marsh KSA | Eastern Province | 3rd Floor, Tanami Tower | Prince Turki bin Abdulziz Rd.
PO Box 30554, Al-Khobar 31952, Saudi Arabia
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: vivek.parkash@marsh.com
www.marsh.com | Follow Marsh on : Twitter | LinkedIn | Facebook | YouTube |

Marsh Saudi Arabia Insurance and Reinsurance Brokers LLC
<image003.png>

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Head Office: Riyadh, Commercial registration number (CR) : 1010247579
7th Floor Morouj Tower, Olaya Street (North), P.O.Box 53303 Riyadh 11583, KSA


From: Mark Mahfouz <MMahfouz@dynamicind.com>
Sent: Wednesday, November 06, 2019 11:57 PM
To: Parkash, Vivek <Vivek.Parkash@marsh.com>
Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Laborde, James F
<James.F.Laborde@marsh.com>; Wulff, Angela B <Angela.B.Wulff@marsh.com>;
Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark <Mark.Sneesby@marsh.com>;
Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: Re: Dynamic Industries - Berri Oil field Incident

Vivek,

I look forward to your response in the morning. Since you / Marsh Saudi prepared
the proposal form, can it be signed by you?

Get Outlook for iOS

From: Parkash, Vivek <Vivek.Parkash@marsh.com>
Sent: Wednesday, November 6, 2019 2:52:05 PM
To: Mark Mahfouz <MMahfouz@dynamicind.com>
Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Laborde, James F
<James.F.Laborde@marsh.com>; Wulff, Angela B <Angela.B.Wulff@marsh.com>;
Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark <Mark.Sneesby@marsh.com>;

                                            5

                                                                         Exhibit No. A-11
                                                                                 Page 5
Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: RE: Dynamic Industries - Berri Oil field Incident

Mark,

As I mentioned yesterday that according to Mazahir who had the lengthy meeting with
ANB-Metlife-AIG , he needed to give a signed proposal form & the BOR. I will be able to
give you final confirmation in the morning ( KSA time) if unsigned form can be accepted
or not.

Best Regards,
Vivek

Vivek Parkash | ACII - Chartered Insurance Broker | Sr Client Manager – VP | RMP Practice
|
Marsh KSA | Eastern Province | 3rd Floor, Tanami Tower | Prince Turki bin Abdulziz Rd.
PO Box 30554, Al-Khobar 31952, Saudi Arabia
(t):+966 13 8969655 (m):+973 3991 5541 ; +966 53 946 0654 ; (e)
: vivek.parkash@marsh.com
www.marsh.com | Follow Marsh on : Twitter | LinkedIn | Facebook | YouTube |

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<image003.png>

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Head Office: Riyadh, Commercial registration number (CR) : 1010247579
7th Floor Morouj Tower, Olaya Street (North), P.O.Box 53303 Riyadh 11583, KSA


From: Mark Mahfouz <MMahfouz@dynamicind.com>
Sent: Wednesday, November 06, 2019 11:43 PM
To: Parkash, Vivek <Vivek.Parkash@marsh.com>
Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Laborde, James F
<James.F.Laborde@marsh.com>; Wulff, Angela B <Angela.B.Wulff@marsh.com>;
Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark <Mark.Sneesby@marsh.com>;
Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: Re: Dynamic Industries - Berri Oil field Incident

Vivek,

Thank you for providing the completed form so quickly. It is greatly appreciated
on my end. Have you already submitted it to ANB? If not, when do you intend to
do so? And if you already have, can we expect to receive the policy number and
policy language in the next 2-3 days from today’s date?
Please confirm. I am traveling but await your urgent response.

Thank you again —
Mark

Get Outlook for iOS



                                             6

                                                                         Exhibit No. A-11
                                                                                 Page 6
From: Parkash, Vivek <Vivek.Parkash@marsh.com>
Sent: Wednesday, November 6, 2019 2:37:55 PM
To: Mark Mahfouz <MMahfouz@dynamicind.com>
Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Laborde, James F
<James.F.Laborde@marsh.com>; Wulff, Angela B <Angela.B.Wulff@marsh.com>;
Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark <Mark.Sneesby@marsh.com>;
Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: RE: Dynamic Industries - Berri Oil field Incident

Mark,

I think our emails crossed. Please check the 5 emails sent in last 10
minutes which contain thecompleted Proposal Form with copies ofall
of the information and documentation previously submitted by
Dynamic to Marsh (in 2016 and January 2017) and submitted by Marsh
to ANB & reinsurers (pre January 2017).


Best Regards,
Vivek

Vivek Parkash|ACII -Chartered Insurance Broker| Sr Client Manager – VP | RMP Practice |
Marsh KSA | Eastern Province | 3rd Floor, Tanami Tower | Prince Turki bin Abdulziz Rd.
PO Box 30554, Al-Khobar 31952, Saudi Arabia
(t):+966 13 8969655 (m):+973 3991 5541 ; +966 53 946 0654 ; (e)
: vivek.parkash@marsh.com
www.marsh.com| Follow Marsh on : Twitter|LinkedIn|Facebook|YouTube|

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                                                                    image can not
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                                                                    The file may
                                                                    hav e been
                                                                    mov ed,
                                                                    ren amed, or
                                                                    deleted.
                                                                    Verify that




Marsh Saudi Arabia Insurance and Reinsurance Brokers LLC            the link
                                                                    points to the
                                                                    correct file
                                                                    and location.




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Head Office: Riyadh, Commercial registration number (CR) :1010247579
7th Floor Morouj Tower, Olaya Street (North), P.O.Box 53303 Riyadh 11583, KSA


From: Mark Mahfouz <MMahfouz@dynamicind.com>
Sent: Wednesday, November 06, 2019 10:23 PM
To: Parkash, Vivek <Vivek.Parkash@marsh.com>
Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Laborde, James F
<James.F.Laborde@marsh.com>; Wulff, Angela B <Angela.B.Wulff@marsh.com>;
Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark <Mark.Sneesby@marsh.com>;
Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: RE: Dynamic Industries - Berri Oil field Incident

Vivek,

To confirm, I have not received anything from you. More importantly:

         Will you / Marsh be providing a completed Proposal Form (as
         requested) with copies ofall of the information and
         documentation previously submitted by Dynamic to Marsh (in

                                           7

                                                                                      Exhibit No. A-11
                                                                                              Page 7
       2016 and January 2017) and submitted by you/Marsh to ANB
       (pre January 2017)?

Mark

From: Parkash, Vivek <Vivek.Parkash@marsh.com>
Sent: Wednesday, November 6, 2019 12:46 PM
To: Mark Mahfouz <MMahfouz@dynamicind.com>
Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Laborde, James F
<James.F.Laborde@marsh.com>; Wulff, Angela B <Angela.B.Wulff@marsh.com>;
Davies, Tim <Tim.Davies@marsh.com>; Sneesby, Mark <Mark.Sneesby@marsh.com>;
Dutia, Harsh <Harsh.S.Dutia@marsh.com>
Subject: Re: Dynamic Industries - Berri Oil field Incident

Thanks Mark,

Will send you the full information in multiple emails shortly. All files added were
of the size of 10MB plus due to which I did not send all files yesterday.

Best Regards,
Vivek

m: +97339915541 ; +966539460654
email: vivek.parkash@marsh.com
Sent from my iPhone


       On Nov 6, 2019, at 9:00 PM, Mark Mahfouz
       <MMahfouz@dynamicind.com> wrote:


       Vivek,

       Attached is the signed broker letter of authorization you demanded
       (below).

       Will you be providing a completed Proposal Form (as requested) with
       copies ofall of the information and documentation previously submitted
       by Dynamic to Marsh (in 2016 and January 2017) and submitted by
       you/Marsh to ANB (pre January 2017)? In other words, not just the
       limited information entitled “new info zip” you attached to your email
       to Theresa and I?

       Please advise urgently.

       Mark

       From: Parkash, Vivek <Vivek.Parkash@marsh.com>
       Sent: Wednesday, November 6, 2019 12:18 AM
       To: Bonin, Theresa <Theresa.Bonin@marsh.com>
       Cc: Laborde, James F <James.F.Laborde@marsh.com>; Wulff, Angela B

                                         8

                                                                      Exhibit No. A-11
                                                                              Page 8
<Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>;
Sneesby, Mark <Mark.Sneesby@marsh.com>; Dutia, Harsh
<Harsh.S.Dutia@marsh.com>; Mark Mahfouz
<MMahfouz@dynamicind.com>
Subject: RE: Dynamic Industries - Berri Oil field Incident

Hi Theresa,

The ANB-Metlife-AIG position on proposal form is inflexible though they
did accept to be on cover In Jan 2017 when the cover was bound and
incepted. This, according to them, is the regulatory requirement to
have on file to issue any policy by their company. I can do as you
suggested and let you know the response but it was already rejected
once by them.

Best Regards,
Vivek

Vivek Parkash|ACII -Chartered Insurance Broker| Sr Client Manager – VP |
RMP Practice |
Marsh KSA | Eastern Province | 3rd Floor, Tanami Tower | Prince Turki
bin Abdulziz Rd. PO Box 30554, Al-Khobar 31952, Saudi Arabia
(t):+966 13 8969655 (m):+973 3991 5541 ; +966 53 946 0654 ; (e)
: vivek.parkash@marsh.com
www.marsh.com | Follow Marsh on
: Twitter|LinkedIn|Facebook|YouTube|

Marsh Saudi Arabia Insurance and Reinsurance Brokers LLC
<image001.png>

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SAMA License No.18/20085 / ‫ ش‬/ ‫و س ط‬

Head Office: Riyadh, Commercial registration number (CR) :1010247579
7th Floor Morouj Tower, Olaya Street (North), P.O.Box 53303 Riyadh
11583, KSA


From: Bonin, Theresa <Theresa.Bonin@marsh.com>
Sent: Wednesday, November 06, 2019 1:14 AM
To: Parkash, Vivek <Vivek.Parkash@marsh.com>
Cc: Laborde, James F <James.F.Laborde@marsh.com>; Wulff, Angela B
<Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>;
Sneesby, Mark <Mark.Sneesby@marsh.com>; Dutia, Harsh
<Harsh.S.Dutia@marsh.com>; Mark Mahfouz
<MMahfouz@dynamicind.com>
Subject: RE: Dynamic Industries - Berri Oil field Incident

Vivek,

Mark is issuing the BOR and we will forward upon receipt.

With respect to the Proposal Form, ANB issued the attached COI
confirming that they were on risk as of 12 January 2017 and your email

                                   9

                                                             Exhibit No. A-11
                                                                     Page 9
of 26 January 2017, copy attached, also confirmed 100% cover
placed. The client should not need to submit any additional information
at this time.

Alternatively, we request that ANB issue the policy upon submission of
an unsigned application or one signed by you instead of Dynamic. In
that case, we would request that you complete the application and we
note that the zip file is incomplete as it does not include all information
submitted including the contract. The placement was not handled by
Mark, but Roberto Rodriguez who is no longer with Dynamic so Mark is
not able to attest to the Declaration required in the Proposal Form.

We await your prompt response and the policy.

Best regards,
Theresa

Theresa K. Bonin, CPCU, Managing Director
Marsh| Wortham
701 Poydras Street, Suite 4125, New Orleans, LA 70139
Phone: 504-571-2211 | Cell: 504-616-8248 | Fax: 504-571-2219
theresa.bonin@marsh.com


From: Parkash, Vivek <Vivek.Parkash@marsh.com>
Sent: Tuesday, November 5, 2019 9:46 AM
To: Bonin, Theresa <Theresa.Bonin@marsh.com>; Mark Mahfouz
<MMahfouz@dynamicind.com>
Cc: Laborde, James F <James.F.Laborde@marsh.com>; Wulff, Angela B
<Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>;
Sneesby, Mark <Mark.Sneesby@marsh.com>; Dutia, Harsh
<Harsh.S.Dutia@marsh.com>
Subject: RE: Dynamic Industries - Berri Oil field Incident

Hi Mark, Theresa

Today there was a contentious meeting in Riyadh with the ANB as they
initially rejected to proceed to issue the policy wordings citing non-
submission of regulatory documents. After a lengthy meeting , the
following points agreed based on which ANB will issue the policy :

    1. BOR to be provided on client’s (Dynamic Industries Saudi Arabia
       Ltd ) letterhead
    2. Filled in Proposal Form to be provided
    3. VAT of 5% will be payable on the premium

While Marsh Saudi Arabia is taking care of the VAT point, we request
your help on #1 and #2. My deep apologies to request these two
documents at this stage as this should have been obtained at the initial
stage and irrespective of any insurer is stringent about it or not.




                                     10

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                                                                       Page 10
The BOR format is attached and you may use the English version. It has
to be dated prior to policy inception date. I have suggested a date in the
draft accordingly.

Proposal form is for basic information and you may mention = “detailed
info attached”- it can be signed undated and we have discussed it will
be accepted. I have attached a zip folder which contains the
underwriting information we had received for this project.

It is not ideal situation but we are at final stage of resolution of this
matter if the above two documents can be provided, we can get the
policy wordings from ANB in two or three days.


Best Regards,
Vivek

Vivek Parkash|ACII -Chartered Insurance Broker| Sr Client Manager – VP |
RMP Practice |
Marsh KSA | Eastern Province | 3rd Floor, Tanami Tower | Prince Turki
bin Abdulziz Rd. PO Box 30554, Al-Khobar 31952, Saudi Arabia
(t):+966 13 8969655 (m):+973 3991 5541 ; +966 53 946 0654 ; (e)
: vivek.parkash@marsh.com
www.marsh.com | Follow Marsh on
: Twitter|LinkedIn|Facebook|YouTube|

Marsh Saudi Arabia Insurance and Reinsurance Brokers LLC
<image001.png>

Regulated and supervised by The Saudi Arabian Monetary
Authority(SAMA)
SAMA License No.18/20085 / ‫ ش‬/ ‫و س ط‬

Head Office: Riyadh, Commercial registration number (CR) :1010247579
7th Floor Morouj Tower, Olaya Street (North), P.O.Box 53303 Riyadh
11583, KSA


From: Bonin, Theresa <Theresa.Bonin@marsh.com>
Sent: Monday, November 04, 2019 4:34 PM
To: Parkash, Vivek <Vivek.Parkash@marsh.com>
Cc: Mark Mahfouz <MMahfouz@dynamicind.com>; Laborde, James F
<James.F.Laborde@marsh.com>; Wulff, Angela B
<Angela.B.Wulff@marsh.com>; Davies, Tim <Tim.Davies@marsh.com>;
Sneesby, Mark <Mark.Sneesby@marsh.com>; Dutia, Harsh
<Harsh.S.Dutia@marsh.com>
Subject: Re: Dynamic Industries - Berri Oil field Incident

Thanks you for the update. We look forward to receiving the
policy.


Theresa K. Bonin, CPCU, Managing Director
Marsh USA Inc.| 701 Poydras Street, Suite 4125, New Orleans,
LA 70139
                                     11

                                                                  Exhibit No. A-11
                                                                         Page 11
Phone: 504-571-2211 | Cell: 504-616-8248| Fax: 504-571-2219
theresa.bonin@marsh.com<mailto:theresa.bonin@marsh.com>
Sent from my iPhone


      On Nov 4, 2019, at 4:51 AM, Parkash, Vivek
      <Vivek.Parkash@marsh.com> wrote:


      Hi Theresa and Mark,

      The update is overdue from my side and apologies for
      that as I did not want to simply write that it is under
      process.

      Key executives involved :
      Along with Mazahir , the matter has been shared with
      Talal, Chief Marketing Officer who manages relation
      with the insurance companies.

      Meeting/discussions :
      There have been discussions with the ANB Metlife on
      the policy document issuance. The file has been
      reviewed by their reinsurance manager and as of this
      week the main direct insurance underwriter has been
      asked to list out his requirements that will enable him
      to issue the policy wordings.

      Timeline:
      Though it is not yet committed by the insurance
      company but based on the requirements ( to be listed if
      any) , we are pushing it to be given to us this week and
      if the requirements are already available with us then
      we will provide the documents to the underwriter same
      day or next day to get the policy wordings issued

      Best Regards,
      Vivek

      Mobile : +973 3991 5541 ; +966 53 946 0654 ;
      vivek.parkash@marsh.com

      From: Bonin, Theresa <Theresa.Bonin@marsh.com>
      Sent: Monday, November 04, 2019 1:40 PM
      To: Mark Mahfouz <MMahfouz@dynamicind.com>
      Cc: Parkash, Vivek <Vivek.Parkash@marsh.com>;
      Laborde, James F <James.F.Laborde@marsh.com>;
      Wulff, Angela B <Angela.B.Wulff@marsh.com>; Davies,
      Tim <Tim.Davies@marsh.com>; Sneesby, Mark
      <Mark.Sneesby@marsh.com>; Dutia, Harsh
      <Harsh.S.Dutia@marsh.com>
      Subject: Re: Dynamic Industries - Berri Oil field Incident

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                                                                   Page 12
       Vivek

       Can you please provide an update on the status of
       this repeated request?

       Thank you.
       Theresa


       Theresa K. Bonin, CPCU, Managing Director
       Marsh USA Inc.| 701 Poydras Street, Suite 4125,
       New Orleans, LA 70139
       Phone: 504-571-2211 | Cell: 504-616-8248|
       Fax: 504-571-2219
       theresa.bonin@marsh.com<mailto:theresa.bonin@
       marsh.com>
       Sent from my iPhone


               On Oct 30, 2019, at 10:42 AM, Mark
               Mahfouz
               <MMahfouz@dynamicind.com>
               wrote:

<MetLife-AIG.pdf>




                               13

                                                 Exhibit No. A-11
                                                        Page 13
From: Mark Mahfouz
Sent: Wednesday, July 1, 2020 9:59 AM
To: Andrabi, Manzoor <Manzoor.Andrabi@sa.sedgwick.com>; Nick.Hide@ae.sedgwick.com; Sasiroopan@walaa.com
Cc: Donnie Sinitiere (dsinitiere@dynamicind.com) <dsinitiere@dynamicind.com>; Robert Jandera
<RJandera@dynamicind.com>; Pravin Pohane <PPohane@dynamicind.com>
Subject: DISA Formal Cable Damage Claim

Manzoor and Nick,

As discussed during this morning’s telephone conversation re: DISA’s formally submitted claim for the Saudi Aramco
cable damage, attached is a copy of the COOEC provided insurance information which I understand Mr. Sinitiere has
already produced to you. In any event, I am providing it again now at your request.

Please conform your safe receipt.

Regards,
Mark




Mark Mahfouz | General Counsel
Dynamic Energy Services International LLC
400 Poydras Street, Suite 1800
New Orleans, LA 70130
Direct: +1-504-684-2247 |Fax: +1-504-595-1044
Mobile: +1-504-451-7292 |Email: mmahfouz@dynesi.com

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                                                                     1

                                                                                                                Exhibit No. A-12
                                                                                                                        Page 1
From: Imad Elias <i.elias@emco.org>
Sent: Monday, September 28, 2020 2:40 AM
To: Mark Mahfouz <MMahfouz@dynamicind.com>
Cc: Donnie Sinitiere <dsinitiere@dynamicind.com>; Sasi Roopan <Sasiroopan@walaa.com>; Andrabi, Manzoor
<Manzoor.Andrabi@sa.sedgwick.com>; Hide, Nick <Nick.Hide@ae.sedgwick.com>; Alturki, Basmah
<Basmah.Alturki@sa.sedgwick.com>; Daniela Elias <d.elias@emco.org>; Soti Demetriou <s.demetriou@emco.org>
Subject: RE: [EXTERNAL] DISA Claim Discussion

Dear Mark,

We have completed our review of the documentation provided to us with respect to the alleged incident that took place on
25/06/2019 at BRRI Field and are now in a position to revert to you with Insurers’ position as set out below.

Factual Liability

Although we have received and reviewed the dive video files, we are not in a position to comment on the factual liability of
Dynamic Industries Saudi Arabia Ltd (“DISA”) towards Saudi Arabian Oil Company (“Saudi Aramco”) and,
correspondingly, the factual liability of Offshore Oil Engineering Co. Ltd., Saudi Arabia Branch (“COOEC”) towards DISA.
Such task requires consideration and assessment by a technical expert who will need to review the additional material
relied on by Saudi Aramco and the ground survey reports conducted by Saudi Aramco and by DISA on which COOEC
has sought to rely in its attempt to decline liability.

Insurance Coverage

With reference to the insurance coverage, while it is clear that the incident occurred within the territorial limits and the
policy period, the coverage provided by Metlife, subject to the policy being engaged is, according to both the DISA
Subcontract with COOEC and the terms of the Metlife Insurance Policy, on an excess basis while the primary cover shall
be with the Insurers issuing the liability policy arranged by COOEC, in this instance Alinma Tokio Marine Company
(ATMC).

                                                              1

                                                                                                    Exhibit No. A-13
                                                                                                            Page 1
As you know, the usual practice in offshore contracts is that both the Contractor and the Subcontractor in a project are
obligated to have policies in place naming each other as additional insureds in the said policies, the intent being that the
Subcontractor’s insurances shall act as the primary insurance and the Contractor’s insurances shall be the excess policy.
Indeed, the same obligation exists in the Subcontract between DISA and COOEC (the “Subcontract”). In Paragraph 17 of
Schedule A of the Subcontract, COOEC is obligated to carry and maintain a number of insurances, including
Comprehensive General Liability. From the documentation received, we note that COOEC did take out such insurance
with Alinma Tokio Marine (the “Alinma Tokio Policy”) whilst DISA obtained comprehensive general liability cover from
MetLife (the “MetLife Policy”).

In particular, Paragraph 1.6. – “SUBCONTRACTOR’s Insurance” of Schedule H of the Subcontract provides the following:

        “Further to the provisions of Paragraph 17 of Schedule “A” , and notwithstanding anything to the contrary stated
        therein or elsewhere in Schedule “A”, the following shall apply:

        1.6.1.   SUBCONTRACTOR agrees that its indemnity obligation herein will be supported by insurance with at
                 least the minimum amounts provided in Paragraph 17 of Schedule “A”, which insurance will be primary
                 to any other insurance provided by or available to anyone or more members of the Contractor
                 Group; and all such policies of insurance shall be endorsed to provide waivers of subrogation against all
                 members of the Contractor Group and Company Group […].
        […]
        1.6.3.   ALL INSURANCE POLICIES AND COVERAGES LISTED IN PARAGRAPH 17 OF SCHEDULE “A” WILL
                 EXTEND TO AND PROTECT THE CONTRACTOR GROUP TO THE FULL EXTENT AND AMOUNT OF
                 SUCH COVERAGE, INCLUDING EXCESS OR UMBRELLA INSURANCE AND, TO THE EXTENT OF
                 SUBCONTRACTOR’S INDEMNITY OBLIGATIONS UNDER THIS SUBCONTRACT; AND WILL BE
                 PRIMARY TO, AND RECEIVE NO CONTRIBUTION FROM ANY OTHER INSURER OR SELF-
                 INSURANCE PROGRAMS MAINTAINED BY OR ON BEHALF OF OR BENEFITING ANY MEMBER OF
                 THE CONTRACTOR GROUP OR COMPANY GROUP […]”

In addition, Section IV(4)(c.) – “Method of Sharing” of the MetLife Policy provides, inter alia, the following:

        “[…] If our policy and any of the other insurance or your self-insurance plan in any of the countries shown in the
        schedule of this Coverage Part covers a loss on the same basis, then our policy is excess and will apply as in
        b. above. If any aggregate limits of our policy are exhausted, you will reimburse us within 30 days of our demand
        for losses or expenses we incur under any local policies we have issued to you.”

Therefore, in the present context, it is clear that the Alinma Tokio Policy is the primary policy whilst the MetLife policy will
operate as the excess policy, subject to coverage thereunder being engaged, and any recovery for this incident (noting
the estimated quantum of the claim) should be sought from Alinma Tokio Marine pursuant to the Policy issued by them at
the request of COOEC in compliance with their obligations under the Subcontract as aforesaid.

In this respect, we note from the email communication of Mr. Manzoor Andrabi dated 8th September 2020 that you were
recommended to lodge a notification of claim with Alinma Tokio Marine in relation to this incident, considering that DISA is
named as an Assured in the Alinma Tokio Policy. We trust that COOEC and / or DISA will have proceeded to notify
Alinma Tokio Marine in relation to this claim pursuant to the terms of the Subcontract.

We trust the Insurers’ position as set out above is noted but we stand by for any clarification that might be required.

Kind regards,


Imad Elias
Solicitor (England & Wales)
Managing Director




Solicitors - Advocates - Legal Consultants
                                                                2

                                                                                                      Exhibit No. A-13
                                                                                                              Page 2
I. Elias & Co LLC
Platinum Crest                            Telephone         :   +357 25 800 777
18 Loizou Askani Street                   Facsimile         :   +357 25 800 778
Limassol CY-3110                          Email             :   law@eliaslawllc.com
Cyprus                                    Website           :   www.eliaslawllc.com


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receiver to check that this e-mail is virus free.


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From: Mark Mahfouz [mailto:MMahfouz@dynamicind.com]
Sent: 24 September 2020 20:13
To: Andrabi, Manzoor
Cc: Donnie Sinitiere; Sasi Roopan; Imad Elias; Hide, Nick; Alturki, Basmah
Subject: RE: [EXTERNAL] DISA Claim Discussion

Dear Manzoor,

Will you kindly provide the update DISA has been repeatedly requesting since July 1, 2020.

Thank you,
Mark

From: Andrabi, Manzoor <Manzoor.Andrabi@sa.sedgwick.com>
Sent: Tuesday, September 8, 2020 9:52 AM
To: Mark Mahfouz <MMahfouz@dynamicind.com>
Cc: Donnie Sinitiere <dsinitiere@dynamicind.com>; Sasi Roopan <Sasiroopan@walaa.com>; Imad Elias <i.elias@emco.org>; Hide,
Nick <Nick.Hide@ae.sedgwick.com>; Alturki, Basmah <Basmah.Alturki@sa.sedgwick.com>
Subject: RE: [EXTERNAL] DISA Claim Discussion

Dear Mark,
Further to our conference call this afternoon and in accordance with Counsel’s request we kindly ask you to forward the following
documents for our review:
    1.           The “Bourbon Evolution 806” Cover Note with Gard re CGLCL Cover which was attached as item 8 of the attachments
                to COOEC’s letter of 9th December 2019 to DISA (copy attached for your ease of reference).
    2.           The deck dive log book, official dive logs, dive video files and RMM daily reports referred to in Saudi Aramco’s letters
                dated 24th March 2020 and 7th April 2020 to DISA (copies attached for your ease of reference).
Finally, as discussed during our call, if COOEC have not lodged a claim with ATMC yet, DISA should be filing a notification of claim
with Alinma Tokio Marine with respect to the incident, seeing that DISA is named as an Assured in their CGL Policy.
We will await Counsel’s final deliberation on the matter and we will be reverting to you in due course.
In the meantime, for the sake of good order, Underwriters’ reservation of rights is maintained.
Best regards,
                                                                        3

                                                                                                                   Exhibit No. A-13
                                                                                                                           Page 3
Manzoor Andrabi
BEng MBA ASCE IFCE SLA-IRDA FIIISLA
Principal MCL Adjuster


Cunningham Lindsey Saudi Arabia Ltd.
(Soon to be Sedgwick Saudi Arabia Ltd.)
Second Floor, La Promenade Center
6309, Dhahran Road, Al-Aqrabia District
Al-Khobar 34446-3488, Kingdom of Saudi Arabia

Mobile: +966 (0) 56 984 22 11
Landline:+966 (13) 896 9611; Fax: +966 (13) 896 8802
Email: Manzoor.Andrabi@sa.sedgwick.com
www.cunninghamlindsey.com




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From: Mark Mahfouz <MMahfouz@dynamicind.com>
Sent: Tuesday, September 8, 2020 4:03 PM
To: Andrabi, Manzoor <Manzoor.Andrabi@sa.sedgwick.com>
Subject: RE: [EXTERNAL] DISA Claim Discussion

Having trouble connecting.

From: Andrabi, Manzoor <Manzoor.Andrabi@sa.sedgwick.com>
Sent: Tuesday, September 8, 2020 8:02 AM
To: Mark Mahfouz <MMahfouz@dynamicind.com>
Subject: RE: [EXTERNAL] DISA Claim Discussion

                                                                                                 4

                                                                                                                                        Exhibit No. A-13
                                                                                                                                                Page 4
We are waiting.

-----Original Appointment-----
From: Mark Mahfouz <MMahfouz@dynamicind.com>
Sent: Tuesday, September 8, 2020 3:23 PM
To: Andrabi, Manzoor
Subject: Accepted: [EXTERNAL] DISA Claim Discussion
When: Tuesday, September 8, 2020 4:00 PM-5:00 PM (UTC+03:00) Kuwait, Riyadh.
Where: WebEx




                                                            5

                                                                Exhibit No. A-13
                                                                        Page 5
From: AlSadah, Zainab <Zainab.AlSadah@marsh.com>
Sent: Thursday, January 7, 2021 1:10 AM
To: Educate, Philip <Philip.Educate@marsh.com>
Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Wulff, Angela B <Angela.B.Wulff@marsh.com>; Radhwan, Hussein
<Hussein.Radhwan@marsh.com>; Zibian, Nizar <Nizar.Zibian@marsh.com>; Heaume, Etienne
<Etienne.Heaume@marsh.com>; Mattar, Mohammed <Mohammed.Mattar@marsh.com>; Olaiwat, Hassan
<Hassan.Olaiwat@marsh.com>; Mark Mahfouz <MMahfouz@dynamicind.com>; Parkash, Vivek
<Vivek.Parkash@marsh.com>
Subject: [EXTERNAL] Re: Saudi Aramco v. Dynamic Industries Saudi Arabia Ltd.;

                                                  Caution: This email came from outside the company.
               Do not click on links or open attachments unless you are sure you recognize the sender and you know the contents are safe


Dear,

Its Mr. Sasi Roopan

Sasiroopan@walaa.com


Regards,

Sent from my iPhone


        On 6 Jan 2021, at 8:30 PM, Educate, Philip <Philip.Educate@marsh.com> wrote:



                                                                          1

                                                                                                                             Exhibit No. A-14
                                                                                                                                     Page 1
Okay, what is the name and e-mail address of the person you spoke to at Walaa, so we know who to
send that e-mail to?

Phil Educate
Vice President
Senior Claim Advocate
Marsh USA Inc.
1717 Main Street, Suite #4400
Dallas, TX 75201
desk: until further notice, please use only my cell # below
cell:    214-616-0529
e-mail: philip.educate@marsh.com


        From: AlSadah, Zainab <Zainab.AlSadah@marsh.com>
        Sent: Wednesday, January 06, 2021 11:19 AM
        To: Educate, Philip <Philip.Educate@marsh.com>
        Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Wulff, Angela B
        <Angela.B.Wulff@marsh.com>; Radhwan, Hussein <Hussein.Radhwan@marsh.com>; Zibian,
        Nizar <Nizar.Zibian@marsh.com>; Heaume, Etienne <Etienne.Heaume@marsh.com>; Mattar,
        Mohammed <Mohammed.Mattar@marsh.com>; Olaiwat, Hassan
        <Hassan.Olaiwat@marsh.com>; Mark Mahfouz <MMahfouz@dynamicind.com>; Parkash, Vivek
        <Vivek.Parkash@marsh.com>
        Subject: Re: Saudi Aramco v. Dynamic Industries Saudi Arabia Ltd.;

        Hi philip,

        1- yes, Metlife Adjuster ( Cunngham).
        2- a/b.Yes, they have an idea now but they want to make it official to discuss it with all
        parties involved. The email can be sent directly to Walaa/Metlife or their legal counsel or
        their Loss Adjuster who will raise the same to Walaa/Metlife at the end.
           C- I believe by Insured or their legal counsel. They can copy us in the email as well
        and we shall follow up and discuss it further with Walaa/Metlife, if requires.

        Regards,

        Sent from my iPhone


                 On 6 Jan 2021, at 5:20 PM, Educate, Philip <Philip.Educate@marsh.com>
                 wrote:


                 Zainab / Nizar:

                 Thank you for this update below. Some questions.

                          1. Zainab’s message below mentions that Nizar has “…discussed the
                             subject claim verbally with the Loss Adjuster who their stand remains
                             the same in regard to the liability and their interpretation to the
                             Insured’s policy…” Because of what is in the third paragraph of the
                             message, I assume this refers to the Metlife (Walaa) adjuster and
                             NOT the ATM adjuster. Is that accurate?

                          2. Zainab’s message also mentions that Walaa’s claim manager (which
                             I assume now has oversight over Metlife claim matters such as this)
                             has “…agreed that they will thoroughly study this matter and see if
                             there is any possibility to pay the claim,” but then the message also
                                                         2

                                                                                      Exhibit No. A-14
                                                                                              Page 2
             said “Now, Insured/Marsh have to sent an official email with this
             request to Insurers OR their appointed legal counsel to get this
             matter reviewed by them.” So….
                 a. Does this mean that DISA (or Marsh on DISA’s behalf)
                     should send an e-mail request to someone at Walaa to make
                     this request, and that they will not begin to the study the
                     matter as they had promised until the email is received?”
                 b. If so, to whom should that e-mail be sent, and what is the e-
                     mail address?
                 c. Under the circumstances, do you think that e-mail should be
                     sent by Nizar, or would it be better if it were sent by Mark
                     Mahfouz (of DISA) or by DISA’s legal counsel?


Phil Educate
Vice President
Senior Claim Advocate
Marsh USA Inc.
1717 Main Street, Suite #4400
Dallas, TX 75201
desk: until further notice, please use only my cell # below
cell:    214-616-0529
e-mail: philip.educate@marsh.com


        From: AlSadah, Zainab <Zainab.AlSadah@marsh.com>
        Sent: Wednesday, January 06, 2021 6:27 AM
        To: Educate, Philip <Philip.Educate@marsh.com>
        Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Wulff, Angela B
        <Angela.B.Wulff@marsh.com>; Radhwan, Hussein
        <Hussein.Radhwan@marsh.com>; Zibian, Nizar
        <Nizar.Zibian@marsh.com>; Heaume, Etienne
        <Etienne.Heaume@marsh.com>; Mattar, Mohammed
        <Mohammed.Mattar@marsh.com>; Olaiwat, Hassan
        <Hassan.Olaiwat@marsh.com>; Mark Mahfouz
        <MMahfouz@dynamicind.com>; Parkash, Vivek
        <Vivek.Parkash@marsh.com>
        Subject: Re: Saudi Aramco v. Dynamic Industries Saudi Arabia Ltd.;

        Dear Philip,



        Sorry for not replying to you earlier as most of the team was out of
        office for holidays.

        This is to inform you that Nizar have discussed the subject claim
        verbally with the Loss Adjuster who their stand remains the same
        in regard to the liability and their interpretation to the Insured’s
        policy. The loss adjuster have inquired as well if ARAMCO have
        informed the contractor/subcontractor of their layout before start
        operating on the pipelines. As We understand thats the
        subcontractor advised that their operation is far from the damage.
        The loss adjuster does not seem to receive any response regarding
        this item as well.


                                       3

                                                                 Exhibit No. A-14
                                                                         Page 3
For Walaa, we have just got hold of their claims manager as he
was out of office for the holidays. Unfortunately we have not
received any positive response in regard of Insured’s request to pay
the claim and recover from ATM as the Policy is in Excess Policy
and not a normal recovery claim. Nevertheless, after many
discussions, he agreed that they will thoroughly study this matter
and see if there is any possibility to pay the claim.

Now, Insured/Marsh have to sent an official email with this request
to Insurers OR their appointed legal counsel to get this matter
reviewed by them.

Hope the above will assist in anyway and please let me know if
you have any question or you need any further assistance.

Thanks and Regards,



Sent from my iPhone



       On 5 Jan 2021, at 10:17 PM, Parkash, Vivek
       <Vivek.Parkash@marsh.com> wrote:

        Hi Zainab and Nizar,

       Request you to please respond to Phil.

       Best Regards,
       Vivek

       m: +97339915541 ; +966539460654
       email: vivek.parkash@marsh.com
       Sent from my iPhone



               On 5 Jan 2021, at 9:59 PM, Educate,
               Philip <Philip.Educate@marsh.com>
               wrote:


               Vivek:

               See below. Have you been able to
               connect with your Metlife contacts there
               in KSA ? Have you gotten any
               substantive feedback from them?




                          4

                                                          Exhibit No. A-14
                                                                  Page 4
From: Educate, Philip
Sent: Tuesday, December 29, 2020 9:15
AM
To: Parkash, Vivek
<Vivek.Parkash@marsh.com>
Cc: Bonin, Theresa
<Theresa.Bonin@marsh.com>; Wulff,
Angela B
<Angela.B.Wulff@marsh.com>;
Radhwan, Hussein
<Hussein.Radhwan@marsh.com>;
AlSadah, Zainab
<Zainab.AlSadah@marsh.com>; Zibian,
Nizar <Nizar.Zibian@marsh.com>;
Heaume, Etienne
<Etienne.Heaume@marsh.com>;
Mattar, Mohammed
<Mohammed.Mattar@marsh.com>;
Olaiwat, Hassan
<Hassan.Olaiwat@marsh.com>
Subject: RE: Saudi Aramco v. Dynamic
Industries Saudi Arabia Ltd.;

Vivek:

Your message below included this
passage: “Though there is merit in
Dynamic’s argument that main coverage
be considered in Metlife / Walaa
policy…” But that is not Dynamic’s
(“DISA’s”) argument. They
acknowledge that the Alinma Tokio
Marine (“ATM”) policy is supposed to be
primary but they argue that because
ATM appears to be refusing to cover the
loss**, that Metlife should step in (or
“drop down” so to speak) and provide
the coverage and then seek
reimbursement from ATM on behalf of
themselves (Metlife) and DISA.

In any event, when you’ve connected
with your Metlife contacts there in KSA,
please let me know what you
hear. Thank you for you assistance on
this.

Phil Educate
Vice President
Senior Claim Advocate
Marsh USA Inc.
1717 Main Street, Suite #4400
Dallas, TX 75201
desk: until further notice, please use only
my cell # below
cell:    214-616-0529
e-mail: philip.educate@marsh.com

            5

                                          Exhibit No. A-14
                                                  Page 5
________________________________
_____________
From: Parkash, Vivek
<Vivek.Parkash@marsh.com>
Sent: Tuesday, December 22, 2020
12:31 AM
To: Educate, Philip
<Philip.Educate@marsh.com>
Cc: Bonin, Theresa
<Theresa.Bonin@marsh.com>; Wulff,
Angela B
<Angela.B.Wulff@marsh.com>;
Radhwan, Hussein
<Hussein.Radhwan@marsh.com>;
AlSadah, Zainab
<Zainab.AlSadah@marsh.com>; Zibian,
Nizar <Nizar.Zibian@marsh.com>;
Heaume, Etienne
<Etienne.Heaume@marsh.com>;
Mattar, Mohammed
<Mohammed.Mattar@marsh.com>;
Olaiwat, Hassan
<Hassan.Olaiwat@marsh.com>
Subject: RE: Saudi Aramco v. Dynamic
Industries Saudi Arabia Ltd.;


Hi Phil,

Zainab and Nizar are working on this
and will update you on their progress
with Metlife / Walaa contacts.

Regarding the various documents you
shared, my view is that the current
situation is linked by Metlife / Walaa
with the ART policy.
Though there is merit in Dynamic’s
argument that main coverage be
considered in Metlife / Walaa policy
which would have been the case if
there was no ART policy.
The legal experts engaged by insurers
have introduced primary policy and
excess policy concept as is evident in
the key correspondences shared and I
believe this is the big hurdle that needs
to be overcome now.

Best Regards,

            6

                                            Exhibit No. A-14
                                                    Page 6
Vivek




Vivek Parkash ACII - Chartered Insurance
Broker | Sr Client Manager – VP | RMP
Practice |
Marsh (Bahrain) Company SPC |
Unitag House, 1 Floor,150 Govt
                st


Avenue, P O Box 3237, Manama,
Bahrain |
(t):+973 1720 4288 (m):+973 3991 5541
(e) :
vivek.parkash@marsh.com Connenct
with me on LinkedIn
www.marsh.com | Follow Marsh on
: Twitter | LinkedIn | Facebook |
YouTube |


<< OLE Object: Picture (Device
Independent Bitmap) >>


________________________________
_____________
From: Educate, Philip
<Philip.Educate@marsh.com>
Sent: Tuesday, December 22, 2020
12:34 AM
To: Radhwan, Hussein
<Hussein.Radhwan@marsh.com>;
Parkash, Vivek
<Vivek.Parkash@marsh.com>; AlSadah,
Zainab <Zainab.AlSadah@marsh.com>;
Zibian, Nizar
<Nizar.Zibian@marsh.com>; Heaume,
Etienne
<Etienne.Heaume@marsh.com>;
Mattar, Mohammed
<Mohammed.Mattar@marsh.com>;
Olaiwat, Hassan
<Hassan.Olaiwat@marsh.com>
Cc: Bonin, Theresa
<Theresa.Bonin@marsh.com>; Wulff,
Angela B <Angela.B.Wulff@marsh.com>
Subject: RE: Saudi Aramco v. Dynamic
Industries Saudi Arabia Ltd.;


Vivek and Nizar:

Have you had a chance to review the
additional documents I sent over, and/or

           7

                                       Exhibit No. A-14
                                               Page 7
a chance to speak with the contact you
mentioned you had at Metlife / Walaa ?

Phil Educate
Vice President
Senior Claim Advocate
Marsh USA Inc.
1717 Main Street, Suite #4400
Dallas, TX 75201
desk: until further notice, please use only
my cell # below
cell:    214-616-0529
e-mail: philip.educate@marsh.com



________________________________
_____________
From: Educate, Philip
Sent: Monday, December 14, 2020 9:42
AM
To: Radhwan, Hussein
<Hussein.Radhwan@marsh.com>;
Parkash, Vivek
<Vivek.Parkash@marsh.com>; AlSadah,
Zainab <Zainab.AlSadah@marsh.com>;
Zibian, Nizar
<Nizar.Zibian@marsh.com>; Heaume,
Etienne
<Etienne.Heaume@marsh.com>;
Mattar, Mohammed
<Mohammed.Mattar@marsh.com>;
Olaiwat, Hassan
<Hassan.Olaiwat@marsh.com>
Cc: Thresa Bonin
(theresa.bonin@marsh.com)
<theresa.bonin@marsh.com>; Wulff,
Angela B <Angela.B.Wulff@marsh.com>
Subject: FW: Saudi Aramco v. Dynamic
Industries Saudi Arabia Ltd.

Vivek and Nizar and others:

Thank you for your time today
discussing this DISA matter. I will
calendar ahead to next week to inquire
about your communications with
Metlife.

Phil Educate
Vice President
Senior Claim Advocate
Marsh USA Inc.
1717 Main Street, Suite #4400
Dallas, TX 75201
desk: until further notice, please use only
my cell # below
cell:    214-616-0529
e-mail: philip.educate@marsh.com

            8

                                              Exhibit No. A-14
                                                      Page 8
________________________________
_____________
From: Educate, Philip
Sent: Monday, December 07, 2020
11:53 AM
To: AlSadah, Zainab
<Zainab.AlSadah@marsh.com>
Cc: Thresa Bonin
(theresa.bonin@marsh.com)
<theresa.bonin@marsh.com>
Subject: Saudi Aramco v. Dynamic
Industries Saudi Arabia Ltd.


To: Zainab Al Sadah:

I understand you are the Claim
Manager for Marsh Saudi
Arabia. I’m a Claim Advocate in our
Dallas, Texas office and am
assisting local colleagues in
resolving a coverage problem that
Dynamic Industries Saudi Arabia
Ltd. (“DISA”) is having with a claim
in Saudi Arabia. Though I think you
may already be aware of the basic
facts of the case, I’ve described
them here, below:

Circumstances: Dynamic
Industries Saudi Arabia Ltd. (“DISA”)
executed a contract with SAO to
serve as Prime Contractor on SAO’s
Pipelines Replacement Project in the
Berri Oilfield in Saudi
Arabia. Among the portions of this
project was to an underwater
cable. For that portion of the
project, DISA executed a sub-
contract with Offshore Oil
Engineering Co. Ltd. (“OOEC”) to
serve as a critical subcontractor. It
was later discovered that OOEC
had caused $5,000,000 to
$10,000,000 damage to that
underwater cable. OOEC’s carrier -
Alinma Tokio Marine (“ATM”) denied
coverage to DISA despite their
policy having included an “Additional
Insured” endorsement granting A.I.
status to DISA. Despite this
(alleged) non-coverage, DISA’s own
insurer, Metlife, is insisting that
          9

                                        Exhibit No. A-14
                                                Page 9
ATM’s policy affords primary
coverage for DISA and that, as such,
the “Other Insurance” provisions in
DISA’s own policy apply that Metlife
coverage ONLY on an excess
basis. Because both policies’
$10,000,000 limits exceed the
roughly $7,000,000 value of the loss,
Metlife’s “excess-only” position is,
effectively, a declination of
coverage.

Coverage litigation would quickly
resolve this “tug-of-war” between
ATM and Metlife, but DISA doesn’t
have enough time to initiate and
resolve coverage litigation because
in the meantime, their customer,
SAO, is putting much pressure on
them to resolve the claim. So… we
want to appeal to someone high up
in Metlife’s claim operations in the
Saudi Arabian region, to persuade
them to handle this claim for DISA
and then seek reimbursement from
ATM after the fact. Thus, we seek
your help in identifying the best
person in Metlife’s Saudi Arabian
region to whom to direct this
appeal. Whom might you
suggest?

Just in case you might want to see
them, I’ve attached the individual
pieces of correspondence between
DISA and Metlife’s coverage
attorney, on this coverage matter.
<< File: XXX-XXXXXX - CPL - Metlife-AIG -
2020-09-28 - Disclaimer re Primacy.pdf
>> << File: XXX-XXXXXX - CPL - Metlife-
AIG - 2020-10-16 - rebuttal.pdf >> <<
File: XXX-XXXXXX - CPL - Metlife-AIG -
2020-11-16 - reply to rebuttal.pdf >> <<
File: XXX-XXXXXX - CPL - Metlife-AIG -
2020-11-21 - second rebuttal.pdf >> <<
File: XXX-XXXXXX - CPL - Metlife-AIG -
2020-12-03 - reply to second
rebuttal.pdf >>


Phil Educate
Vice President
Senior Claim Advocate
Marsh USA Inc.
1717 Main Street, Suite #4400
Dallas, TX 75201
           10

                                       Exhibit No. A-14
                                              Page 10
                                                 desk: until further notice, please use only
                                                 my cell # below
                                                 cell:    214-616-0529
                                                 e-mail: philip.educate@marsh.com




**********************************************************************
This e-mail, including any attachments that accompany it, may contain
information that is confidential or privileged. This e-mail is
intended solely for the use of the individual(s) to whom it was intended to be
addressed. If you have received this e-mail and are not an intended recipient,
any disclosure, distribution, copying or other use or
retention of this email or information contained within it are prohibited.
If you have received this email in error, please immediately
reply to the sender via e-mail and also permanently
delete all copies of the original message together with any of its attachments
from your computer or device.
**********************************************************************




                                                             11

                                                                                               Exhibit No. A-14
                                                                                                      Page 11
From: Educate, Philip <Philip.Educate@marsh.com>
Sent: Friday, January 8, 2021 9:45 AM
To: Mark Mahfouz <MMahfouz@dynamicind.com>
Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>
Subject: [EXTERNAL] 20NEWO366814 Saudi Aramco v. Dynamic Industries Saudi Arabia Ltd.;

                                                       Caution: This email came from outside the company.
                   Do not click on links or open attachments unless you are sure you recognize the sender and you know the contents are safe


Mark:

confirming our conversation today… you’ll be conferring internally with counsel about how best to proceed with the formal
request (for re-review) that the Walaa / Metlife claim manager has requested in order to re-open this analysis. As seen
below, our KSA colleagues have learned that they want the reuqest sent to: Mr. Sasi
Roopan at Sasiroopan@walaa.com.

As we discussed, I think its best for that request to come from DISA or DISA’s counsel, but I’m happy to take care of it as
well if you should so decide.

Phil Educate
Vice President
Senior Claim Advocate
Marsh USA Inc.
1717 Main Street, Suite #4400
Dallas, TX 75201
desk: until further notice, please use only my cell # below
cell:    214-616-0529
e-mail: philip.educate@marsh.com


        From: AlSadah, Zainab <Zainab.AlSadah@marsh.com>
        Sent: Thursday, January 07, 2021 1:10 AM
        To: Educate, Philip <Philip.Educate@marsh.com>
        Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Wulff, Angela B <Angela.B.Wulff@marsh.com>; Radhwan,
                                                                              1

                                                                                                                                  Exhibit No. A-15
                                                                                                                                          Page 1
Hussein <Hussein.Radhwan@marsh.com>; Zibian, Nizar <Nizar.Zibian@marsh.com>; Heaume, Etienne
<Etienne.Heaume@marsh.com>; Mattar, Mohammed <Mohammed.Mattar@marsh.com>; Olaiwat, Hassan
<Hassan.Olaiwat@marsh.com>; Mark Mahfouz <MMahfouz@dynamicind.com>; Parkash, Vivek
<Vivek.Parkash@marsh.com>
Subject: Re: Saudi Aramco v. Dynamic Industries Saudi Arabia Ltd.;

Dear,

Its Mr. Sasi Roopan

Sasiroopan@walaa.com


Regards,

Sent from my iPhone


        On 6 Jan 2021, at 8:30 PM, Educate, Philip <Philip.Educate@marsh.com> wrote:


        Okay, what is the name and e-mail address of the person you spoke to at Walaa, so we know
        who to send that e-mail to?

        Phil Educate
        Vice President
        Senior Claim Advocate
        Marsh USA Inc.
        1717 Main Street, Suite #4400
        Dallas, TX 75201
        desk: until further notice, please use only my cell # below
        cell:    214-616-0529
        e-mail: philip.educate@marsh.com


                From: AlSadah, Zainab <Zainab.AlSadah@marsh.com>
                Sent: Wednesday, January 06, 2021 11:19 AM
                To: Educate, Philip <Philip.Educate@marsh.com>
                Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Wulff, Angela B
                <Angela.B.Wulff@marsh.com>; Radhwan, Hussein <Hussein.Radhwan@marsh.com>;
                Zibian, Nizar <Nizar.Zibian@marsh.com>; Heaume, Etienne
                <Etienne.Heaume@marsh.com>; Mattar, Mohammed
                <Mohammed.Mattar@marsh.com>; Olaiwat, Hassan <Hassan.Olaiwat@marsh.com>;
                Mark Mahfouz <MMahfouz@dynamicind.com>; Parkash, Vivek
                <Vivek.Parkash@marsh.com>
                Subject: Re: Saudi Aramco v. Dynamic Industries Saudi Arabia Ltd.;

                Hi philip,

                1- yes, Metlife Adjuster ( Cunngham).
                2- a/b.Yes, they have an idea now but they want to make it official to discuss it
                with all parties involved. The email can be sent directly to Walaa/Metlife or their
                legal counsel or their Loss Adjuster who will raise the same to Walaa/Metlife at
                the end.


                                                        2

                                                                                    Exhibit No. A-15
                                                                                            Page 2
  C- I believe by Insured or their legal counsel. They can copy us in the email as
well and we shall follow up and discuss it further with Walaa/Metlife, if requires.

Regards,

Sent from my iPhone


       On 6 Jan 2021, at 5:20 PM, Educate, Philip
       <Philip.Educate@marsh.com> wrote:


       Zainab / Nizar:

       Thank you for this update below. Some questions.

               1. Zainab’s message below mentions that Nizar has
                  “…discussed the subject claim verbally with the Loss
                  Adjuster who their stand remains the same in regard to the
                  liability and their interpretation to the Insured’s
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                  message, I assume this refers to the Metlife (Walaa)
                  adjuster and NOT the ATM adjuster. Is that accurate?

               2. Zainab’s message also mentions that Walaa’s claim
                  manager (which I assume now has oversight over Metlife
                  claim matters such as this) has “…agreed that they will
                  thoroughly study this matter and see if there is any possibility
                  to pay the claim,” but then the message also said “Now,
                  Insured/Marsh have to sent an official email with this request
                  to Insurers OR their appointed legal counsel to get this
                  matter reviewed by them.” So….
                       a. Does this mean that DISA (or Marsh on DISA’s
                           behalf) should send an e-mail request to someone at
                           Walaa to make this request, and that they will not
                           begin to the study the matter as they had promised
                           until the email is received?”
                       b. If so, to whom should that e-mail be sent, and what
                           is the e-mail address?
                       c. Under the circumstances, do you think that e-mail
                           should be sent by Nizar, or would it be better if it
                           were sent by Mark Mahfouz (of DISA) or by DISA’s
                           legal counsel?


       Phil Educate
       Vice President
       Senior Claim Advocate
       Marsh USA Inc.
       1717 Main Street, Suite #4400
       Dallas, TX 75201
       desk: until further notice, please use only my cell # below
       cell:    214-616-0529
       e-mail: philip.educate@marsh.com


               From: AlSadah, Zainab <Zainab.AlSadah@marsh.com>
               Sent: Wednesday, January 06, 2021 6:27 AM
               To: Educate, Philip <Philip.Educate@marsh.com>
               Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Wulff, Angela
                                     3

                                                                        Exhibit No. A-15
                                                                                Page 3
B <Angela.B.Wulff@marsh.com>; Radhwan, Hussein
<Hussein.Radhwan@marsh.com>; Zibian, Nizar
<Nizar.Zibian@marsh.com>; Heaume, Etienne
<Etienne.Heaume@marsh.com>; Mattar, Mohammed
<Mohammed.Mattar@marsh.com>; Olaiwat, Hassan
<Hassan.Olaiwat@marsh.com>; Mark Mahfouz
<MMahfouz@dynamicind.com>; Parkash, Vivek
<Vivek.Parkash@marsh.com>
Subject: Re: Saudi Aramco v. Dynamic Industries Saudi Arabia
Ltd.;

Dear Philip,


Sorry for not replying to you earlier as most of the team
was out of office for holidays.

This is to inform you that Nizar have discussed the subject
claim verbally with the Loss Adjuster who their stand
remains the same in regard to the liability and their
interpretation to the Insured’s policy. The loss adjuster
have inquired as well if ARAMCO have informed the
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operating on the pipelines. As We understand thats the
subcontractor advised that their operation is far from the
damage. The loss adjuster does not seem to receive any
response regarding this item as well.

For Walaa, we have just got hold of their claims manager
as he was out of office for the holidays. Unfortunately we
have not received any positive response in regard of
Insured’s request to pay the claim and recover from ATM
as the Policy is in Excess Policy and not a normal recovery
claim. Nevertheless, after many discussions, he agreed that
they will thoroughly study this matter and see if there is
any possibility to pay the claim.

Now, Insured/Marsh have to sent an official email with this
request to Insurers OR their appointed legal counsel to get
this matter reviewed by them.

Hope the above will assist in anyway and please let me
know if you have any question or you need any further
assistance.

Thanks and Regards,



Sent from my iPhone


                   4

                                                      Exhibit No. A-15
                                                              Page 4
On 5 Jan 2021, at 10:17 PM, Parkash, Vivek
<Vivek.Parkash@marsh.com> wrote:

Hi Zainab and Nizar,

Request you to please respond to Phil.

Best Regards,
Vivek

m: +97339915541 ; +966539460654
email: vivek.parkash@marsh.com
Sent from my iPhone


On 5 Jan 2021, at 9:59 PM, Educate,
Philip <Philip.Educate@marsh.com>
wrote:


Vivek:

See below. Have you been able to
connect with your Metlife contacts there
in KSA ? Have you gotten any
substantive feedback from them?


From: Educate, Philip
Sent: Tuesday, December 29, 2020 9:15
AM
To: Parkash, Vivek
<Vivek.Parkash@marsh.com>
Cc: Bonin, Theresa
<Theresa.Bonin@marsh.com>; Wulff,
Angela B
<Angela.B.Wulff@marsh.com>;
Radhwan, Hussein
<Hussein.Radhwan@marsh.com>;
AlSadah, Zainab
<Zainab.AlSadah@marsh.com>; Zibian,
Nizar <Nizar.Zibian@marsh.com>;
Heaume, Etienne
<Etienne.Heaume@marsh.com>;
Mattar, Mohammed
<Mohammed.Mattar@marsh.com>;
Olaiwat, Hassan
<Hassan.Olaiwat@marsh.com>
Subject: RE: Saudi Aramco v. Dynamic
Industries Saudi Arabia Ltd.;

Vivek:


           5

                                           Exhibit No. A-15
                                                   Page 5
Your message below included this
passage: “Though there is merit in
Dynamic’s argument that main coverage
be considered in Metlife / Walaa
policy…” But that is not Dynamic’s
(“DISA’s”) argument. They
acknowledge that the Alinma Tokio
Marine (“ATM”) policy is supposed to be
primary but they argue that because
ATM appears to be refusing to cover the
loss**, that Metlife should step in (or
“drop down” so to speak) and provide
the coverage and then seek
reimbursement from ATM on behalf of
themselves (Metlife) and DISA.

In any event, when you’ve connected
with your Metlife contacts there in KSA,
please let me know what you
hear. Thank you for you assistance on
this.

Phil Educate
Vice President
Senior Claim Advocate
Marsh USA Inc.
1717 Main Street, Suite #4400
Dallas, TX 75201
desk: until further notice, please use only
my cell # below
cell:    214-616-0529
e-mail: philip.educate@marsh.com



________________________________
_____________
From: Parkash, Vivek
<Vivek.Parkash@marsh.com>
Sent: Tuesday, December 22, 2020
12:31 AM
To: Educate, Philip
<Philip.Educate@marsh.com>
Cc: Bonin, Theresa
<Theresa.Bonin@marsh.com>; Wulff,
Angela B
<Angela.B.Wulff@marsh.com>;
Radhwan, Hussein
<Hussein.Radhwan@marsh.com>;
AlSadah, Zainab
<Zainab.AlSadah@marsh.com>; Zibian,
Nizar <Nizar.Zibian@marsh.com>;
Heaume, Etienne
<Etienne.Heaume@marsh.com>;
Mattar, Mohammed
<Mohammed.Mattar@marsh.com>;
Olaiwat, Hassan
<Hassan.Olaiwat@marsh.com>

            6

                                          Exhibit No. A-15
                                                  Page 6
Subject: RE: Saudi Aramco v. Dynamic
Industries Saudi Arabia Ltd.;


Hi Phil,

Zainab and Nizar are working on this
and will update you on their progress
with Metlife / Walaa contacts.

Regarding the various documents you
shared, my view is that the current
situation is linked by Metlife / Walaa
with the ART policy.
Though there is merit in Dynamic’s
argument that main coverage be
considered in Metlife / Walaa policy
which would have been the case if
there was no ART policy.
The legal experts engaged by insurers
have introduced primary policy and
excess policy concept as is evident in
the key correspondences shared and I
believe this is the big hurdle that needs
to be overcome now.

Best Regards,
Vivek




Vivek Parkash ACII - Chartered Insurance
Broker | Sr Client Manager – VP | RMP
Practice |
Marsh (Bahrain) Company SPC |
Unitag House, 1 Floor,150 Govt
                st


Avenue, P O Box 3237, Manama,
Bahrain |
(t):+973 1720 4288 (m):+973 3991 5541
(e) :
vivek.parkash@marsh.com Connenct
with me on LinkedIn
www.marsh.com | Follow Marsh on
: Twitter | LinkedIn | Facebook |
YouTube |


<< OLE Object: Picture (Device
Independent Bitmap) >>


________________________________
_____________
From: Educate, Philip
            7

                                        Exhibit No. A-15
                                                Page 7
<Philip.Educate@marsh.com>
Sent: Tuesday, December 22, 2020
12:34 AM
To: Radhwan, Hussein
<Hussein.Radhwan@marsh.com>;
Parkash, Vivek
<Vivek.Parkash@marsh.com>; AlSadah,
Zainab <Zainab.AlSadah@marsh.com>;
Zibian, Nizar
<Nizar.Zibian@marsh.com>; Heaume,
Etienne
<Etienne.Heaume@marsh.com>;
Mattar, Mohammed
<Mohammed.Mattar@marsh.com>;
Olaiwat, Hassan
<Hassan.Olaiwat@marsh.com>
Cc: Bonin, Theresa
<Theresa.Bonin@marsh.com>; Wulff,
Angela B <Angela.B.Wulff@marsh.com>
Subject: RE: Saudi Aramco v. Dynamic
Industries Saudi Arabia Ltd.;


Vivek and Nizar:

Have you had a chance to review the
additional documents I sent over, and/or
a chance to speak with the contact you
mentioned you had at Metlife / Walaa ?

Phil Educate
Vice President
Senior Claim Advocate
Marsh USA Inc.
1717 Main Street, Suite #4400
Dallas, TX 75201
desk: until further notice, please use only
my cell # below
cell:    214-616-0529
e-mail: philip.educate@marsh.com



________________________________
_____________
From: Educate, Philip
Sent: Monday, December 14, 2020 9:42
AM
To: Radhwan, Hussein
<Hussein.Radhwan@marsh.com>;
Parkash, Vivek
<Vivek.Parkash@marsh.com>; AlSadah,
Zainab <Zainab.AlSadah@marsh.com>;
Zibian, Nizar
<Nizar.Zibian@marsh.com>; Heaume,
Etienne
<Etienne.Heaume@marsh.com>;
            8

                                              Exhibit No. A-15
                                                      Page 8
Mattar, Mohammed
<Mohammed.Mattar@marsh.com>;
Olaiwat, Hassan
<Hassan.Olaiwat@marsh.com>
Cc: Thresa Bonin
(theresa.bonin@marsh.com)
<theresa.bonin@marsh.com>; Wulff,
Angela B <Angela.B.Wulff@marsh.com>
Subject: FW: Saudi Aramco v. Dynamic
Industries Saudi Arabia Ltd.

Vivek and Nizar and others:

Thank you for your time today
discussing this DISA matter. I will
calendar ahead to next week to inquire
about your communications with
Metlife.

Phil Educate
Vice President
Senior Claim Advocate
Marsh USA Inc.
1717 Main Street, Suite #4400
Dallas, TX 75201
desk: until further notice, please use only
my cell # below
cell:    214-616-0529
e-mail: philip.educate@marsh.com



________________________________
_____________
From: Educate, Philip
Sent: Monday, December 07, 2020
11:53 AM
To: AlSadah, Zainab
<Zainab.AlSadah@marsh.com>
Cc: Thresa Bonin
(theresa.bonin@marsh.com)
<theresa.bonin@marsh.com>
Subject: Saudi Aramco v. Dynamic
Industries Saudi Arabia Ltd.


To: Zainab Al Sadah:

I understand you are the Claim
Manager for Marsh Saudi
Arabia. I’m a Claim Advocate in our
Dallas, Texas office and am
assisting local colleagues in
resolving a coverage problem that
Dynamic Industries Saudi Arabia
Ltd. (“DISA”) is having with a claim
in Saudi Arabia. Though I think you

            9

                                              Exhibit No. A-15
                                                      Page 9
may already be aware of the basic
facts of the case, I’ve described
them here, below:

Circumstances: Dynamic
Industries Saudi Arabia Ltd. (“DISA”)
executed a contract with SAO to
serve as Prime Contractor on SAO’s
Pipelines Replacement Project in the
Berri Oilfield in Saudi
Arabia. Among the portions of this
project was to an underwater
cable. For that portion of the
project, DISA executed a sub-
contract with Offshore Oil
Engineering Co. Ltd. (“OOEC”) to
serve as a critical subcontractor. It
was later discovered that OOEC
had caused $5,000,000 to
$10,000,000 damage to that
underwater cable. OOEC’s carrier -
Alinma Tokio Marine (“ATM”) denied
coverage to DISA despite their
policy having included an “Additional
Insured” endorsement granting A.I.
status to DISA. Despite this
(alleged) non-coverage, DISA’s own
insurer, Metlife, is insisting that
ATM’s policy affords primary
coverage for DISA and that, as such,
the “Other Insurance” provisions in
DISA’s own policy apply that Metlife
coverage ONLY on an excess
basis. Because both policies’
$10,000,000 limits exceed the
roughly $7,000,000 value of the loss,
Metlife’s “excess-only” position is,
effectively, a declination of
coverage.

Coverage litigation would quickly
resolve this “tug-of-war” between
ATM and Metlife, but DISA doesn’t
have enough time to initiate and
resolve coverage litigation because
in the meantime, their customer,
SAO, is putting much pressure on
them to resolve the claim. So… we
want to appeal to someone high up
in Metlife’s claim operations in the
Saudi Arabian region, to persuade
them to handle this claim for DISA
and then seek reimbursement from
ATM after the fact. Thus, we seek
your help in identifying the best

          10

                                    Exhibit No. A-15
                                           Page 10
                                                 person in Metlife’s Saudi Arabian
                                                 region to whom to direct this
                                                 appeal. Whom might you
                                                 suggest?

                                                 Just in case you might want to see
                                                 them, I’ve attached the individual
                                                 pieces of correspondence between
                                                 DISA and Metlife’s coverage
                                                 attorney, on this coverage matter.
                                                 << File: XXX-XXXXXX - CPL - Metlife-AIG -
                                                 2020-09-28 - Disclaimer re Primacy.pdf
                                                 >> << File: XXX-XXXXXX - CPL - Metlife-
                                                 AIG - 2020-10-16 - rebuttal.pdf >> <<
                                                 File: XXX-XXXXXX - CPL - Metlife-AIG -
                                                 2020-11-16 - reply to rebuttal.pdf >> <<
                                                 File: XXX-XXXXXX - CPL - Metlife-AIG -
                                                 2020-11-21 - second rebuttal.pdf >> <<
                                                 File: XXX-XXXXXX - CPL - Metlife-AIG -
                                                 2020-12-03 - reply to second
                                                 rebuttal.pdf >>


                                                 Phil Educate
                                                 Vice President
                                                 Senior Claim Advocate
                                                 Marsh USA Inc.
                                                 1717 Main Street, Suite #4400
                                                 Dallas, TX 75201
                                                 desk: until further notice, please use only
                                                 my cell # below
                                                 cell:    214-616-0529
                                                 e-mail: philip.educate@marsh.com




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delete all copies of the original message together with any of its attachments
from your computer or device.
**********************************************************************




                                                             11

                                                                                               Exhibit No. A-15
                                                                                                      Page 11
From: Mark Mahfouz <MMahfouz@dynamicind.com>
Sent: Thursday, January 21, 2021 12:18 PM
To: Educate, Philip <Philip.Educate@marsh.com>; Bonin, Theresa <Theresa.Bonin@marsh.com>
Cc: Donnie Sinitiere <dsinitiere@dynamicind.com>
Subject: [EXTERNAL] FW: MetLife / Walaa Insurance Policy No. P/11/706/24

Hi Phil,

I am forwarding the response I received today from Mr. Roopan at Walaa (see below). I have to say I am quite
disappointed as it seems like the exact scenario I had feared has come to pass. You will recall that we discussed before
sending the exact “scope” of this request and its targeted audience. We were told that it should be directed strictly to
Mr. Roopan and a “reconsideration” was going to occur. From his response, it seems like we are simply going to receive
the same response form their external legal counsel. Perhaps I am missing some of the behind the scenes
discussions. Can you provide some comment/advice?

Thanks,
Mark

From: Sasi Roopan <Sasiroopan@walaa.com>
Sent: Thursday, January 21, 2021 1:28 AM
To: Mark Mahfouz <MMahfouz@dynamicind.com>
Cc: Donnie Sinitiere <dsinitiere@dynamicind.com>; Andrabi, Manzoor <Manzoor.Andrabi@sa.sedgwick.com>; Imad Elias
<i.elias@emco.org>; Mohammed Hussain Ibrahem <m.hussain@walaa.com>; Samuel Ezekiel <ezekiel@walaa.com>;
Wasif F. Minhas <wminhas@walaa.com>; Syed Siddiq Mehdi <Syed.Siddiq@walaa.com>; Hide, Nick
<Nick.Hide@ae.sedgwick.com>
Subject: [EXTERNAL] RE: MetLife / Walaa Insurance Policy No. P/11/706/24

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Dear Mr. Mahfouz,

Many thanks for your advice dated 14th January 2021.

I respectfully disagree with the points you had mentioned therein, however, have forwarded your advice to our legal
counsel Imad Elias & Co. and loss adjusters Cunningham for their review and response.
                                                                            1

                                                                                                                                Exhibit No. A-16
                                                                                                                                        Page 1
Thanking you for your understanding and cooperation

Best regards,

Sasi Roopan
Senior General Claims Manager
                                           Moody’s Ratings – A3
Email      : sasiroopan@walaa.com
                                           S&P Global Ratings – gcAA+
Office     : +966 13 8299 570
Mobile     : +966 56 915 5033
                                           Certified in
                                           ISO 9001:2015, ISO 27001:2013
Walaa Cooperative Insurance Company
                                           ISO 22301:2012 & ISO 45001:2018
4513, Adh Dhahran Al Khubar Al Janubiyah                                     A Saudi Joint Stock Company
Unit No: 8, Al-Khobar 34621-8615           Licensed & Supervised by          Fully Paid Capital SAR 646m
Kingdom of Saudi Arabia                    Saudi Central Bank                   Unified #: 7001526578
                                           License #: TMN/16/20087


800 1199 222
92 000 1742
                                                                             walaa.com
                                             walaainsurance



From: Mark Mahfouz <MMahfouz@dynamicind.com>
Sent: Wednesday, January 20, 2021 5:15 PM
To: Sasi Roopan <Sasiroopan@walaa.com>
Cc: Donnie Sinitiere <dsinitiere@dynamicind.com>
Subject: RE: MetLife / Walaa Insurance Policy No. P/11/706/24

Greetings Mr. Roopan,

Would you please confirm by return response for me that you received my email to you of January 14, 2020 (below) and
are reviewing and analyzing same.

Awaiting confirmation from you.

Regards,
Mark



From: Mark Mahfouz
Sent: Monday, January 18, 2021 3:20 PM
To: 'Sasi Roopan' <Sasiroopan@walaa.com>
Cc: Donnie Sinitiere <dsinitiere@dynamicind.com>
Subject: RE: MetLife / Walaa Insurance Policy No. P/11/706/24

Dear Mr. Roopan,

Would you please kindly confirm receipt of my email to you of January 14, 2020.

Thank you,
                                                                  2

                                                                                                  Exhibit No. A-16
                                                                                                          Page 2
Mark

From: Mark Mahfouz
Sent: Thursday, January 14, 2021 4:38 PM
To: 'Sasi Roopan' <Sasiroopan@walaa.com>
Cc: Donnie Sinitiere <dsinitiere@dynamicind.com>
Subject: MetLife / Walaa Insurance Policy No. P/11/706/24

Dear Mr. Sasi Roopan,

By way of introduction, I am the General Counsel of Dynamic Energy Services International LLC, and am writing this
email to you in furtherance of the pending insurance claim filed by Dynamic Industries Saudi Arabia, Ltd. (“DISA”), and
Dynamic Industries International, L.L.C. (“DII”) under Policy No. P/11/706/24 (the “Policy”), issued by MetLife and
Walaa. I understand, by way of communications initiated by DISA and DII’s insurance broker, Marsh, that you have
agreed to further evaluate coverage for this claim and I was directed (by Marsh) to send this email communication
directly to you by email at this email address.

First and foremost, I think an understanding of the purpose for which DISA and DII procured the Policy is
important. Using the services of Dynamic’s local broker (Marsh) here in Louisiana, DISA and DII sought to procure a
policy of insurance to protect the companies for the liabilities assumed in the long term services contracts that the
companies were going to execute for work for the Saudi Arabian Oil Company (and its subsidiary in the Netherlands)
(“Saudi Aramco”) in the Kingdom of Saudi Arabia (and outside of the Kingdom). This was an intensive, laborious
process. So, you can imagine DISA and DII’s frustration when they have sought coverage for the very risks to be insured,
and were told that the coverage is secondary because another insurer should be covering, especially after paying hefty
premiums (including an increase in premiums due to the subject incident) for such coverage for multiple years. The
frank truth is that DISA and DII feel that they have paid and maintained a healthy insurance premium, but the bargained
for risk is not being covered. This has put DISA, and Dynamic Industries, Inc. as guarantor of the DISA contract to Saudi
Aramco, in a very difficult position, and has caused issues (and continues to cause issues) with DISA’s client, Saudi
Aramco.

DISA has previously set forth the factual basis for coverage, and I do not think it bears repeating here. The
circumstances of the loss are not contested. The main stumbling block to resolution appears to be the disagreement
over whether the Policy provides primary coverage for DISA/DII or is excess to other available insurance. Hopefully, this
issue can be resolved because regardless of what subrogation rights may exist, the plain fact is that DISA/DII have no
other available insurance. The insurer of DISA’s major Subcontractor (COOEC) has, despite repeated demands by DISA’s
GM, simply denied coverage. Their position declining coverage under, presumably, the contractual liability exclusion in
their policy, is attached for your reference. Thus, DISA and DII have no “other insurance” to cover this claim, and the
“Methods of Sharing” portion of the Policy are not applicable.

While DISA/DII are confident that the above will guide your decision, DISA/DII do continue to take issue with the
previous conclusion that the Policy’s “other insurance” provisions result in no coverage to DISA/DII. This seems to
ignore the basic bargain that was struck and the reason why DISA/DII purchased the Policy in the first instance. As
stressed in Mr. Sinitiere’s October 16, 2020 request for coverage (attached for your ease of reference), whether, after
covering the claim, MetLife and Walaa have subrogation rights against other responsible parties is not DISA/DII’s
concern. DISA/DII purchased, and expect, first party coverage, and are more than happy to assist in the recovery of any
payments by way of subrogation. But this should not alter the contractual obligations undertaken in the Policy, which is
one of primary liability, not excess.

I am happy to make myself available to answer any questions you may have. I am sending this directly to you alone at
the request of Marsh. If you would like for me to send it to others as well please advise. Many thanks for your prompt
attention to this matter.

                                                            3

                                                                                                Exhibit No. A-16
                                                                                                        Page 3
Kind regards,
Mark


Mark Mahfouz | General Counsel
Dynamic Energy Services International LLC
400 Poydras Street, Suite 1800
New Orleans, LA 70130
Direct: +1-504-684-2247 |Fax: +1-504-595-1044
Mobile: +1-504-451-7292 |Email: mmahfouz@dynesi.com

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Supervised & Licensed by Saudi Arabian Monetary Authority as per license No. TMN/16/20087




                                                                     4

                                                                                                               Exhibit No. A-16
                                                                                                                       Page 4
Brickman, Jennifer

From:                                     Educate, Philip <Philip.Educate@marsh.com>
Sent:                                     Tuesday, January 12, 2021 2:15 PM
To:                                       Mark Mahfouz
Cc:                                       Bonin, Theresa
Subject:                                  [EXTERNAL] 20NEWO366814 Saudi Aramco v. Dynamic Industries Saudi Arabia Ltd.


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Mark:

My understanding about what is different “this time around” so to speak, is that our Saudi colleagues have advised that
the Walaa manager of the Metlife adjuster had previously just gone along with the adjuster’s conclusion/ position, but now
has affirmatively pledged his cooperation (in re-reviewing) upon receipt of a formal request from DISA. In other words, its
my understanding that although he had been in the loop in the past, he was sort ot just passively rubber stamping it.

So at this point - and especially if he can be provided with a clear/definitive “denial of coverage” letter/email from ATM - I
do regard this is a fresh look - and an “escalated” fresh look in the sense that the manager will be engaged in a way he
was not before.

Phil Educate
Vice President
Senior Claim Advocate
Marsh USA Inc.
1717 Main Street, Suite #4400
Dallas, TX 75201
desk: until further notice, please use only my cell # below
cell:    214-616-0529
e-mail: philip.educate@marsh.com


        From: Mark Mahfouz <MMahfouz@dynamicind.com>
        Sent: Tuesday, January 12, 2021 2:06 PM
        To: Educate, Philip <Philip.Educate@marsh.com>
        Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>
        Subject: RE: 20NEWO366814 Saudi Aramco v. Dynamic Industries Saudi Arabia Ltd.;

        Phil,

        As I started to prepare a “formal request (for re-review) that the Walaa / Metlife claim manager has requested
        in order to re-open this analysis”, I discovered that the intended Walaa recipient (Mr. Sasi Roopan) has been an
        active recipient of all communications from legal counsel (Imad Elias) purporting to act for the underwriters
        (presumably Walaa and MetLife). While the email chain suggesting this course of action from Zainab AlSadah
        was difficult to follow, I was under the impression that somebody “new” was getting involved. When you and I
        spoke on Friday, you indicated someone “higher up” would be taking a “fresh look” at DISA’s claim. However, it
        now appears to be simply a continued discussion amongst the same persons who have already made decisions
        and/or are not going to seriously evaluate the coverage (see attached for the latest – you will note Mr. Roopan
        is in copy).

        You were going to appeal to someone high up in Walaa / Metlife’s claim operations in the Saudi Arabian region,
        to persuade them to handle this claim for DISA and then seek reimbursement from ATM after the fact. Am I
        missing something? Perhaps there is something in the broker parlance about a “reconsideration,” but I am
        concerned that we are just spinning our wheels in finding someone who, in Zainab’s words, would “thoroughly
                                                                             1

                                                                                                                                Exhibit No. A-16
                                                                                                                                        Page 5
study this matter and see if there is any possibility to pay the claim.” Your insight and guidance is appreciated. I
would prefer to avoid assembling all of these arguments, correspondence, etc., only to get the same response
from the same individuals involved.

Regards,
Mark

From: Educate, Philip <Philip.Educate@marsh.com>
Sent: Friday, January 8, 2021 9:45 AM
To: Mark Mahfouz <MMahfouz@dynamicind.com>
Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>
Subject: [EXTERNAL] 20NEWO366814 Saudi Aramco v. Dynamic Industries Saudi Arabia Ltd.;

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Mark:

confirming our conversation today… you’ll be conferring internally with counsel about how best to proceed with
the formal request (for re-review) that the Walaa / Metlife claim manager has requested in order to re-open this
analysis. As seen below, our KSA colleagues have learned that they want the reuqest sent to: Mr. Sasi
Roopan at Sasiroopan@walaa.com.

As we discussed, I think its best for that request to come from DISA or DISA’s counsel, but I’m happy to take care
of it as well if you should so decide.

Phil Educate
Vice President
Senior Claim Advocate
Marsh USA Inc.
1717 Main Street, Suite #4400
Dallas, TX 75201
desk: until further notice, please use only my cell # below
cell:    214-616-0529
e-mail: philip.educate@marsh.com


        From: AlSadah, Zainab <Zainab.AlSadah@marsh.com>
        Sent: Thursday, January 07, 2021 1:10 AM
        To: Educate, Philip <Philip.Educate@marsh.com>
        Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Wulff, Angela B <Angela.B.Wulff@marsh.com>;
        Radhwan, Hussein <Hussein.Radhwan@marsh.com>; Zibian, Nizar <Nizar.Zibian@marsh.com>; Heaume,
        Etienne <Etienne.Heaume@marsh.com>; Mattar, Mohammed <Mohammed.Mattar@marsh.com>;
        Olaiwat, Hassan <Hassan.Olaiwat@marsh.com>; Mark Mahfouz <MMahfouz@dynamicind.com>;
        Parkash, Vivek <Vivek.Parkash@marsh.com>
        Subject: Re: Saudi Aramco v. Dynamic Industries Saudi Arabia Ltd.;

        Dear,

        Its Mr. Sasi Roopan

        Sasiroopan@walaa.com


        Regards,


                                                                      2

                                                                                                                         Exhibit No. A-16
                                                                                                                                 Page 6
Sent from my iPhone


      On 6 Jan 2021, at 8:30 PM, Educate, Philip <Philip.Educate@marsh.com> wrote:


      Okay, what is the name and e-mail address of the person you spoke to at Walaa, so we
      know who to send that e-mail to?

      Phil Educate
      Vice President
      Senior Claim Advocate
      Marsh USA Inc.
      1717 Main Street, Suite #4400
      Dallas, TX 75201
      desk: until further notice, please use only my cell # below
      cell:    214-616-0529
      e-mail: philip.educate@marsh.com


              From: AlSadah, Zainab <Zainab.AlSadah@marsh.com>
              Sent: Wednesday, January 06, 2021 11:19 AM
              To: Educate, Philip <Philip.Educate@marsh.com>
              Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>; Wulff, Angela B
              <Angela.B.Wulff@marsh.com>; Radhwan, Hussein
              <Hussein.Radhwan@marsh.com>; Zibian, Nizar <Nizar.Zibian@marsh.com>;
              Heaume, Etienne <Etienne.Heaume@marsh.com>; Mattar, Mohammed
              <Mohammed.Mattar@marsh.com>; Olaiwat, Hassan
              <Hassan.Olaiwat@marsh.com>; Mark Mahfouz
              <MMahfouz@dynamicind.com>; Parkash, Vivek <Vivek.Parkash@marsh.com>
              Subject: Re: Saudi Aramco v. Dynamic Industries Saudi Arabia Ltd.;

              Hi philip,

              1- yes, Metlife Adjuster ( Cunngham).
              2- a/b.Yes, they have an idea now but they want to make it official to
              discuss it with all parties involved. The email can be sent directly to
              Walaa/Metlife or their legal counsel or their Loss Adjuster who will raise
              the same to Walaa/Metlife at the end.
                 C- I believe by Insured or their legal counsel. They can copy us in the
              email as well and we shall follow up and discuss it further with
              Walaa/Metlife, if requires.

              Regards,

              Sent from my iPhone


                       On 6 Jan 2021, at 5:20 PM, Educate, Philip
                       <Philip.Educate@marsh.com> wrote:


                       Zainab / Nizar:

                       Thank you for this update below. Some questions.


                                             3

                                                                          Exhibit No. A-16
                                                                                  Page 7
        1. Zainab’s message below mentions that Nizar has
           “…discussed the subject claim verbally with the Loss
           Adjuster who their stand remains the same in regard
           to the liability and their interpretation to the Insured’s
           policy…” Because of what is in the third paragraph
           of the message, I assume this refers to the Metlife
           (Walaa) adjuster and NOT the ATM adjuster. Is that
           accurate?

        2. Zainab’s message also mentions that Walaa’s claim
           manager (which I assume now has oversight over
           Metlife claim matters such as this) has “…agreed
           that they will thoroughly study this matter and see if
           there is any possibility to pay the claim,” but then the
           message also said “Now, Insured/Marsh have to
           sent an official email with this request to Insurers OR
           their appointed legal counsel to get this matter
           reviewed by them.” So….
                a. Does this mean that DISA (or Marsh on
                    DISA’s behalf) should send an e-mail
                    request to someone at Walaa to make this
                    request, and that they will not begin to the
                    study the matter as they had promised until
                    the email is received?”
                b. If so, to whom should that e-mail be sent,
                    and what is the e-mail address?
                c. Under the circumstances, do you think that
                    e-mail should be sent by Nizar, or would it
                    be better if it were sent by Mark Mahfouz (of
                    DISA) or by DISA’s legal counsel?


Phil Educate
Vice President
Senior Claim Advocate
Marsh USA Inc.
1717 Main Street, Suite #4400
Dallas, TX 75201
desk: until further notice, please use only my cell # below
cell:    214-616-0529
e-mail: philip.educate@marsh.com


        From: AlSadah, Zainab <Zainab.AlSadah@marsh.com>
        Sent: Wednesday, January 06, 2021 6:27 AM
        To: Educate, Philip <Philip.Educate@marsh.com>
        Cc: Bonin, Theresa <Theresa.Bonin@marsh.com>;
        Wulff, Angela B <Angela.B.Wulff@marsh.com>;
        Radhwan, Hussein <Hussein.Radhwan@marsh.com>;
        Zibian, Nizar <Nizar.Zibian@marsh.com>; Heaume,
        Etienne <Etienne.Heaume@marsh.com>; Mattar,
        Mohammed <Mohammed.Mattar@marsh.com>;
        Olaiwat, Hassan <Hassan.Olaiwat@marsh.com>; Mark
        Mahfouz <MMahfouz@dynamicind.com>; Parkash,
        Vivek <Vivek.Parkash@marsh.com>
        Subject: Re: Saudi Aramco v. Dynamic Industries Saudi
        Arabia Ltd.;

        Dear Philip,

                     4

                                                      Exhibit No. A-16
                                                              Page 8
Sorry for not replying to you earlier as most of the
team was out of office for holidays.

This is to inform you that Nizar have discussed the
subject claim verbally with the Loss Adjuster who
their stand remains the same in regard to the
liability and their interpretation to the Insured’s
policy. The loss adjuster have inquired as well if
ARAMCO have informed the
contractor/subcontractor of their layout before start
operating on the pipelines. As We understand thats
the subcontractor advised that their operation is far
from the damage. The loss adjuster does not seem to
receive any response regarding this item as well.

For Walaa, we have just got hold of their claims
manager as he was out of office for the holidays.
Unfortunately we have not received any positive
response in regard of Insured’s request to pay the
claim and recover from ATM as the Policy is in
Excess Policy and not a normal recovery claim.
Nevertheless, after many discussions, he agreed that
they will thoroughly study this matter and see if
there is any possibility to pay the claim.

Now, Insured/Marsh have to sent an official email
with this request to Insurers OR their appointed
legal counsel to get this matter reviewed by them.

Hope the above will assist in anyway and please let
me know if you have any question or you need any
further assistance.

Thanks and Regards,



Sent from my iPhone


       On 5 Jan 2021, at 10:17 PM,
       Parkash, Vivek
       <Vivek.Parkash@marsh.com>
       wrote:

        Hi Zainab and Nizar,

       Request you to please respond to
       Phil.

       Best Regards,
           5

                                                Exhibit No. A-16
                                                        Page 9
Vivek

m: +97339915541 ; +966539460654
email: vivek.parkash@marsh.com
Sent from my iPhone


On 5 Jan 2021, at 9:59 PM,
Educate, Philip
<Philip.Educate@marsh.com
> wrote:


Vivek:

See below. Have you been able
to connect with your Metlife
contacts there in KSA ? Have
you gotten any substantive
feedback from them?


From: Educate, Philip
Sent: Tuesday, December 29,
2020 9:15 AM
To: Parkash, Vivek
<Vivek.Parkash@marsh.com>
Cc: Bonin, Theresa
<Theresa.Bonin@marsh.com>;
Wulff, Angela B
<Angela.B.Wulff@marsh.com>;
Radhwan, Hussein
<Hussein.Radhwan@marsh.co
m>; AlSadah, Zainab
<Zainab.AlSadah@marsh.com>;
Zibian, Nizar
<Nizar.Zibian@marsh.com>;
Heaume, Etienne
<Etienne.Heaume@marsh.com
>; Mattar, Mohammed
<Mohammed.Mattar@marsh.c
om>; Olaiwat, Hassan
<Hassan.Olaiwat@marsh.com>
Subject: RE: Saudi Aramco v.
Dynamic Industries Saudi Arabia
Ltd.;

Vivek:

Your message below included
this passage: “Though there is
merit in Dynamic’s argument
that main coverage be
considered in Metlife / Walaa

   6

                                  Exhibit No. A-16
                                         Page 10
policy…” But that is not
Dynamic’s (“DISA’s”)
argument. They acknowledge
that the Alinma Tokio Marine
(“ATM”) policy is supposed to be
primary but they argue that
because ATM appears to be
refusing to cover the loss**, that
Metlife should step in (or “drop
down” so to speak) and provide
the coverage and then seek
reimbursement from ATM on
behalf of themselves (Metlife)
and DISA.

In any event, when you’ve
connected with your Metlife
contacts there in KSA, please
let me know what you
hear. Thank you for you
assistance on this.

Phil Educate
Vice President
Senior Claim Advocate
Marsh USA Inc.
1717 Main Street, Suite #4400
Dallas, TX 75201
desk: until further notice, please
use only my cell # below
cell:    214-616-0529
e-mail: philip.educate@marsh.com



__________________________
___________________
From: Parkash, Vivek
<Vivek.Parkash@marsh.com>
Sent: Tuesday, December 22,
2020 12:31 AM
To: Educate, Philip
<Philip.Educate@marsh.com>
Cc: Bonin, Theresa
<Theresa.Bonin@marsh.com>;
Wulff, Angela B
<Angela.B.Wulff@marsh.com>;
Radhwan, Hussein
<Hussein.Radhwan@marsh.co
m>; AlSadah, Zainab
<Zainab.AlSadah@marsh.com>;
Zibian, Nizar
<Nizar.Zibian@marsh.com>;
Heaume, Etienne
<Etienne.Heaume@marsh.com
>; Mattar, Mohammed
<Mohammed.Mattar@marsh.c
om>; Olaiwat, Hassan
<Hassan.Olaiwat@marsh.com>
   7

                                     Exhibit No. A-16
                                            Page 11
Subject: RE: Saudi Aramco v.
Dynamic Industries Saudi Arabia
Ltd.;


Hi Phil,

Zainab and Nizar are working
on this and will update you on
their progress with Metlife /
Walaa contacts.

Regarding the various
documents you shared, my
view is that the current
situation is linked by Metlife /
Walaa with the ART policy.
Though there is merit in
Dynamic’s argument that main
coverage be considered in
Metlife / Walaa policy which
would have been the case if
there was no ART policy.
The legal experts engaged by
insurers have introduced
primary policy and excess policy
concept as is evident in the key
correspondences shared and I
believe this is the big hurdle
that needs to be overcome
now.

Best Regards,
Vivek




Vivek Parkash ACII - Chartered
Insurance Broker | Sr Client
Manager – VP | RMP Practice |
Marsh (Bahrain) Company
SPC | Unitag House, 1 st


Floor,150 Govt Avenue, P O
Box 3237, Manama, Bahrain |
(t):+973 1720 4288 (m):+973
3991 5541 (e) :
vivek.parkash@marsh.com Co
nnenct with me on LinkedIn
www.marsh.com | Follow Marsh
on : Twitter | LinkedIn |
Facebook | YouTube |



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                                   Exhibit No. A-16
                                          Page 12
<< OLE Object: Picture (Device
Independent Bitmap) >>


__________________________
___________________
From: Educate, Philip
<Philip.Educate@marsh.com>
Sent: Tuesday, December 22,
2020 12:34 AM
To: Radhwan, Hussein
<Hussein.Radhwan@marsh.co
m>; Parkash, Vivek
<Vivek.Parkash@marsh.com>;
AlSadah, Zainab
<Zainab.AlSadah@marsh.com>;
Zibian, Nizar
<Nizar.Zibian@marsh.com>;
Heaume, Etienne
<Etienne.Heaume@marsh.com
>; Mattar, Mohammed
<Mohammed.Mattar@marsh.c
om>; Olaiwat, Hassan
<Hassan.Olaiwat@marsh.com>
Cc: Bonin, Theresa
<Theresa.Bonin@marsh.com>;
Wulff, Angela B
<Angela.B.Wulff@marsh.com>
Subject: RE: Saudi Aramco v.
Dynamic Industries Saudi Arabia
Ltd.;


Vivek and Nizar:

Have you had a chance to
review the additional documents
I sent over, and/or a chance to
speak with the contact you
mentioned you had at Metlife /
Walaa ?

Phil Educate
Vice President
Senior Claim Advocate
Marsh USA Inc.
1717 Main Street, Suite #4400
Dallas, TX 75201
desk: until further notice, please
use only my cell # below
cell:    214-616-0529
e-mail: philip.educate@marsh.com



__________________________
___________________
   9

                                     Exhibit No. A-16
                                            Page 13
From: Educate, Philip
Sent: Monday, December 14,
2020 9:42 AM
To: Radhwan, Hussein
<Hussein.Radhwan@marsh.co
m>; Parkash, Vivek
<Vivek.Parkash@marsh.com>;
AlSadah, Zainab
<Zainab.AlSadah@marsh.com>;
Zibian, Nizar
<Nizar.Zibian@marsh.com>;
Heaume, Etienne
<Etienne.Heaume@marsh.com
>; Mattar, Mohammed
<Mohammed.Mattar@marsh.c
om>; Olaiwat, Hassan
<Hassan.Olaiwat@marsh.com>
Cc: Thresa Bonin
(theresa.bonin@marsh.com)
<theresa.bonin@marsh.com>;
Wulff, Angela B
<Angela.B.Wulff@marsh.com>
Subject: FW: Saudi Aramco v.
Dynamic Industries Saudi Arabia
Ltd.

Vivek and Nizar and others:

Thank you for your time today
discussing this DISA matter. I
will calendar ahead to next
week to inquire about your
communications with Metlife.

Phil Educate
Vice President
Senior Claim Advocate
Marsh USA Inc.
1717 Main Street, Suite #4400
Dallas, TX 75201
desk: until further notice, please
use only my cell # below
cell:    214-616-0529
e-mail: philip.educate@marsh.com



__________________________
___________________
From: Educate, Philip
Sent: Monday, December 07,
2020 11:53 AM
To: AlSadah, Zainab
<Zainab.AlSadah@marsh.com>
Cc: Thresa Bonin
(theresa.bonin@marsh.com)
<theresa.bonin@marsh.com>
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                                            Page 14
Subject: Saudi Aramco v.
Dynamic Industries Saudi Arabia
Ltd.


To: Zainab Al Sadah:

I understand you are the
Claim Manager for Marsh
Saudi Arabia. I’m a Claim
Advocate in our Dallas,
Texas office and am
assisting local colleagues in
resolving a coverage
problem that Dynamic
Industries Saudi Arabia Ltd.
(“DISA”) is having with a
claim in Saudi
Arabia. Though I think you
may already be aware of the
basic facts of the case, I’ve
described them here, below:

Circumstances: Dynamic
Industries Saudi Arabia Ltd.
(“DISA”) executed a contract
with SAO to serve as Prime
Contractor on SAO’s
Pipelines Replacement
Project in the Berri Oilfield in
Saudi Arabia. Among the
portions of this project was to
an underwater cable. For
that portion of the project,
DISA executed a sub-
contract with Offshore Oil
Engineering Co. Ltd.
(“OOEC”) to serve as a
critical subcontractor. It was
later discovered that OOEC
had caused $5,000,000 to
$10,000,000 damage to that
underwater cable. OOEC’s
carrier - Alinma Tokio Marine
(“ATM”) denied coverage to
DISA despite their policy
having included an
“Additional Insured”
endorsement granting A.I.
status to DISA. Despite this
(alleged) non-coverage,
DISA’s own insurer, Metlife,
is insisting that ATM’s policy
affords primary coverage for
DISA and that, as such, the
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“Other Insurance” provisions
in DISA’s own policy apply
that Metlife coverage ONLY
on an excess
basis. Because both
policies’ $10,000,000 limits
exceed the roughly
$7,000,000 value of the loss,
Metlife’s “excess-only”
position is, effectively, a
declination of coverage.

Coverage litigation would
quickly resolve this “tug-of-
war” between ATM and
Metlife, but DISA doesn’t
have enough time to initiate
and resolve coverage
litigation because in the
meantime, their customer,
SAO, is putting much
pressure on them to resolve
the claim. So… we want to
appeal to someone high up
in Metlife’s claim operations
in the Saudi Arabian region,
to persuade them to handle
this claim for DISA and then
seek reimbursement from
ATM after the fact. Thus, we
seek your help in identifying
the best person in Metlife’s
Saudi Arabian region to
whom to direct this
appeal. Whom might you
suggest?

Just in case you might want
to see them, I’ve attached
the individual pieces of
correspondence between
DISA and Metlife’s coverage
attorney, on this coverage
matter.
<< File: XXX-XXXXXX - CPL -
Metlife-AIG - 2020-09-28 -
Disclaimer re Primacy.pdf >> <<
File: XXX-XXXXXX - CPL -
Metlife-AIG - 2020-10-16 -
rebuttal.pdf >> << File: XXX-
XXXXXX - CPL - Metlife-AIG -
2020-11-16 - reply to
rebuttal.pdf >> << File: XXX-
XXXXXX - CPL - Metlife-AIG -
2020-11-21 - second
  12

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                                         Page 16
                                                         rebuttal.pdf >> << File: XXX-
                                                         XXXXXX - CPL - Metlife-AIG -
                                                         2020-12-03 - reply to second
                                                         rebuttal.pdf >>


                                                         Phil Educate
                                                         Vice President
                                                         Senior Claim Advocate
                                                         Marsh USA Inc.
                                                         1717 Main Street, Suite #4400
                                                         Dallas, TX 75201
                                                         desk: until further notice, please
                                                         use only my cell # below
                                                         cell:    214-616-0529
                                                         e-mail: philip.educate@marsh.com




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        reply to the sender via e-mail and also permanently
        delete all copies of the original message together with any of its attachments
        from your computer or device.
        **********************************************************************




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delete all copies of the original message together with any of its attachments
from your computer or device.
**********************************************************************




                                                            13

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 Dynamic Industries Saudi Arabia, Ltd.
 Paid-up Capital SR. 10,100,000.00
 C.R. 2051058684

          February 12, 2021

          VIA E-MAIL

          Sasi Roopan (sasiroopan@walaa.com)                Imad Elias, Esq. (i.elias@emco.org)
          Senior General Claims Manager                     I. Elias & Co LLC
          Walaa Cooperative Insurance Company               Platinum Crest
          4513, Adh Dhahran Al Khubar Al Janubiyah          18 Loizou Askani Street
          Unit No: 8, Al-Khobar 34621-8615                  Limassol CY-3110
                                                            Cyprus
          Manzoor Andrabi
                 (Manzoor.Andrabi@sa.sedgwick.com)
          Principal MCL Adjuster
          Sedgwick Saudi Arabia Ltd.
          Second Floor, La Promenade Center
          6309, Dhahran Road, Al-Aqrabia District
          Al-Khobar 34446-3488, Kingdom of Saudi
                 Arabia



                         Re:     Damage to SAUDI ARAMCO Submarine Cable l Berri Field
                                 DOL:              June 25, 2019
                                 Policy Holders:   Dynamic Industries Saudi Arabia Ltd.; Dynamic
                                                   Industries International LLC; Dynamic
                                                   Industries, Inc.
                                 Policy No.:       P/11/706/24
          Dear Sirs:

          I write concerning the claim for coverage under a policy of insurance issued by MetLife-AIG-
          9F: ;__`UbQdYfU A^cebQ^SU ;_]`Q^i &mE99;A;n') _^ _b QR_ed BQ^eQbi ./) /-.4) Q^T RUQbY^W
          Policy No. P/11/706/24) d_ dXU `_\YSiX_\TUbc) <i^Q]YS A^TecdbYUc JQeTY 9bQRYQ DdT+ &m<AJ9n'8
          DynamYS A^TecdbYUc A^dUb^QdY_^Q\ DD; &m<AAn'8 Q^T <i^Q]YS A^TecdbYUc) A^S+ &m<An' &S_\\USdYfU\i)
          dXU mA^cebUTcn' V_b TQ]QWU d_ SUbdQY^ `b_`Ubdi \_SQdUT _VVcX_bU Y^ dXU :UbbY >YU\T) _g^UT Ri
          SAUDI ARAMCO, and caused by the negligent operations of one of the InsubUTco ceRS_^dbQSd_b+

          This formal demand is in furtherance of numerous prior communication to MAACIC on behalf of
          the Insureds, which communications began in the Fall of 2019 upon first notification of the incident
          and alleged damage. Provided previously along with considerable additional documentation
          during the course of communication were &Y' J9L<A 9I9E;Goc EQbSX /1) /-/- F_dYSU) cUddY^W
          V_bdX dXU TQ]QWU Q^T dXU S_^dbQSdeQ\ bUc`_^cYRY\Ydi _V dXU A^cebUTc8 Q^T &YY' J9L<A 9I9E;Goc
          April 7, 2020 Correspondence demanding an action plan for replacement of the damaged
          submarine cable. The estimated costs to replace the cable and complete repairs is in excess of
          $10M.

Dynamic Industries Saudi Arabia, Ltd.
P.O. Box 4455
Al-Khobar, Saudi Arabia 31952
Office: +966 (13) 882 1243
                                E-Mail: info@dynamicind.com / Website: www.dynamicind.com
Fax: +966 (13) 882 1247

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 Paid-up Capital SR. 10,100,000.00
 C.R. 2051058684

          As you are aware, one or more of the Insureds purchased the Policy to protect the named companies
          for the liabilities assumed in the long-term services contracts that the companies were going to
          execute for work for the Saudi Arabian Oil Company (and its subsidiary in the Netherlands), both
          in the Kingdom of Saudi Arabia and outside of the Kingdom. This was an intensive, laborious
          process, and the premiums earned on the Policy have been significant. To date, MAACIC has
          decided not to honor the obligations in the Policy and provide defense and indemnity to the
          Insureds as contractually agreed. For the sake of good order, we provide below the factual basis
          of the claims of the Insureds, all of which were previously provided to MAACIC.

                                           THE PROJECT AND CONTRACT

          DISA and SAUDI ARAMCO entered into Contract No. 6600035785 (IK), Long Term Contract
          for Offshore Facilities, Contract for Procurement and Construction, CRPO No. 3510797893
          &m;_^dbQSdn') gXYSX Y^S\eTUT dXU bU`\QSU]U^d _V VYfU `Y`U\Y^Uc \_SQdUT Y^ dXU :UbbY >YU\T+ <AJ9
          subcontracted work for the Project to Offshore Oil Engineering ;_+) DdT &m;GG=;n)' dXb_eWX
          Work Order No. 1, which incorporated Subcontract No. 6600035785 l 3648COOEC001-IK (the
          mJeRS_^dbQSdn'+

          KXU ;_^dbQSd) JSXUTe\U m9n l JUSdY_^ 2+. U^dYd\UT m;GFKI9;KGI M_b[ JYdU IUc`_^cYRY\Ydin
          specifically provides at Section 5.1.3:

                  CONTRACTOR shall protect from damage all existing structures, improvements,
                  or utilities at or near the WORK Site, and shall repair and restore any damage
                  dXUbUd_ bUce\dY^W Vb_] ;GFKI9;KGIoc VQY\ebU d_ UhUbSYcU bUQc_^QR\U SQbU Y^
                  protecting the same TebY^W ;GFKI9;KGIoc `UbV_b]Q^SU _V dXU MGIC+ AV
                  CONTRACTOR fails or refuses to promptly repair any such damage, SAUDI
                  ARAMCO may perform such repairs, or have them performed by others at
                  ;GFKI9;KGIoc c_\U bYc[ Q^T Uh`U^cU+ HQbQWbQ`X 16.2 shall apply with respect
                  d_ ;GFKI9;KGIoc VY^Q^SYQ\ \YQRY\Ydi QbYcY^W Vb_] _b bU\QdUT d_ ceSX TQ]QWU+

          KXU ;_^dbQSd) JSXUTe\U m@n l JUSdY_^ .+/- U^dYd\UT m<AJKIA:LKAGF G> IAJCJ)n bU`\QSUc
          HQbQWbQ`X .3+/ _V JSXUTe\U m9n gYdX dXU V_\\_gY^W7

                  16.2.1 If prior to the end of the last extended warranty period, all or any part of the
                         FACILITIES or SAUDI ARAMCO Other Property are lost, damaged, or destroyed,
                         SAUDI ARAMCO may direct CONTRACTOR by Change order to carry out any
                         reconstruction, repair, or replacement WORK (including the removal of debris) and
                         CONTRACTOR shall promptly undertake the WORK so directed.

                  16.2.2 Separate and apart from the obligations set forth in Paragraph 11.1 and/or Paragraph
                         11.3, if the loss, damage or destruction of the FACILITIES or SAUDI ARAMCO
                         Other Property is due to an event resulting from the negligence, willful misconduct
                         or fault of CONTRACTOR or CONTRACTOR GROUP CONTRACTOR shall
                         compensate SAUDI ARAMCO for loss or damage to the FACILITIES or SAUDI
                         ARAMCO Other Property as follows:

Dynamic Industries Saudi Arabia, Ltd.
P.O. Box 4455
Al-Khobar, Saudi Arabia 31952
Office: +966 (13) 882 1243
                                E-Mail: info@dynamicind.com / Website: www.dynamicind.com
Fax: +966 (13) 882 1247

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 Paid-up Capital SR. 10,100,000.00
 C.R. 2051058684

                                                      *      *       *

                         SAUDI ARAMCO Other Property

                                                      *      *       *


                         d)     CONTRACTOR [DISA] shall be responsible for the first US$ 1,000,000
                         (one million) per occurrence of loss and damage to SAUDI ARAMCO Other
                         Property occurring offshore.

                                                      *      *       *

                  16.2.4 ,/.31+,3/1KD ><?<E4E<A@ A9 liability in Paragraphs 16.2.2 shall not apply to
                         any amounts that are recovered or may be recoverable from any insurance policy
                         maintained under this Contract.

          The Contract requires DISA to carry insurance, as set forth in Article 17. The Contract requires
          the following insurance pertinent to this claim:

                  17.1.2 Comprehensive General Liability

                         Normal and customary general liability insurance coverage in regards to all the
                         Work, with minimum policy limits for any loss occurring:

                         Onshore:

                                 of not less than US$ 10,000,000 (ten million) per occurrence for personal
                                 injury, death, or property damage, and including sudden and accidental
                                 pollution coverage

                         Offshore:

                                 of not less than US$ 100,000,000 (One hundred million) per occurrence for
                                 personal injury, death, or property damage, and including sudden and
                                 accidental pollution coverage.

                  17.1.4 Marine Operations

                         If the performance of this Agreement requires CONTRACTOR to use Marine Craft
                         owned or leased by CONTRACTOR, CONTRACTOR shall carry or require the
                         owners of such Marine Craft to carry marine insurance with policy limits adequate
                         to cover and protect:

                                                      *      *       *

Dynamic Industries Saudi Arabia, Ltd.
P.O. Box 4455
Al-Khobar, Saudi Arabia 31952
Office: +966 (13) 882 1243
                                E-Mail: info@dynamicind.com / Website: www.dynamicind.com
Fax: +966 (13) 882 1247

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 C.R. 2051058684


                                 (iii) any other liability, including contractual liability and pollution
                                 liability related to this contract, that may result from the operation of such
                                 Marine Craft a policy limit of not less than US$ 100,000,000 (one hundred
                                 million) per occurrence.

                  17.2   CONTRACTOR Liable for Full Amount of Losses

                         SAUDI ARAMCO and CONTRACTOR agree that the insurance coverages listed
                         under Paragraph 17.1 are minimum coverages required to be purchased by
                         CONTRACTOR under this Contract. Should any loss occur for which
                         CONTRACTOR is responsible under this Contract, CONTRACTOR shall be
                         liable for the full amount of the loss (subject to any limitations set forth in
                         Paragraph 16 or otherwise in this Contract), including the amount in excess of
                         ,/.31+,3/1KD <@DFC4@68 ><?<ED 4@7 <@6>F7<@: E;8 4?AF@E A9 4@J 787F6E<5>8
                         specifie7 <@ ,/.31+,3/1KD <@DFC4@68 BA><6J.

                                                      *      *       *
          KXU ;_^dbQSd VebdXUb bUaeYbUc dXQd <AJ9oc A^cebUbc gQYfU Q\\ bYWXdc _V ceRb_WQdY_^ QWQY^cd J9L<A
          ARAMCO.

                                                    THE INCIDENT

          In 2015, SAUDI ARAMCO, its affiliate, DII and DISA entered into contracts for the Pipelines
          RU`\QSU]U^d Hb_ZUSd Y^ :UbbY >YU\T &dXU mHb_ZUSdn'+ <i^Q]YS A^TecdbYUc) A^S+ gQc bUaeYbUT) Qc `Qbd
          of the Contract, to issue a parent guarantee to DISA, in favor of SAUDI ARAMCO. DISA
          subcontracted portions of the work on this Project to COOEC. The facts surrounding the claim
          are simple and as follows.

          On or about the evening of June 25, 2019, the COOEC barge flotilla was involved in demolition
          and recovery operations in the Berri Field at and around BRRI TP-2 and BRRI TP-3. A grapple
          being utilized by COOEC personnel in the demolition damaged a submarine power cable.
          Eyewitness testimony of the diver observing the seafloor confirms that the grapple extension
          dragged over the submarine pipe, damaged it, and pulled up an estimated 15 to 20 lines. COOEC
          did not report this event to either DISA or SAUDI ARAMCO.

          During a routine survey of the field shortly thereafter, an unrelated survey vessel working for
          SAUDI ARAMCO discovered the damage to the submarine cable on about August 23, 2019. This
          discovery was reported to DISA on September 7, 2019, and DISA relayed that information to
          ;GG=; Q^T Ydc Y^cebUbc+ J9L<A 9I9E;Goc Y^fUcdYWQdY_^ Y^d_ dXU SQecU _V dXU TQ]QWU
          ultimately revealed that the damage to the cable was occasioned during the COOEC demolition
          operation in connection with the Project. This conclusion was based, primarily, on the irrefutable
          video evidence referenced above. DISA received formal notice of this discovery on March 24,
          2020, at which time SAUDI ARAMCO requested that DISA rectify the TQ]QWU d_ m;GEH9FNn


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          property, and to implement temporary repair solutions by April 30, 2020 in order to allow for
          installation of a new cable by March 2021.

          On April 7, 2020, SAUDI ARAMCO reiterated its request that DISA submit an action plan for the
          temporary solution and permanent replacement of the damaged cable, noting its criticality to
          J9L<A 9I9E;Goc _dXUb _`UbQdY_^c+

          In sum, there is clearly (i) damage to SAUDI ARAMCO Other Property (the submarine cable);
          (ii) a direction from SAUDI ARAMCO to the Insured to replace the damaged submarine
          equipment; and (iii) an outstanding demand for MAACIC to respond to this claim.

                                               THE POLICY AND CLAIM

          MetLife-AIG-9F: ;__`UbQdYfU A^cebQ^SU ;_]`Q^i YcceUT m;_]]UbSYQ\ ?U^UbQ\ DYQRY\Ydin
          A^cebQ^SU H_\YSi H,..,4-3,/1 &dXU mH_\YSin' Y^ S_^^USdY_^ gYdX dXU A^cebUTc g_b[ _^ dXU Hb_ZUSd+
          The Policy limit is $100,000,000 and includes SAUDI AR9E;G) <AJ9) <A Q^T <AA Qc mHbY^SY`Q\
          A^cebUTc+n KXU H_\YSi YTU^dYVYUc dXU Hb_ZUSd FQ]U Qc dXU mHY`U bU`\QSU]U^d Qd :UbbY GY\ >YU\T)
          Eastern Region l CJ9)n i.e., dXU Hb_ZUSd+ KXU H_\YSi YTU^dYVYUc dXU Y^cebUT mA^dUbUcdn Qc mOQP\\
          S_^dbQSd g_b[c k V_b Q\\ VQSY\YdYUc e^TUb dXU cS_`U _V g_b[)n Q^T Y^S\eTUc MQdUbSbQVd DYQRY\Ydi Q^T
          Contractual Liability coverage. Specifically, the Policy extends to third party legal liability and/or
          contractual liability, including indemnity to other persons.

          Pursuant to the H_\YSi) E99;A; QWbUUT d_ m`Qi dX_cU ce]c dXQd dXU Y^cebUT RUS_]Uc \UWQ\\i
          _R\YWQdUT d_ `Qi Qc TQ]QWUc RUSQecU _V k `b_`Ubdi TQ]QWU d_ gXYSX dXYc Y^cebQ^SU Q``\YUc+n KXU
          H_\YSi U^T_bcU]U^dc VebdXUb `b_fYTU dXQd mO\PYQRY\Ydi Qcce]UT Ri dXU Y^cebUT e^TUb S_ntract or
          agreement and which would not have attached in the absence of such contract or agreement shall
          be the subject to indemnity under this section only if the conduct and control of any claim so
          relating is vested in the insurers and subject to the teb]c _V dXYc S_^dbQSd _V Y^cebQ^SU+n

          Finally, it bears noting that the assets damaged in the Incident are within the Scheduled Berri Field
          Assets appearing in the Policy. The Policy identifies the BRRI TP-2 and BRRI TP-0 Qc m:UbbY
          >YU\T 9ccUdcn dXQd QbU UhU]`d Vb_] dXU UhS\ecY_^ e^TUb dXU m=hYcdY^W Hb_`Ubdi,;_^dbQSdeQ\
          Exclusion Buy-:QS[+n

          The Policy is therefore directly obligated to respond to this loss and claim, and make payment to
          the Insureds, or agree to make payment to them, for all costs incurred or to be incurred with respect
          to repairing the damage to the Berri Field on June 25, 2019, and the repairs and replacement
          required by SAUDI ARAMCO.

                                                     CONCLUSIONS

          Accordingly, please allow this to serve as your final V_b]Q\ ^_dYSU _V dXU A^cebUTco bUaeUcd V_b
          coverage and payment under the Policy. DISA is currently working with SAUDI ARAMCO
          concerning the reasonable costs and expenses of the required repairs, and considers all such costs
          expenses to be amounts reimbursable under the Policy.

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          The Insureds have been beyond patient in seeking the very coverage that was bargained for at the
          outset of this contract. While DISA will also entertain any reasonable requests for additional
          information, the Insureds are of the strong belief that all necessary information has either been
          provided, or can be obtained by MAACIC in order to provide the contracted-for coverage. As
          time is, always, of the essence, the Insureds request confirmation of coverage within fourteen (14)
          days of this demand, failing which the Insureds will take all necessary legal steps to protect their
          interests.

          F_dXY^W XUbUY^ cXQ\\ S_^cdYdedU _b RU Y]`\YUT Qc Q gQYfUb _V Q^i _V dXU A^cebUTco bYWXdc &QccUbdUT _b
          unasserted through the present). Furthermore, DISA, on behalf of all of the Insureds, hereby
          expressly reserves all of the A^cebUTco existing rights and remedies provided for in the Contract,
          the Policy and applicable law. Nothing herein should be construed to relieve MAACIC of any of
          its obligations and liabilities under the Contract, the Policy or under applicable law.

                                                                Sincerely,



                                                                Donald W. Sinitiere, General Manager,
                                                                Dynamic Industries Saudi Arabia Ltd.




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          As you are aware, one or more of the Insureds purchased the Policy to protect the named companies
          for the liabilities assumed in the long-term services contracts that the companies were going to
          execute for work for the Saudi Arabian Oil Company (and its subsidiary in the Netherlands), both
          in the Kingdom of Saudi Arabia and outside of the Kingdom. This was an intensive, laborious
          process, and the premiums earned on the Policy have been significant. To date, MAACIC has
          decided not to honor the obligations in the Policy and provide defense and indemnity to the
          Insureds as contractually agreed. For the sake of good order, we provide below the factual basis
          of the claims of the Insureds, all of which were previously provided to MAACIC.

                                           THE PROJECT AND CONTRACT

          DISA and SAUDI ARAMCO entered into Contract No. 6600035785 (IK), Long Term Contract
          for Offshore Facilities, Contract for Procurement and Construction, CRPO No. 3510797893
          &m;_^dbQSdn') gXYSX Y^S\eTUT dXU bU`\QSU]U^d _V VYfU `Y`U\Y^Uc \_SQdUT Y^ dXU :UbbY >YU\T+ <AJ9
          ceRS_^dbQSdUT g_b[ V_b dXU Hb_ZUSd d_ GVVcX_bU GY\ =^WY^UUbY^W ;_+) DdT &m;GG=;n)) through
          Work Order No. 1, which incorporated Subcontract No. 6600035785 l 3648COOEC001-IK (the
          mJeRS_^dbQSdn'+

          KXU ;_^dbQSd) JSXUTe\U m9n l JUSdY_^ 2+. U^dYd\UT m;GFKI9;KGI M_b[ JYdU IUc`_^cYRY\Ydin
          specifically provides at Section 5.1.3:

                  CONTRACTOR shall protect from damage all existing structures, improvements,
                  or utilities at or near the WORK Site, and shall repair and restore any damage
                  dXUbUd_ bUce\dY^W Vb_] ;GFKI9;KGIoc VQY\ebU d_ UhUbSYcU bUQc_^QR\U SQbU Y^
                  protecting the same during ;GFKI9;KGIoc `UbV_b]Q^SU _V dXU MGIC+ AV
                  CONTRACTOR fails or refuses to promptly repair any such damage, SAUDI
                  ARAMCO may perform such repairs, or have them performed by others at
                  ;GFKI9;KGIoc c_\U bYc[ Q^T Uh`U^cU+ HQbQWbQ`X 16.2 shall apply with respect
                  d_ ;GFKI9;KGIoc VY^Q^SYQ\ \YQRY\Ydi QbYcY^W Vb_] _b bU\QdUT d_ ceSX TQ]QWU+

          KXU ;_^dbQSd) JSXUTe\U m@n l JUSdY_^ .+/- U^dYd\UT m<AJKIA:LKAGF G> IAJCJ)n bU`\QSUc
          HQbQWbQ`X .3+/ _V JSXUTe\U m9n gYdX dXU V_\\_gY^W7

                  16.2.1 If prior to the end of the last extended warranty period, all or any part of the
                         FACILITIES or SAUDI ARAMCO Other Property are lost, damaged, or destroyed,
                         SAUDI ARAMCO may direct CONTRACTOR by Change order to carry out any
                         reconstruction, repair, or replacement WORK (including the removal of debris) and
                         CONTRACTOR shall promptly undertake the WORK so directed.

                  16.2.2 Separate and apart from the obligations set forth in Paragraph 11.1 and/or Paragraph
                         11.3, if the loss, damage or destruction of the FACILITIES or SAUDI ARAMCO
                         Other Property is due to an event resulting from the negligence, willful misconduct
                         or fault of CONTRACTOR or CONTRACTOR GROUP CONTRACTOR shall
                         compensate SAUDI ARAMCO for loss or damage to the FACILITIES or SAUDI
                         ARAMCO Other Property as follows:

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                                                      *      *       *

                         SAUDI ARAMCO Other Property

                                                      *      *       *


                         d)     CONTRACTOR [DISA] shall be responsible for the first US$ 1,000,000
                         (one million) per occurrence of loss and damage to SAUDI ARAMCO Other
                         Property occurring offshore.

                                                      *      *       *

                  16.2.4 ,/.31+,3/1KD ><?<E4E<A@ A9 ><45<><EJ <@ 04C4:raphs 16.2.2 shall not apply to
                         any amounts that are recovered or may be recoverable from any insurance policy
                         maintained under this Contract.

          The Contract requires DISA to carry insurance, as set forth in Article 17. The Contract requires
          the following insurance pertinent to this claim:

                  17.1.2 Comprehensive General Liability

                         Normal and customary general liability insurance coverage in regards to all the
                         Work, with minimum policy limits for any loss occurring:

                         Onshore:

                                 of not less than US$ 10,000,000 (ten million) per occurrence for personal
                                 injury, death, or property damage, and including sudden and accidental
                                 pollution coverage

                         Offshore:

                                 of not less than US$ 100,000,000 (One hundred million) per occurrence for
                                 personal injury, death, or property damage, and including sudden and
                                 accidental pollution coverage.

                  17.1.4 Marine Operations

                         If the performance of this Agreement requires CONTRACTOR to use Marine Craft
                         owned or leased by CONTRACTOR, CONTRACTOR shall carry or require the
                         owners of such Marine Craft to carry marine insurance with policy limits adequate
                         to cover and protect:

                                                      *      *       *

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                                 (iii) any other liability, including contractual liability and pollution
                                 liability related to this contract, that may result from the operation of such
                                 Marine Craft a policy limit of not less than US$ 100,000,000 (one hundred
                                 million) per occurrence.

                  17.2   CONTRACTOR Liable for Full Amount of Losses

                         SAUDI ARAMCO and CONTRACTOR agree that the insurance coverages listed
                         under Paragraph 17.1 are minimum coverages required to be purchased by
                         CONTRACTOR under this Contract. Should any loss occur for which
                         CONTRACTOR is responsible under this Contract, CONTRACTOR shall be
                         liable for the full amount of the loss (subject to any limitations set forth in
                         Paragraph 16 or otherwise in this Contract), including the amount in excess of
                         ,/.31+,3/1KD <@DFC4@68 ><?<ED 4@7 <@6>F7<@: E;8 4?AF@E A9 4@J 787F6E<5>8
                         DB86<9<87 <@ ,/.31+,3/1KD <@DFC4@68 BA><6J.

                                                      *      *       *
          KXU ;_^dbQSd VebdXUb bUaeYbUc dXQd <AJ9oc A^cebUbc gQYfU Q\\ bYghts of subrogation against SAUDI
          ARAMCO.

                                                    THE INCIDENT

          In 2015, SAUDI ARAMCO, its affiliate, DII and DISA entered into contracts for the Pipelines
          IU`\QSU]U^d Hb_ZUSd Y^ :UbbY >YU\T &dXU mHb_ZUSdn'+ <i^Q]YS A^TecdbYUc) A^S+ gQc bUaeYbUT) Qc `Qbd
          of the Contract, to issue a parent guarantee to DISA, in favor of SAUDI ARAMCO. DISA
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          Eyewitness testimony of the diver observing the seafloor confirms that the grapple extension
          dragged over the submarine pipe, damaged it, and pulled up an estimated 15 to 20 lines. COOEC
          did not report this event to either DISA or SAUDI ARAMCO.

          During a routine survey of the field shortly thereafter, an unrelated survey vessel working for
          SAUDI ARAMCO discovered the damage to the submarine cable on about August 23, 2019. This
          discovery was reported to DISA on September 7, 2019, and DISA relayed that information to
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          video evidence referenced above. DISA received formal notice of this discovery on March 24,
          /-/-) Qd gXYSX dY]U J9L<A 9I9E;G bUaeUcdUT dXQd <AJ9 bUSdYVi dXU TQ]QWU d_ m;GEH9FNn


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          SAUDI ARAMCOoc _dXUb _`UbQdY_^c+

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          MetLife-AIG-9F: ;__`UbQdYfU A^cebQ^SU ;_]`Q^i YcceUT m;_]]UbSYQ\ ?U^UbQ\ DYQRY\Ydin
          A^cebQ^SU H_\YSi H,..,4-3,/1 &dXU mH_\YSin' Y^ S_^^USdY_^ gYdX dXU A^cebUTc g_b[ _^ dXU Hb_ZUSd+
          The Policy limit is $100,000,000 Q^T Y^S\eTUc J9L<A 9I9E;G) <AJ9) <A Q^T <AA Qc mHbY^SY`Q\
          A^cebUTc+n KXU H_\YSi YTU^dYVYUc dXU Hb_ZUSd FQ]U Qc dXU mHY`U bU`\QSU]U^d Qd :UbbY GY\ >YU\T)
          Eastern Region l CJ9)n i.e., dXU Hb_ZUSd+ KXU H_\YSi YTU^dYVYUc dXU Y^cebUT mA^dUbUcdn Qc mOQP\\
          contbQSd g_b[c k V_b Q\\ VQSY\YdYUc e^TUb dXU cS_`U _V g_b[)n Q^T Y^S\eTUc MQdUbSbQVd DYQRY\Ydi Q^T
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          HebceQ^d d_ dXU H_\YSi) E99;A; QWbUUT d_ m`Qi dX_cU ce]c dXQd dXU Y^cebUT RUS_]Uc \UWQ\\i
          _R\YWQdUT d_ `Qi Qc TQ]QWUc RUSQecU _V k `b_`Ubdi TQ]QWU d_ gXYSX dXYc Y^cebQ^SU Q``\YUc+n KXU
          H_\YSi U^T_bcU]U^dc VebdXUb `b_fYTU dXQd mO\PYQRY\Ydi Qcce]UT Ri the insured under contract or
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          Finally, it bears noting that the assets damaged in the Incident are within the Scheduled Berri Field
          Assets appearing in the Policy. The Policy identifies the BRRI TP-2 and BRRI TP-0 Qc m:UbbY
          Fie\T 9ccUdcn dXQd QbU UhU]`d Vb_] dXU UhS\ecY_^ e^TUb dXU m=hYcdY^W Hb_`Ubdi,;_^dbQSdeQ\
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                                                     CONCLUSIONS

          Accordingly, please allow this to serve as your final V_b]Q\ ^_dYSU _V dXU A^cebUTco bUaeUcd V_b
          coverage and payment under the Policy. DISA is currently working with SAUDI ARAMCO
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          provided, or can be obtained by MAACIC in order to provide the contracted-for coverage. As
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          days of this demand, failing which the Insureds will take all necessary legal steps to protect their
          interests.

          F_dXY^W XUbUY^ cXQ\\ S_^cdYdedU _b RU Y]`\YUT Qc Q gQYfUb _V Q^i _V dXU A^cebUTco bYWXdc &QccUbdUT _b
          unasserted through the present). Furthermore, DISA, on behalf of all of the Insureds, hereby
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          the Policy and applicable law. Nothing herein should be construed to relieve MAACIC of any of
          its obligations and liabilities under the Contract, the Policy or under applicable law.

                                                                Sincerely,



                                                                Donald W. Sinitiere, General Manager,
                                                                Dynamic Industries Saudi Arabia Ltd.




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From:                                    Laborde, James F <James.F.Laborde@marsh.com>
Sent:                                    Tuesday, January 12, 2021 10:12 AM
To:                                      Mark Mahfouz
Cc:                                      Bonin, Theresa
Subject:                                 [EXTERNAL] Marsh/Dynamic placement agreement - RE: Dynamic BRRI Extension
                                         January 11, 2021 Expiration


                                                    Caution: This email came from outside the company.
                 Do not click on links or open attachments unless you are sure you recognize the sender and you know the contents are safe


Good morning Mark. From discussions with Theresa, we are bound/held covered for the additional annual term for the
policies related to the project in Saudi Arabia. We are securing the final documentation and will have that to you shortly.
We appreciate your patience and support as we work through this. We are continuing to press underwriters on the
outstanding claim. As I understand we do not have their final position as of yet and are pressing for some agreement
that satisfies Dynamic and gets this on track. Phil Educate in our claims practice is leading this effort and we will ensure
the pressure stays on until resolution.

I am also following up on our conversations from a few weeks ago reading our local office’s compensation. Considering
the claims follow up and our continued engagement on the policy placed by our Dubai offices, we propose an annual fee
of $35,000. This fee would track the policy term of January 11, 2021-22. For context, typical broker commission
compensation ranges from 10-15% of the annual premium. As an accommodation we are proposing a reduction to
approx. a 7% of premium as a fee amount to provide the policy consulting services for 2021.

If acceptable to you, we will draft our typical client service agreement and send to you for signature. Let me know if you
have any thoughts or questions, and we look forward to working with you during the year.

Thanks and regards,

Bo

James F. Laborde
Head of Office
Managing Director
Marsh USA Inc.
701 Poydras Street, Suite 4125, New Orleans, LA 70139, USA
+1 504 571 2221 | Mobile +1 504 813 7651 | Fax +1 504 524 2288
James.F.Laborde@marsh.com
www.marsh.com




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